  Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 1 of 122




               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION
HEATHER GRAGG,                  §
     PLAINTIFF                  §
                                §
VS.                             §
                                §                     3:21-cv-321
                                     CIVIL ACTION NO: ____________
ZURICH AMERICAN INSURANCE       §
COMPANY,                        §
     DEFENDANT                  §


               APPENDIX IN SUPPORT OF NOTICE OF REMOVAL
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                         DESCRIPTION                         APP

    Civil Cover Sheet                                 0001-0002

    State Court Docket Sheet                          0003-0005

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     Plaintiff’s Original Petition                    0007-0020

     Request for Citation                             0021

     Status Conference Setting                        0022-0023

     Citation Issuance                                0024-0026

     Return of Service – Zurich American Ins. Co.     0027-0029

     Defendant’s Original Answer                      0030-0044

    Illinois Department of Insurance printout.        0045

    Policy No. ZHO0409133                             0046-0118

    Index of Matters Being Filed                      0119

    List of Counsel of Record                         0120
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                                              Respectfully submitted,

                                              /s/ Carter L. Ferguson
                                              Carter L. Ferguson
                                              State Bar No. 06909500
                                              Federal I.D. No. 33538
                                              cferguson@belaw.com
                                              Landon D. Young
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                                              BRACKETT & ELLIS,
                                              A Professional Corporation
                                              100 Main Street
                                              Fort Worth, TX 76102 3090
                                              (817) 338 1700
                                              FAX (817) 870 2265

                                              ATTORNEYS FOR DEFENDANT
                                              ZURICH AMERICAN INSURANCE
                                              COMPANY



                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was sent to all
parties and counsel of record, pursuant to the Federal Rules of Civil Procedure, addressed as
follows:

            Chad T. Wilson                                Via Electronic Filing
            Patrick C. McGinnis
            Chad T. Wilson Law Firm PLLC
            455 E. Medical Center Blvd, Ste 555
            Webster, Texas 77598
            eservice@cwilsonlaw.com

            ATTORNEYS FOR PLAINTIFF


          DATED this November 12, 2021.

                                              /s/ Carter L. Ferguson
                                              Carter L. Ferguson
1308429-v1/16268-010000
                      Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 3 of 122

JS 44 (Rev. 04/21)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
          Heather Gragg                                                                                        Zurich American Insurance Company
    (b)   County of Residence of First Listed Plaintiff             Galveston                                  County of Residence of First Listed Defendant                Cook Co., Illinois
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
      Chad T. Wilson, Chad T. Wilson Law Firm PLLC, 455 E.         Carter L. Ferguson, Landon D. Young, Brackett & Ellis PC,
      Medical Center Blvd., Ste. 555, Webster, TX 77598; (832)     100 Main Street, Ft. Worth, TX 76102; (817) 338-1700;
      415-1432; cwilson@cwilsonlaw.com                             cferguson@belaw.com; lyoung@belaw.com
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                     and One Box for Defendant)

□   1   U.S. Government
                                      □   3   Federal Question                                                                       PTF          DEF                                        PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                         Citizen of This State          ✖ 1
                                                                                                                                        □        □  1     Incorporated or Principal Place
                                                                                                                                                            of Business In This State            □4     4
                                                                                                                                                                                                         □

□2      U.S. Government
          Defendant                   □
                                      ✖ 4     Diversity
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                      Citizen of Another State
                                                                                                                                        □2 □          2   Incorporated and Principal Place
                                                                                                                                                            of Business In Another State         □   5
                                                                                                                                                                                                         □
                                                                                                                                                                                                         ✖ 5


                                                                                                      Citizen or Subject of a
                                                                                                        Foreign Country                 □3 □          3   Foreign Nation
                                                                                                                                                                                                 □   6
                                                                                                                                                                                                         □6
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                           Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                 TORTS                               FORFEITURE/PENALTY                         BANKRUPTCY                      OTHER STATUTES
✖ 110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY                 625 Drug Related Seizure               422 Appeal 28 USC 158            375 False Claims Act
    120 Marine
    130 Miller Act
                                        310 Airplane
                                        315 Airplane Product          □ 365 Personal Injury -
                                                                            Product Liability
                                                                                                             of Property 21 USC 881
                                                                                                         690 Other
                                                                                                                                            B   423 Withdrawal
                                                                                                                                                    28 USC 157
                                                                                                                                                                                 376 Qui Tam (31 USC
                                                                                                                                                                                     3729(a))
    140 Negotiable Instrument
    150 Recovery of Overpayment
                                             Liability
                                        320 Assault, Libel &
                                                                      □ 367 Health Care/
                                                                            Pharmaceutical
                                                                                                                                                  INTELLECTUAL
                                                                                                                                                PROPERTY RIGHTS
                                                                                                                                                                                 400 State Reapportionment
                                                                                                                                                                                 410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                                                                      430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                               □   820 Copyrights
                                                                                                                                                830 Patent                       450 Commerce
    152 Recovery of Defaulted
         Student Loans
                                             Liability
                                        340 Marine                    □ 368 Asbestos Personal
                                                                            Injury Product
                                                                                                                                            B   835 Patent - Abbreviated
                                                                                                                                                    New Drug Application
                                                                                                                                                                                 460 Deportation
                                                                                                                                                                                 470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                           840 Trademark                        Corrupt Organizations

□   153 Recovery of Overpayment
        of Veteran’s Benefits
                                             Liability
                                        350 Motor Vehicle
                                                                      B
                                                                       PERSONAL PROPERTY
                                                                        370 Other Fraud               -------B    LABOR
                                                                                                         710 Fair Labor Standards
                                                                                                                                                880 Defend Trade Secrets
                                                                                                                                                    Act of 2016
                                                                                                                                                                                 480 Consumer Credit
                                                                                                                                                                                     (15 USC 1681 or 1692)
□   160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending                 Act                                                                 485 Telephone Consumer

□   190 Other Contract
    195 Contract Product Liability
                                            Product Liability
                                        360 Other Personal
                                                                      □ 380 Other Personal
                                                                            Property Damage
                                                                                                         720 Labor/Management
                                                                                                             Relations
                                                                                                                                                SOCIAL SECURITY
                                                                                                                                                861 HIA (1395ff)
                                                                                                                                                                                     Protection Act
                                                                                                                                                                                 490 Cable/Sat TV
B   196 Franchise                           Injury
                                        362 Personal Injury -         □ 385 Property Damage
                                                                            Product Liability
                                                                                                         740 Railway Labor Act
                                                                                                         751 Family and Medical
                                                                                                                                                862 Black Lung (923)
                                                                                                                                                863 DIWC/DIWW (405(g))
                                                                                                                                                                                 850 Securities/Commodities/
                                                                                                                                                                                     Exchange
                                            Medical Malpractice                                              Leave Act                          864 SSID Title XVI               890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS                790 Other Labor Litigation             865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                   791 Employee Retirement                                                 893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee                   Income Security Act                FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                                   870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                   443 Housing/                        Sentence                                                                 or Defendant)               896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                             871 IRS—Third Party              899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                    IMMIGRATION                             26 USC 7609                     Act/Review or Appeal of
                                            Employment                  Other:                           462 Naturalization Application                                              Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other             465 Other Immigration                                                   950 Constitutionality of
                                            Other                       550 Civil Rights                     Actions                                                                 State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original                2 Removed from                   3     Remanded from                  4 Reinstated or             5 Transferred from   6 Multidistrict                         8 Multidistrict
□     Proceeding          □
                          ✖
                                State Court               □          Appellate Court            □     Reopened          □         Another District        □
                                                                                                                                                         Litigation -                 □        Litigation -
                                                                                                                                  (specify)              Transfer                              Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          28 U.S.C. § 1441
VI. CAUSE OF ACTION                       Brief description of cause:
                                          Insurance Dispute
VII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                                UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:
                                                                                                                                                                                  □ Yes         □ No
VIII. RELATED CASE(S)
                                              (See instructions):
      IF ANY                                                          JUDGE                                                                     DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
November 12 , 2021                                                        /s/ Carter L. Ferguson
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                       JUDGE                             MAG. JUDGE

                                                                                                                                                                                App 0001
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JS 44 Reverse (Rev. 04/21)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                       App 0002
           Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 5 of 122

11/12/21, 3:51 PM                                                                    Details




             Case Information

             21-CV-1773 | Heather Gragg vs. Zurich American Insurance Company

             Case Number                               Court                                   Judicial Officer
             21-CV-1773                                56th District Court                     Cox, Lonnie
             File Date                                 Case Type                               Case Status
             10/06/2021                                Contract - Debt -                       Active
                                                       Commercial/Consumer




             Party

             Plaintiff                                                                         Active Attorneys 
             Gragg, Heather                                                                    Lead Attorney
                                                                                               Wilson, Chad T.
                                                                                               Retained




             Defendant                                                                         Active Attorneys 
             Zurich American Insurance Company                                                 Lead Attorney
             Address                                                                           Ferguson, Carter L.
             Registered Agent, Corporation Service Company                                     Retained
             211 East 7th Street, Suite 620
             Austin TX 78701-3218




             Events and Hearings


https://portal.galvestoncountytx.gov/portal/Home/WorkspaceMode?p=0#CaseInformation                                              1/3


                                                                                                                     App 0003
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11/12/21, 3:51 PM                                                                    Details

                10/06/2021 Original Petition - OCA 


                Original Peteition.pdf

                    Comment
                    Original Petition & JURY DEMAND.


                10/06/2021 Request for Civil Service 


                Request for Citation.pdf

                    Comment
                    1 Citation to be Emailed.


                10/06/2021 Status Conference Sheet 


                Status Conference Sheet

                    Comment
                    Emailed to Atty.


                10/06/2021 Receipt Acknowledge 


                Receipt Acknowledge

                    Comment
                    Emailed Status Conf. Sheet to Atty.


                10/07/2021 Citation Issuance - Work Product 


                Citation Issuance - Work Product

                    Comment
                    emailed to attorney


                10/07/2021 Receipt Acknowledge 


                Receipt Acknowledge

                    Comment
                    for citation


                10/29/2021 Return of Service on Citation/Subpoena 


                RETURN OF SERVICE-ZURICH AMERICAN INSURANCE.pdf

                    Comment
                    RETURN OF SERVICE-ZURICH AMERICAN INSURANCE


                11/12/2021 Original Answer 


                Zurich ~ Original Answer of Zurich Americna Insurance.pdf

                    Comment
                    Zurich American Insurance Company ~ Original Answer of Zurich American Insurance Company

https://portal.galvestoncountytx.gov/portal/Home/WorkspaceMode?p=0#CaseInformation                                        2/3


                                                                                                               App 0004
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11/12/21, 3:51 PM                                                                    Details


                01/06/2022 Status Conference 


                Judicial Officer
                Cox, Lonnie

                Hearing Time
                9:30 AM




             Documents


                Original Peteition.pdf

                Request for Citation.pdf

                Status Conference Sheet

                Receipt Acknowledge

                Citation Issuance - Work Product

                Receipt Acknowledge

                RETURN OF SERVICE-ZURICH AMERICAN INSURANCE.pdf

                Zurich ~ Original Answer of Zurich Americna Insurance.pdf




https://portal.galvestoncountytx.gov/portal/Home/WorkspaceMode?p=0#CaseInformation                        3/3


                                                                                               App 0005
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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION
HEATHER GRAGG,                  §
     PLAINTIFF                  §
                                §
VS.                             §
                                §                      3:21-cv-321
                                     CIVIL ACTION NO: ____________
ZURICH AMERICAN INSURANCE       §
COMPANY,                        §
     DEFENDANT                  §


                    INDEX OF DOCUMENTS FILED IN STATE COURT

    Document                                       Filed        App #

1   Plaintiff’s Original Petition                  10/06/2021   0007-0020

3   Request for Citation                           10/06/2021   0021

4   Status Conference Setting                      10/06/2021   0022-0023

5   Citation Issuance                              10/07/2021   0024-0026

6   Return of Service – Zurich American Ins. Co.   10/29/2021   0027-0029

7   Defendant’s Original Answer                    11/12/2021   0030-0044


    1308485-v1/16268-010000




                                                                       App 0006
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                                                                                           Filed: 10/6/2021 2:46 PM
                                                                                     JOHN D. KINARD - District Clerk
                                                                                           Galveston County, Texas
                                                                                            Envelope No. 57940419
                                                                                                     By: Shailja Dixit
                                                                                                  10/6/2021 4:28 PM
                                   CAUSE NJ.1-CV-1773



  HEATHER GRAGG                          )(             IN THE DISTRICT COURT
      Plaintiff,                                )(
                                                )(
  vs.                                           )(               GALVESTON COUNTY, TEXAS
                                                )(
  ZURICH AMERICAN INSURANCE                     )(    Galveston County - 56th District Court
  COMPANY                                       )(
       Defendant.                               )(               - - - JUDICIAL DISTRICT
                    PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
                           AND REQUEST FOR DISCLOSURE

  TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW, Heather Gragg (hereinafter referred to as "Plaintiff"), and files Plaintiffs

  Original Petition, Jury Demand, and Request for Disclosure, complaining of Zurich

  American Insurance Company (hereinafter referred to as "Zurich Insurance" or "Defendant") and

  for cause of action, Plaintiff respectfully shows the following:

                                  DISCOVERY CONTROL PLAN

  1.     Plaintiff intends to conduct discovery under Level 3, Texas Rules of Civil Procedure

          190.4.

                                               PARTIES

  2.     Plaintiff, Heather Gragg resides in Galveston County, Texas.

  3.     Defendant, Zurich American Insurance Company, is a foreign insurance company,

         engaged in the business of insurance in the State of Texas. Plaintiff requests service of

         citation upon Zurich American Insurance Company through its registered agent for

         service: Corporation Service Company, 211 East 7t.JJ. Street, Suite 620, Austin, Texas

         78701-3218. Pl_aintiff requests service at this time.



                            Status Conference - 01/06/2022




                                                                                             App 0007
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                                        JURISDICTION

   4.   The Court has jurisdiction over Zurich Insurance because it engages in the business of

        insurance in the State of Texas, and the causes of action arise out of Zurich Insurance

        business activities in the state, including those in Galveston County, Texas, with reference

        to this specific case.

                                             VENUE

   5.   Venue is proper in Galveston County, Texas because the insured Property is located in

        Galveston County, Texas, and all or a substantial part of the events giving rise to this

        lawsuit occurred in Galveston County, Texas. TEX. CIV. PRAC. & REM. CODE §

        15.032.

                                              FACTS

   6.   Plaintiff asserts claims for breach of contract, common law bad faith, violations of

        sections 541 and 542 of the Texas Insurance Code, and violations of the Texas DTPA.

   7.   Plaintiff owns a Zurich American Insurance Company insurance Policy number

        ZHO0409133 (the "Policy"). At all relevant times, Plaintiff owned the insured premises

        located at 3105 Rock Brook Falls Lane, League City, Texas 77573. (the "Property"). The

        Policy covered the Property during a Policy period from April 7, 2020 to April 7, 2021

        (the "Policy Period").

   8.   Zurich American Insurance Company sold the Policy to Plaintiff and the Policy insures

        the Property.    Zurich American Insurance Company represented to Plaintiff that the

        Policy included hail and windstorm coverage.



                                                 2




                                                                                             App 0008
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  9.     During the Policy Period the Property sustained extensive damage resulting from a severe

         storm that passed through the League City, Galveston County, Texas area.

   10.   In the aftermath of the covered event, Plaintiff submitted a claim to Zurich Insurance

         against the Policy for damage to the Property. Zurich Insurance assigned claim number

         159005089 Plaintiffs claim.

   11.   Plaintiff asked Zurich Insurance to cover the cost of damage to the Property pursuant to

         the Policy.

   12.   Zurich Insurance hired or assigned its agent to inspect and adjust the claim. Defendant

         found a covered peril caused of covered loss but underestimated the amount of covered

         damages. The Plaintiff has been paid $43,866.69 to date on the claim, but estimates the

         covered damages to be $131,838

   13.   Zurich Insurance conducted a substandard and improper inspection of the Property, which

         intentionally and grossly undervalued the cost of repairs in its estimate and yielded an

         unrealistic amount to underpay coverage.

   14.   Zurich Insurance has ultimately refused coverage which includes, but is not limited to,

         replacement of interior water damage including removing and replacing the wood floor.

   15.   As stated above, Zurich Insurance improperly, intentionally, and unreasonably adjusted

         Plaintiffs claim. Without limitation, Zurich Insurance misrepresented the cause of, scope

         of, and cost to repair damages to Plaintiffs Property, as well as the amount of insurance

         coverage for Plaintiffs claim or loss under the Policy.

   16.   Zurich Insurance made these and other false representations to Plaintiff, either knowingly



                                                  3




                                                                                            App 0009
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         or recklessly, as a positive assertion, without knowledge of the truth. Zurich Insurance

         and made these false representations with the intent that Plaintiff act in accordance with

         the misrepresentations regarding the grossly deficient damage and repair estimates

         prepared.

   17.   Plaintiff relied on Zurich Insurance's misrepresentations, including but not limited to

         those regarding coverage, the cause of, scope of, and cost to repair the damage to

         Plaintiffs Property. Plaintiffs damages are the result of Plaintiffs reliance on these

         misrepresentations.

   18.   Upon receipt of the inspection and estimate reports from, Zurich Insurance failed to

         assess the claim thoroughly.    Based upon the grossly unreasonable, intentional, and

         reckless failure to investigate the claim properly prior to underpaying coverage, Zurich

         Insurance failed to provide coverage due under the Policy, and Plaintiff suffered damages.

   19.   Because Zurich Insurance failed to provide coverage for Plaintiffs insurance claim,

         Plaintiff has been unable to complete any substantive repairs to the Property. This has

         caused additional damage to Plaintiffs Property.

  20.    Furthermore, Zurich Insurance failed to perform their contractual duties to Plaintiff under

         the terms of the Policy. Specifically, Zurich Insurance performed an unreasonable and

         substandard inspection that allowed Zurich Insurance to refuse to pay full proceeds due

         under the Policy.

  21.    Zurich Insurance's misrepresentations, unreasonable delays, and continued denials

         constitute a breach of the statutory obligations under Chapters 541 and 542 of the Texas



                                                  4




                                                                                             App 0010
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        Insurance Code. Thus, the breach of the statutory duties constitutes the foundation of a

        breach of the insurance contract between Defendant and Plaintiff.

  22.   Zurich Insurance's conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a) (1). Zurich Insurance has failed to

        settle Plaintiffs claim in a fair manner, although they were aware of their liability to

        Plaintiff under the Policy. Specifically, Zurich Insurance has failed to, in an honest and

        fair manner, balance their own interests in maximizing gains and limiting disbursements,

        with the interests of Plaintiff by failing to timely pay Plaintiff coverage due under the

        Policy.

  23.   Zurich Insurance's conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a) (2) (A). Zurich Insurance failed to

        provide Plaintiff a reasonable explanation for underpayment of the claim..

  24.   Additionally, after Zurich Insurance received a statutory demand on August 6, 2021.

        Zurich Insurance has not communicated that any future settlements or payments would be

        forthcoming to pay for the entire loss covered under the Policy, nor did it provide any

        explanation for failing to settle Plaintiffs claim properly.

  25.   Zurich Insurance conduct constitutes a violation of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a) (4). Zurich Insurance performed a

        biased and intentionally substandard inspection designed to allow Zurich Insurance to

        refuse to provide full coverage to Plaintiff under the Policy.

  26.   Specifically, Zurich Insurance performed an outcome-oriented investigation of Plaintiffs



                                                   5




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         claims, which resulted in a biased, unfair, and inequitable evaluation of Plaintiffs losses

         on the Property.

  27.    Zurich Insurance conduct constitutes a violation of the Texas Insurance Code, Prompt

         Payment of Claims. TEX. INS. CODE §542.055. Due to a subpar inspection, Zurich

         Insurance failed to reasonably accept or deny Plaintiffs full and entire claim within the

         statutorily mandated time after receiving all necessary information.

  28.    Zurich Insurance conduct constitutes a violation of the Texas Insurance Code, Prompt

         Payment of Claims. TEX. INS. CODE §542.056. Due to Zurich Insurance's intentional

         undervaluation of Plaintiffs claims, Zurich Insurance failed to meet its obligations under

         the Texas Insurance Code regarding timely payment of the claim.

  29.    Zurich Insurance' wrongful acts and omissions have forced Plaintiff to retain the

         professional services of the attorneys and law firm representing him with respect to these

         causes of action.

                                          CAUSES OF ACTION




   30.   All paragraphs from the fact section of this petition are hereby incorporated into this

         section.

                                   BREACH OF CONTRACT

   31.   Zurich Insurance is liable to Plaintiff for intentional violations of the Texas Insurance

         Code, and intentional breach of the common law duty of good faith and fair dealing. It




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         follows, then, that the breach of the statutory duties constitutes the foundation of an

         intentional breach of the insurance contract between Zurich Insurance and Plaintiff.

  32.    Zurich Insurance failure and/or refusal to pay adequate coverage as obligated under the

         Policy, and' under the laws of the State of Texas, constitutes a breach of Zurich

         Insurance's insurance contract with Plaintiff.

                NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                       UNFAIR SETTLEMENT PRACTICES

   33.   Zurich Insurance's conduct constitutes multiple violations of the Texas Insurance Code,

         Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this

         article are actionable by TEX. INS. CODE §541.151.

   34.   Zurich Insurance's unfair settlement practice of misrepresenting to Plaintiff material facts

         relating to coverage constitutes an unfair method of competition and a deceptive act or

         practice in the business of insurance. TEX. INS. CODE §541.060(a) (1).

   35.   Zurich Ins)lrance's unfair settlement practice of failing to attempt in good faith to make a

         prompt, fair, and equitable settlement of the claim, even though Zurich Insurance liability

         under the Policy was reasonably clear, constitutes an unfair method of competition and a

         deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a) (2)

         (A).

   36.   Zurich Insurance unfair settlement practice of failing to provide Plaintiff a prompt and

         reasonable explanation of the basis in the Policy, in relation to the facts or applicable law,

         for underpayment and denial of the claim, constitutes an unfair method of competition




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        and a deceptive act or practice in the business of insurance.        TEX. INS. CODE

        §541.060(a) (3).

  37.   Zurich Insurance unfair settlement practice of refusing to pay Plaintiffs full claim

        without conducting a reasonable investigation constitutes an unfair method of

        competition and a deceptive act or practice in the business of insurance. TEX. INS.

        CODE §541.060(a)

              NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                     THE PROMPT PAYMENT OF CLAIMS

  38.   Zurich Insurance conduct constitutes multiple violations of the Texas Insurance Code,

        Prompt Payment of Claims. All violations made under this article are actionable under

        TEX. INS. CODE §542.060.

  39.   Zurich Insurance delay in paying Plaintiffs claim following receipt of all items,

        statements, and forms reasonably requested and required, for longer than the amount of

        time provided, constitutes a non-prompt payment of the claim.        TEX. INS. CODE

        §542.058.

            BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

  40.   Zurich Insurance conduct constitutes a breach of the common law duty of good faith and

        fair dealing owed to an insured in insurance contracts.

  41.   Zurich Insurance failure to adequately and reasonably investigate and evaluate Plaintiffs

        claim, even though Zurich Insurance knew or should have known by the exercise of




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        reasonable diligence that liability was reasonably clear, constitutes a breach of the duty of

        good faith and fair dealing.

                                       DTPA VIOLATIONS

  42.   Zurich Insurance conduct constitutes multiple violations of the Texas Deceptive Trade

        Practices Act ("DTPA"), TEX. BUS. & COM. CODE 17.41-63. Plaintiff is a consumer

        of goods and services provided by Zurich Insurance pursuant to the DTPA. Plaintiff has

        met all conditions precedent to bring this cause of action against Zurich Insurance.

        Specifically, Zurich Insurance violations of the DTPA include, without limitation, the

        following matters:

        A.     By its acts, omissions, failures, and conduct, Zurich Insurance has violated

               sections 17.46(b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA.         Zurich

               Insurance violations include, (1) unreasonable delays in the investigation,

               adjustment, and resolution of Plaintiffs claim, (2) failure to give Plaintiff the

               benefit of the doubt, and (3) failure to pay for the proper repair of Plaintiffs

               Property when liability has become reasonably clear, which gives Plaintiff the

               right to recover under section 17.46(b)(2).

        B.     Zurich Insurance represented to Plaintiff that the Policy and Zurich Insurance

               adjusting agent and investigative services had characteristics or benefits they did

               not possess, which gives Plaintiff the right to recover under section 17.46(b)( 5) of

               the DTPA.




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         C.     Zurich Insurance represented to Plaintiff that Zurich Insurance Policy and

                adjusting services were of a particular standard, quality, or grade when they were

                of another, in violation of section 17.46(b)(7) of the DTPA.

         D.     Zurich Insurance advertised the Policy and adjusting services with the intent not

                to sell them as advertised, in violation of section 17.46(b)(9) of the DTPA.

         E.     Zurich Insurance breached an express warranty that the damages caused by wind

                and hail would be covered under the Policy. This breach entitles Plaintiff to

                recover under sections 17.46(b) (12) and (20) and 17.50(a) (2) of the DTPA.

         F.     Zurich Insurance actions are unconscionable in that Zurich Insurance took

                advantage of Plaintiffs lack of knowledge, ability, and experience to a grossly

                unfair degree. Zurich Insurance unconscionable conduct gives Plaintiff a right to

                relief under section 17.50(a) (3) of the DTPA; and

         G.     Zurich Insurance conduct, acts, omissions, and failures, as described in this

                petition, are unfair practices in the business of insurance in violation of section

                17.50(a)(4) <:>fthe DTPA.

   43.   Each of the above-described acts, omissions, and failures of Zurich Insurance is a

         producing cause of Plaintiffs damages. All of Zurich Insurance acts, omissions, and

         failures were committed "knowingly" and "intentionally," as defined by the Texas

         Deceptive Trade Practices Act.

                                            KNOWLEDGE




                                                 10




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  44.   Defendant made each of the acts described above, together and singularly, "knowingly,"

        as defined in the Texas Insurance Code, and each was a producing cause of Plaintiffs

        damages described herein.

                                   WAIVER AND ESTOPPEL

  45.   Defendant waived and is estopped from asserting any coverage defenses, conditions,

        exclusions, or exceptions to coverage not contained in any reservation of rights letter to

        Plaintiff.

                                            DAMAGES

  46.   The damages caused to the Property have not been properly addressed or repaired since

        the claim was made, causing further damage to the Property, and undue hardship and

        burden to Plaintiff. These damages are a direct result of Defendant's mishandling of

        Plaintiffs claims in violation of the laws set forth above.

  47.   Plaintiff currently estimates that actual damages to the Property under the Policy are

        $131,838.00 before any credit for deductible or prior payments.

  48.   Plaintiff would show that all of the aforementioned acts, taken together or singularly,

        constitute the producing causes of the damages sustained. The above described acts,

        omissions, failures, and conduct of Defendant has caused Plaintiffs damages, which

        include, without limitation, the cost to properly repair Plaintiffs Property and any

        investigative and engineering fees incurred.

  49.   For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which is

        the amount of his claims, consequential damages, together with attorney's fees.



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  50.   For noncompliance with the DTPA and Texas Insurance Code, Unfair Settlement

        Practices, Plaintiff is entitled to actual damages, which include the loss of benefits owed

        pursuant to the Policy, mental anguish, court costs, and attorney's fees. For knowing and

        intentional conduct of the acts described above, Plaintiff asks for three (3) times his

        actual damages. TEX. INS. CODE §541.152 and TEX. BUS. & COM. CODE 17.50(b)

        (1).

  51.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

        entitled to the amount of his claims, plus an eighteen percent (18%) per annum penalty on

        those claims, as damages, as well as pre-judgment interest and reasonable attorney's fees.

        TEX. INS. CODE §542.060.

  52.   For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

        compensatory damages, including all forms of loss resulting from Defendant's breach of

        duty, such as additional costs, economic hardship, losses due to the nonpayment of the

        amount Zurich Insurance owed, exemplary damages, and damages for emotional distress.

  53.   Defendant's breach of the common law duty of good faith and fair dealing was

        committed intentionally, with a conscious indifference to Plaintiffs rights and welfare,

        and with "malice," as that term is defined in Chapter 41 of the Texas Civil Practices and

        Remedies Code.     These violations are the type of conduct which the State of Texas

        protects its citizens against by the imposition of exemplary damages. Therefore, Plaintiff

        seeks the recovery of exemplary damages in an amount determined by the finder of fact




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        sufficient to punish Defendants for their wrongful conduct, and to set an example to deter

        Defendants and others from committing similar acts in the future.

  54.   For the prosecution and collection of this claim, Plaintiff has been compelled to engage

        the services of the attorneys subscribed to this pleading. Therefore, under Chapter 38 of

        the Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas

        Insurance Code, and section 17 .50 of the DTPA, Plaintiff is entitled to recover a sum for

        the reasonable and necessary services of Plaintiffs attorneys in the preparation and trial

        of this action, including any appeals to the Court of Appeals and/or the Supreme Court of

        Texas.

  55.   As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiffs counsel states

        that the damages sought are in an amount within the jurisdictional limits of this Court.

        As required by Rule 47(c) of the Texas Rules of Civil Procedure, Plaintiffs counsel states

        that Plaintiff seeks only monetary relief over $250,000.00, including damages of any

        kind, penalties, costs, expenses, pre-judgment interest, and attorney fees. A jury will

        ultimately determine the monetary relief actually awarded, however. Plaintiff also seeks

        pre-judgment and post-judgment interest at the highest legal rate.

                                         JURYDEMAND

  56.   Plaintiff hereby requests a jury trial for all causes of action alleged herein, tried before a

        jury consisting of citizens residing in Galveston County, Texas. Plaintiff hereby tenders

        the appropriate jury fee.

                                             PRAYER



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          Plaintiff prays that Defendant be cited and served to appear, and that upon trial hereof,

  Plaintiff recover from Defendant such sums as would reasonably and justly compensate Plaintiff

  in accordance with the rules of law and procedure, as to actual, consequential, and treble

  damages under the Texas Insurance Code and Texas Deceptive Trade Practices Act, and all

  punitive, additional, and exemplary damages as may be found. In addition, Plaintiff requests the

  award of attorney's fees for the trial and any appeal of this case, for all costs of Court expended

  on Plaintiffs behalf, for pre-judgment and post-judgment interest as allowed by law, and for any

  other relief, at law or in equity, to which Plaintiff may show itself justly entitled.

                                                                  Respectfully submitted,

                                                          CHAD T. WILSON LAW FIRM PLLC

                                                                  By:   Isl Chad T. Wilson

                                                                 Chad T. Wilson
                                                                 Bar No. 24079587
                                                                 Patrick C. McGinnis
                                                                 BarNo. 13631900
                                                                 455 E Medical Center Blvd
                                                                 Ste 555
                                                                 Webster, Texas 77598
                                                                 Telephone: (832) 415-1432
                                                                 Facsimile: (281) 940-2137
                                                                 eService to:
                                                                 eservice@cwilsonlaw.com
                                                                 cwilson@cwilsonlaw.com
                                                                 pmcginnis@cwilsonlaw.com

                                                                 ATTORNEYS FOR PLAINTIFF




                                                    14




                                                                                              App 0020
               Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 23 of 122
                                                                                                                            Filed: 10/6/2021 2:46 PM
               1 Citation to be Emailed                                                                               JOHN D. KINARD - District Clerk

                    JOHN D. KINARD
                                                                                                                            Galveston County, Texas
                                                                                                                             Envelope No. 57940419
                                                                                                                                      By: Shailja Dixit
                    DISTRICT CLERK GALVESTON COUNTY                                                                                10/6/2021 4:28 PM



                                                  REQUEST FOR ISSUANCE OF SERVICE
Case Number:
                     21-CV-1773                                             Court Description:
                                                                          Galveston County - 56th District Court
Name(s) of Documents to be served:
                         Zurich American Insurance Company
                    SERVICE TO BE ISSUED ON (Please list exactly as the name appears in the pleading to be served)
Issue Service To:   PLAINTIFFâ•ŽS ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR
                    DISCLOSURE
Address of Service: Corporation Service Company, 211 East 7th Street, Suite 620, Austin, Texas
City, State & Zip:  78701-3218

Agent (IF APPLICABLE)
                                                         TYPE OF SERVICE TO BE ISSUED:
XX Citation
□                                         □ Citation by Posting                  □ Citation by Publication   □ Citation Rule 106 Service
□ Temporary Restraining Order             □ Precept                              □ Notice                    □ Secretary of State Citation
□ Protective Order                        □ Citation Scire Facias                □ Attachment                □ Certiorari
□ Garnishment                             □ Habeas Corpus                        □ Injunction                □ Sequestration
□ Subpoena
□ Other (Please Describe):
All service fees for Sheriff and Constable are collected by the clerk of court at the time of request.

UPON ISSUANCE OF SERVICE: (CHECK ONE ONLY)

□ Send to Sheriff
□ Galveston County Constable Name and Address
□ Civil Process Server (Include the name of the Authorized Person to pick‐up):
□ Call attorney for pick up (Phone Number):
□ Mail to attorney at:
XXEmail Service to: mdeleon@cwilsonlaw.co
□
                      m
□ District Clerk serve by certified mail
□ Send to League City

ISSUANCE OF SERVICE REQUESTED BY:
Attorney/Party Name:  Patrick C.
                      McGinnis
Phone Number: 832.415.143                                Email Address: pmcginnis@cwilsonlaw.co
              2                                                         m




Revision 2.0
                                                                                                                             App 0021
           Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 24 of 122



          The District Courts of Galveston County, Texas Status Conference Notice

                                     Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)

         Court Name               Status Conference Time                       Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409‐766‐2230          Fax       409‐770‐5266
56th District Court                    @ 9:30 A.M.             409‐766‐2226          Fax       409‐770‐5264
122nd District Court                   @ 9:30 A.M.             409‐766‐2275          Fax       409‐770‐6265
212th District Court                   @ 9:00 A.M.             409‐ 766‐2266         Fax       409‐765‐2610
405th District Court                   @ 10:00 A.M.            409‐765‐2688          Fax       409‐765‐2689


                            Date: 01/06/2022 set in the 56th District Court

Case Number: 21‐CV‐1773
                       I
Case Style: Heather Gragg vs. Zurich American Insurance Company

Helpful Information: Please visit our website at
http://www.galvestoncountytx.gov/dc/Pages/default.aspx

FAQ

Forms

Fee Schedules

Remote Access to on‐line case record searches

Contact and Mailing information

Passport Services

E Filing Information

Helpful Links to Legal Resources and sites

Notice: If this case is filed as an expedited action pursuant to Rule 169 of the Texas Rules of Civil Procedure,
please contact the Court to inform them of the same as soon as possible.




                             JOHN D. KINARD, District Clerk, Galveston County, Texas
        District Clerk Personnel proudly serving our customers, community, and supporting the Judiciary




                                                                                                  App 0022
            Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 25 of 122

Dixit, Shailja

From:                           Microsoft Outlook
To:                             eservice@cwilsonlaw.com
Sent:                           Wednesday, October 6, 2021 4:33 PM
Subject:                        Relayed: 21-CV-1773_Heather Gragg vs. Zurich American Insurance Company- S/C



Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:

eservice@cwilsonlaw.com (eservice@cwilsonlaw.com)

Subject: 21-CV-1773_Heather Gragg vs. Zurich American Insurance Company- S/C




                                                       1
                                                                                               App 0023
        Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 26 of 122


                                                               CITATION

                                                          THE STATE OF TEXAS

                                                                                            Cause No.: 21-CV-1773
HEATHER GRAGG VS. ZURICH AMERICAN INSURANCE COMPANY
                                                                                            56th District Court of Galveston County

TO:     Zurich American Insurance Company
        Registered Agent Corporation Service Company
        211 East 7th Street Suite 620
        Austin TX 78701-3218


GREETINGS: YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the Clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days from the date you were served this
citation and petition/motion, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you
may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30
days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

Said written answer may be filed by mailing same to: District Clerk's Office, 600 59th Street, Suite 4001, Galveston, Texas 77551-2388.
The case is presently pending before the 56th District Court of Galveston County sitting in Galveston, Texas, and the Original Petition -
OCA was filed October 06, 2021. It bears cause number 21-CV-1773 and see the attached petition/motion for named parties to the suit.

Issued and given under my hand and the seal of said court at Galveston, Texas, on this the 7th day of October, 2021.

Issued at the request of:                                                                  John D. Kinard, District Clerk
Chad T Wilson                                                                              Galveston County, Texas
Chad T Wilson Law Firm PLLC
455 East Medical Center Blvd Suite 555
Webster TX 77598
                                                                                    By     Robin Gerhardt, Deputy



           The District Courts of Galveston County, Texas Status Conference Notice
                                   Please calendar this event
          All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)
         Court Name              Status Conference Time                     Court Phone Number
  th
10 District Court                      @ 9:00 A.M.             409-766-2230           Fax        409-770-5266
56th District Court                    @ 9:30 A.M.             409-766-2226           Fax        409-770-5264
    nd
122 District Court                     @ 9:30 A.M.             409-766-2275           Fax        409-770-6265
212th District Court                   @ 9:00 A.M.             409- 766-2266          Fax        409-765-2610
405th District Court                   @ 10:00 A.M.            409-765-2688           Fax        409-765-2689

                    Date :01/06/2021 set in the 56th District Court - Judge Lonnie Cox




                                                                                                                            App 0024
          Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 27 of 122



                                                     RETURN OF SERVICE
Case no. 21-CV-1773                                                           I In the 56th District Court
                                       Heather Gragg vs. Zurich American Insurance Company

Come to hand on _______________________ at ______ o’clock _____.m., and executed in ________________________County,
Texas by delivering to each of the within named party in person, a true copy of the CITATION with the delivery endorsed thereon,
together with the accompanying copy of the Original Petition - OCA at the following times and places, to wit:

To:   Zurich American Insurance Company
      Registered Agent Corporation Service Company
      211 East 7th Street Suite 620
      Austin TX 78701-3218

SERVED:                                                  ADDRESS/LOCATION
DATE             TIME                             PLACE, COURSE, AND DISTANCE FROM COURT HOUSE                                 MILEAGE




and NOT executed as to said above named defendant for the reasons shown below:

The diligence used in finding said within named defendant and the cause or failure to execute this process is for the following

reason:______________________________________________________________________________________________________
____________________________________________________________________________________________________________
  FEES: Serving CITATION and copy $_____________
                                                 Mileage _______ miles @ $__________ per mile Total $___________
 TOTAL FEES AND MILEAGE $

Signed on _____________day of ________________________, 20________________________________________________Officer

                                                              __________________________________________________County, TX

                                                              ______________________________________Deputy /Officer Signature

          COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF COURT
In accordance with rule 107 (c).The officer or authorized person who serves, or attempts to serve, a citation shall sign the return.
The signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or clerk of the court
the return shall be signed under penalty of perjury and contain the following statement.

“My name is _____________________________________________________________, my date of birth is__________________
                   (First)          (Middle)            (Last)

And my address is _________________________________________________________________________________________
                                             Street, City, State, Zip, County

                      “I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.”

Executed in ____________________________, County, State of ______________________, on __________________________.


          Declarant/Authorized Process Server Signature                               ID# and expiration of certification




                                                                                                                        App 0025
           Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 28 of 122

Gerhardt, Robin

From:                          Microsoft Outlook
To:                            mdeleon@cwilsonlaw.com
Sent:                          Thursday, October 7, 2021 8:12 AM
Subject:                       Relayed: 21 CV 1773 Citation



Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:

mdeleon@cwilsonlaw.com (mdeleon@cwilsonlaw.com)

Subject: 21 CV 1773 Citation




                                                       1
                                                                                App 0026
  Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 29 of 122

                                                                                                                      Filed: 10/29/2021 10:45 AM
                                                                                                                   JOHN D. KINARD - District Clerk
                                                                                                                         Galveston County, Texas
                                                              CITATION                                                    Envelope No. 58664220
                                                                                                                                    By: Lisa Kelly
                                                                                                                             10/29/2021 10:55 AM
                                                         THE STATE OF TEXAS

                                                                                            Cause No.: 21-CV-1773
HEATHER GRAGG VS. ZURICH AMERICAN INSURANCE COMPANY
                                                                                            S6th District Court of Galveston County


TO:     2urich American Insurance Company
        Registered Agent Corporation Service Company
        211 East 7th Street Suite 620
        Austin TX 78701-3218



GREETINGS: YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the Clerk
who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days from the date you were served this
citation and petition/motion, a default judgment may be taken against you. In addition to filing a written answer with the clerk, you
may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later than 30
days after you file your answer with the clerk. Find out more at TexaslawHelp.org.


Said written answer may be filed by mailing same to: District Clerk's Office, 600 59th Street, Suite 4001, Galveston, Texas 77551-2388.
The case is presently pending before the S6th District Court of Galveston County sitting in Galveston, Texas, and the Original Petition -
OCA was filed October 06, 2021. It bears cause number 21-CV-1773 and see the attached petition/motion for named parties to t he suit.

Issued and given under my hand and the seal of said court at Galveston, Texas, on this the 7th day of October, 2021.

Issued at the request of:                                                                  John D. Kinard, District Clerk
Chad TWilson                                                                               Galveston County, Texas
Chad T Wi lson Law Firm PLLC
455 East Medical Center Blvd Suite 555
Webster TX 77598
                                                                                     By     Robin Gerhardt, Deputy




           The District Courts of Galveston County, Texas Status Conference Notice
                                              Please calendar this event

            All Status Conferences will be set for Thursdays (subject to exceptions for county holidays)
         Court Name                       Stat us Conference Time                         Court Phone Number
10th District Court                             @ 9:00A.M.                    409-766-2230        Fax      409-770-5266
56th Dist rict Court                            @ 9:30A.M.                    409-766-2226        Fax      409-770-5264
122 nd District Court                           @ 9:30A.M.                    409-766-2275        Fax      409-770-6265
212th District Court                            @ 9:00A.M.                    409- 766-2266       Fax      409-765-2610
405 th District Court                           @ 10:00 A.M .                 409-765-2688        Fax      409-765-2689


                     Date :01/06/2021 set in the 56th District Court - Judge Lonnie Cox




                                                                                                                            App 0027
      Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 30 of 122




                                                                   RETURN OF SERVICE

Case no. 21-CV-1773                                                                  I In the 56t h District Court
                                               Heather Gragg vs. Zurich American Insurance Company

Come t o hand on    Q-\-o~Y        11--Z..D:::z_.\t            _l.L
                                                          o'clock __fr_.m., and executed in                                   ·f to..vi5
                                                                                                                        County,
Texas by delivering to each of the wit hin named pa r t y ~ ' a true copy of the CITATI ON wit h the delivery endorsed t hereon,
toget her with t he accompanying copy of t he Original Petition - OCA at the following times and places, to wit:

To:   Zurich American Insurance Company
      Registered Agent Corporation Service Company
      211 East 7th Street Suite 620
      Austin TX 78701-3218

SERVED:                                                                    ADDRESS/LOCATION
                                                                                                                                                                               MILEAGE




and NOT executed as to said_above named defendant for t he reasons shown below:

The diligence used in finding said w it hin named defendant and the cause or failure to execute th is process is for the following

reason:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __


   FEES: Serving CITATION and copy $_ _ _ __
                                                                            Mileage _ _ _ miles@                    :ie.S_ _ _ _       __.p,.,,ec:..
                                                                                                                                                 r..:.:mc,.:i,.,
                                                                                                                                                           le,___T             I $,,__ _ __
                                                                                                                                                                 .:.:o=.:t,,,a'"'
 TOTAL FEES AND MILEAGE$

Signed on                       day of                                               20                                                                                           Officer

                                                                                                                                                                             County, TX

                                                                                                                                                     Deputy /Officer Signature


            COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE. OR CLERK OF COURT
In accordance with rule 107 (c).The officer or authorized person w ho serves, or attempts to serve, a citation shall sign t he return.
The signature is not required t o be verified. If the return is signed by a person other than a sheriff, constable, or clerk of the court
the return shall be signed under penalty of perjury and contain the following statement.

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And my address is _._$...._,,.,_.?,o     /--';l~--+-
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                         "I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT."

Executed in                                                   County, State of



           Declar                                          r Signature                                             ID# and expiration of certification




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       ' SENDER: COMPLETE THIS SECTION                          COMPLETE THIS SECTION ON DELIVERY

       i   ■ Complete items 1, 2, and 3.                        A. Signature
       ' ■ Print your name and address on the reverse           X
                                                                                                     □ Agent

       l so that we can return the card to you.                 B. Received by (Prin
                                                                                                     D Addressee
                                                                                               C. Date of Delivery
           ■   Attach this card to the back of the mailpiece,
               or on the front if space permits.
                                                                                                     □ Yes
                                                                                                     □ No




                                                                                         □ Priority Mail Express®
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                                                                                             Restricted Delivery



           PS Form 3811, July 2020 PSN 7530-02-000-9053                                 Domestic Return Receipt




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                                                                                            JOHN D. KINARD - District Clerk
                                                                                                  Galveston County, Texas
                                                                                                    Envelope No. 59126324
                                                                                                            By: Shailja Dixit
                                                                                                        11/12/2021 3:32 PM

                                       CAUSE NO. 21-CV-1773

 HEATHER GRAGG                                        §           IN THE DISTRICT COURT OF
                                                      §
            Plaintiff,                                §
                                                      §
 v.                                                   §          GALVESTON COUNTY, TEXAS
                                                      §
 ZURICH AMERICAN                                      §
 INSURANCE COMPANY                                    §
                                                      §
            Defendant.                                §                56TH JUDICIAL DISTRICT



          ORIGINAL ANSWER OF ZURICH AMERICAN INSURANCE COMPANY


          COMES NOW, Zurich American Insurance Company (“Zurich”), the Defendant in this suit

and files its Original Answer to Plaintiff’s Original Petition, Jury Demand and Request for Disclosure

(“Petition”), and shows the Court as follows:

                                           GENERAL DENIAL

          1.         Zurich hereby denies each and every, all and singular, the material allegations as

contained in the Petition and demands strict proof thereof by a preponderance of the evidence.

                                     ANSWERS TO ALLEGATIONS

          2.         Paragraph 1 of the Petition is procedural in nature and requires no response.

          3.         Zurich admits the allegations in the first sentence of paragraph 2 of the Petition.

The remaining allegations require no response.

          4.         Zurich admits the allegations in paragraph 3 of the Petition.

          5.         Zurich admits the allegation in paragraph 4 of the Petition.

          6.         Zurich admits the allegations in paragraph 5 of the Petition.

          7.         The allegations in paragraph 6 of the Petition are legal conclusions and require no

response.


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          8.         Zurich admits the allegations in the first and third sentences of paragraph 7 of the

Petition, but lacks knowledge or information sufficient to form a belief about the truth of the

second sentence in paragraph 7 of the Petition.

          9.         With respect to paragraph 8 of the Petition, (a) Zurich admits Plaintiff purchased

the Policy through Geico Insurance Agency, Inc.; (b) Zurich denies it made any representations

to Plaintiff not contained in the Policy.

          10.        With respect to paragraph 9 of the Petition, Zurich admits Plaintiff reported a claim

for property damage relating to Winter Storm Uri, but lacks knowledge or information sufficient

to form a belief about the truth of the remaining allegations.

          11.        Zurich admits the allegations in paragraph 10 of the Petition.

          12.        Zurich admits the allegations in paragraph 11 of the Petition.

          13.        With respect to paragraph 12 of the Petition: (a) Zurich admits it retained National

Claims Connection to investigate the Claim; (b) Zurich admits some of the Property damage was

caused by a Covered Cause of Loss; (c) Zurich denies it underestimated the amount of covered

damages; and (d) Zurich admits the allegations in the last sentence.

          14.        Zurich denies the allegations in paragraph 13 of the Petition.

          15.        Zurich denies the allegations in paragraph 14 of the Petition.

          16.        Zurich denies the allegations in paragraph 15 of the Petition.

          17.        Zurich denies the allegations in paragraph 16 of the Petition.

          18.        Zurich denies the allegations in paragraph 17 of the Petition.

          19.        Zurich denies the allegations in paragraph 18 of the Petition.

          20.        Zurich denies the allegations in paragraph 19 of the Petition.

          21.        Zurich denies the allegations in paragraph 20 of the Petition.



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          22.        Zurich denies the allegations in paragraph 21 of the Petition.

          23.        Zurich denies the allegations in paragraph 22 of the Petition.

          24.        Zurich denies the allegations in paragraph 23 of the Petition.

          25.        Zurich lacks knowledge or information sufficient to form a belief about the truth

of the allegations in paragraph 24 of the Petition.

          26.        Zurich denies the allegations in paragraph 25 of the Petition.

          27.        Zurich denies the allegations in paragraph 26 of the Petition.

          28.        Zurich denies the allegations in paragraph 27 of the Petition.

          29.        Zurich denies the allegations in paragraph 28 of the Petition.

          30.        Zurich denies the allegations in paragraph 29 of the Petition.

          31.        With respect to paragraph 30 of the Petition, Zurich repeats and incorporates herein

all responses above to the fact section of the Petition.

          32.        Zurich denies the allegations in paragraph 31 of the Petition.

          33.        Zurich denies the allegations in paragraph 32 of the Petition.

          34.        Zurich denies the allegations in paragraph 33 of the Petition.

          35.        Zurich denies the allegations in paragraph 34 of the Petition.

          36.        Zurich denies the allegations in paragraph 35 of the Petition.

          37.        Zurich denies the allegations in paragraph 36 of the Petition.

          38.        Zurich denies the allegations in paragraph 37 of the Petition.

          39.        Zurich denies the allegations in paragraph 38 of the Petition.

          40.        Zurich denies the allegations in paragraph 39 of the Petition.

          41.        Zurich denies the allegations in paragraph 40 of the Petition.

          42.        Zurich denies the allegations in paragraph 41 of the Petition.



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          43.        Zurich denies the allegations in paragraph 42 of the Petition.

          44.        Zurich denies the allegations in paragraph 43 of the Petition.

          45.        Zurich denies the allegations in paragraph 44 of the Petition.

          46.        Zurich denies the allegations in paragraph 45 of the Petition.

          47.        Zurich denies the allegations in paragraph 46 of the Petition.

          48.        Zurich admits the allegations in paragraph 47 of the Petition.

          49.        Zurich denies the allegations in paragraph 48 of the Petition.

          50.        Zurich denies the allegations in paragraph 49 of the Petition.

          51.        Zurich denies the allegations in paragraph 50 of the Petition.

          52.        Zurich denies the allegations in paragraph 51 of the Petition.

          53.        Zurich denies the allegations in paragraph 52 of the Petition.

          54.        Zurich denies the allegations in paragraph 53 of the Petition.

          55.        With respect to paragraph 54 of the Petition, Zurich denies Plaintiff is entitled to

the attorneys’ fees sought.

          56.        No response is required to paragraph 55 of the Petition.

          57.        No response is required to paragraph 56 of the Petition.

          58.        Zurich denies Plaintiff is entitled to the relief sought in the Prayer.

                                        ADDITIONAL DEFENSES

          59.        Plaintiff’s claims are barred in whole or in part because no suit, action or

proceeding for the recovery of any claim under the applicable Policy shall be sustainable in any

court of law or equity unless the Insured shall have fully complied with all the requirements of

this Policy.




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          60.        Plaintiff’s claims are barred in whole or in part to the extent Plaintiff was

contributorily negligent and Defendant hereby invokes comparative negligence of Plaintiff in

accordance with Texas Civil Practice and Remedies Code section 33.001, et seq.

          61.        Zurich specifically denies that it has waived or that it is estopped from asserting

policy defenses or any other terms, conditions, provisions or requirements of the applicable Policy

based on any actions or conduct.

          62.        Plaintiff’s claims are barred in whole or in part because Plaintiff has not made a

proper presentment of its claim under Texas Civil Practice & Remedies Code section 38.001, et

seq., Section 541.154, Section 542A.003 Tex. Ins. Code or Section 17.50 of the Texas Deceptive

Trade Practice Act.

          63.        Plaintiff’s claims are barred in whole or in part because Zurich did not act

knowingly, unconscionably, with conscious indifference, or with malice.

          64.        Plaintiff’s claim for extra-contractual damages is barred because Zurich: (1) did

not breach the Policy, (2) did not violate the Texas Insurance Code, and (3) did not violate the

Texas Deceptive Trade Practices Act.

          65.        Plaintiff’s claims are barred in whole or in part because a bona fide controversy

existed or continues to exist concerning Plaintiff’s entitlement to additional benefits under the

Policy.

          66.        Plaintiff’s claims are barred in whole or in part by the doctrine of concurrent causes

of loss, which provides that when uncovered and covered causes of loss combine or contribute to

a loss, the Plaintiff must prove those damages caused solely by a covered cause of loss. Losses

that occurred prior to or after the applicable policy period or that are excluded under the applicable

Policy are not covered losses.



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          67.        Plaintiff’s claims are barred in whole or in part by the doctrine of concurrent causes

of loss, which provides that when multiple occurrences damage the same property, the Plaintiff

must prove the damages caused solely by each occurrence. Plaintiff must segregate the damages

between such occurrences.

          68.        Plaintiff’s claims are barred in whole or in part because the Policy only insures

covered causes of loss commencing during the applicable policy period.

          69.        Plaintiff’s claims are barred in whole or in part by the application of policy terms,

conditions, exclusions, limitations, sublimits and deductibles.

          70.        Plaintiff’s claims are barred in whole or in part to the extent its damages pre-existed

the date of inception of the Policy.

          71.        Plaintiff’s claims are barred in whole or in party by the fortuity doctrine.

          72.        Plaintiff’s claims are barred in whole or in part because it is against public policy

to insure known or ongoing losses.

          73.        Plaintiff’s claims are barred in whole or in part because: (a) Plaintiff failed to

protect the property from further loss or damage, and (b) Plaintiff failed to cooperate in the

investigation of the Claim and Zurich has been prejudiced thereby.

          74.        Plaintiff’s claims for violations of Texas Insurance Code chapters 541 and 542, and

for violations of the Texas Deceptive Trade Practices Act are all barred because (1) Zurich did not

breach the Policy; (2) Zurich did not commit any act so extreme that it produced damages

unrelated to and independent of the claims under the Policy; and (3) Zurich did not conduct an

unreasonable investigation under the facts and circumstances of the Claim.

          75.        Plaintiff’s claim is barred in whole or in part by the following provisions from the

Policy.



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                     1. Additional Living Expense

                     If a loss covered under Section I makes that part of the “residence
                     premises” where you reside not fit to live in, we cover any necessary
                     increase in living expenses incurred by you so that your household can
                     maintain its normal standard of living.

                     Payment will be for the shortest time required to repair or replace the
                     damage or, if you permanently relocate, the shortest time required for
                     your household to settle elsewhere.

          76.        Plaintiff’s claim is barred in whole or in part by the following exclusions in the

Policy.

                     2. We do not insure, however, for loss:

                                                           ***
                     c. Caused by:
                          (1) Freezing of a plumbing, heating, air conditioning or automatic fire
                              protective sprinkler system or of a household appliance, or by
                              discharge, leakage or overflow from within the system or appliance
                              caused by freezing. This provision does not apply if you have used
                              reasonable care to:
                                   (a) Maintain heat in the building; or
                                   (b) Shut off the water supply and drain all systems and
                                        appliances of water.

                                                           ***
                          (5) Mold, fungus or wet rot. However, we do insure for loss caused by
                              mold, fungus or wet rot that is hidden within the walls or ceilings or
                              beneath the floors or above the ceilings of a structure if such loss
                              results from the accidental discharge or overflow of water or steam
                              from within:

                                   (a) A plumbing, heating, air conditioning or automatic fire
                                        protective sprinkler system, or a household appliance, on
                                        the “residence premises”; or
                                   (b) A storm drain, or water, steam or sewer pipes, off the
                                        “residence premises”.




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                     For purposes of this provision, a plumbing system or household appliance
                     does not include a sump, sump pump or related equipment or a roof drain,
                     gutter, downspout or similar fixtures or equipment; or

                          (6) Any of the following:
                                  (a) Wear and tear; marring, deterioration;
                                  (c) Smog, rust or other corrosion, or dry rot.
                                  (e) Discharge, dispersal, seepage, migration, release or escape
                                      of pollutants unless the discharge, dispersal, seepage,
                                      migration, release or escape is itself caused by a Peril
                                      Insured Against named under Coverage C.

                     Pollutants means any solid, liquid, gaseous or thermal irritant or
                     contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals
                     and waste. Waste includes materials to be recycled, reconditioned or
                     reclaimed;

                                  (f) Settling, shrinking, bulging or expansion, including resultant
                                      cracking, of bulkheads, pavements, patios, footings,
                                      foundations, walls, floors, roofs or ceilings;

                                                          ***
                     4. Power Failure

                     Power Failure means the failure of power or other utility service if the
                     failure takes place off the “residence premises”. But if the failure results
                     in a loss, from a Peril Insured Against on the “residence premises”, we will
                     pay for the loss caused by that peril.

                     5. Neglect

                     Neglect means neglect of an “insured” to use all reasonable means to save
                     and preserve property at and after the time of a loss.

          77.        Plaintiff’s claim is barred in whole or in part by the following Conditions:

                     C. Duties After Loss

                     In case of a loss to covered property, we have no duty to provide coverage
                     under this policy if the failure to comply with the following duties is
                     prejudicial to us. These duties must be performed either by you, an
                     “insured” seeking coverage, or a representative of either:




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                     4. Protect the property from further damage. If repairs to the property
                        are required, you must:
                        a. Make reasonable and necessary repairs to protect the property;
                            and
                        b. keep an accurate record of repair expenses;

                     5. Cooperate with us in the investigation of a Claim;

                                                        ***
                     7.      as often as we reasonably require:

                          a. show the damaged property;
                          b. Provide us with records and documents we request and permit us
                             to make copies; and
                          c. Submit to examination under oath, while not in the presence of
                             another “insured”, and sign the same;

                                            SPECIAL PROVISIONS – TEXAS

                     F. The following is added under SECTION I – EXCLUSIONS:

                     “Fungi” Or Microbes

                          a. “Fungi” or microbes means the presence, growth, proliferation,
                             spread or any activity of “fungi” or microbes.

                     This exclusion also applies to the cost:

                             (1) To remove “fungi or microbes from property covered under
                                 Section I – Property Coverages;

                             (2) To tear out and replace any part of the building or other covered
                                 property as needed to gain access to the “fungi” or microbes;
                                 and

                             (3) Of testing of air or property to confirm the absence, presence
                                 or level of “fungi” or microbes.

                          b. This exclusion applies unless the “fungi” or microbes are located
                             upon the portion of covered property which must be repaired or
                             replaced because of direct physical damage resulting from sudden
                             and accidental discharge or overflow of water which would
                             otherwise be covered under this Policy. For purposes of this
                             exclusion, sudden and accidental shall include a loss event that is

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                                hidden or concealed for a period of time until it is detectable. A
                                hidden loss must be reported to us no later than 30 days after the
                                date it was detected or should have been detected.

                            c. However, the exception to the exclusion described in b. above does
                               not include:

                                (1) The cost to treat, contain, remove or dispose of the “fungi” or
                                    microbes beyond that which is required to repair or replace the
                                    covered property physically damaged by water;

                                (2) The cost of any testing of air or property to confirm the absence,
                                    presence or level of “fungi” or microbes whether performed
                                    prior to, during or after removal, repair, restoration or
                                    replacement;

                                (3) The cost of any decontamination of the “residence premises”;
                                    and

                                (4) Any increase in loss under Coverage D – Loss Of Use and
                                    Additional Coverage 1. Debris Removal resulting from c.(1), (2)
                                    or (3).

                                                    ***
                     L. Mortgage Clause (Without Contribution)

                            1. We will pay for any covered loss of or damage to buildings or
                               structures to the mortgagee shown in the Declarations as interests
                               appear.

                            2. The mortgagee has the right to receive loss payment even if the
                               mortgagee has started foreclosure or similar action on the building
                               structure.

          78.        Plaintiff’s claims are limited by the following endorsement:

                               LIMITED FUNGI OR MICROBES COVERAGE – TEXAS
                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     Schedule

                          This limit of liability applies to the total of all loss or costs payable under
                          this endorsement in any one policy period, regardless of the number of



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                          occurrences, the number of claims made, or the number of locations
                          insured under this endorsement and listed in this Schedule.

                               Section I – PROPERTY COVERAGES Limit of Liability for               $5,000
                               the Additional Coverage Limited “Fungi” Or Microbes
                               Coverage
                          Entries may be left blank if shown elsewhere in this policy for this coverage.


                     The “Fungi” Or Microbes Exclusion in the Special Provisions – Texas
                     endorsement does not apply to the extent coverage is provided by this
                     endorsement.

                     A. The following DEFINITION is added:

                     “Fungi” means any type or form of fungus, including mold or mildew, and
                     any mycotoxins, spores, scents or by-products produced or released by
                     fungi.

                     B. The following is added to E. Additional Coverages Under SECTION I –
                     PROPERTY COVERAGES:

                     Limited “Fungi” Or Microbes Coverage

                            a. We will pay for the:

                                (1). Cost to remove “fungi” or microbes from property covered
                                     under Section I – Property Coverages;

                                (2)   Cost to tear out and replace any part of the building or other
                                      covered property as needed to gain access to the “fungi” or
                                      microbes

                                (3)   Cost of testing of air or property to confirm the absence,
                                      presence or level of “fungi” or microbes whether performed
                                      prior to, during or after removal, repair, restoration or
                                      replacement. The cost of such testing will be provided only
                                      to the extent that there is a reason to believe that there is the
                                      presence of “fungi” or microbes; and

                                (4)   Total of all loss payable under Coverage D – Loss Of Use, if the
                                      “fungi” or microbes make the “residence premises” not fit to
                                      live in.



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                          b. The coverage described in a. above only applies when such loss or
                          costs are a result of a Peril Insured Against that occurs during the policy
                          period and only if all reasonable means were used to save and preserve
                          the property from further damage at and after the time the Peril
                          Insured Against occurred.

                          c. the limit of liability for this coverage is shown in the Schedule above.

                          d. This limit is the most we will pay for the total of all loss or costs
                          payable under this Additional Coverage regardless of the”

                               (1)   Number of Perils Insured Against that combine or
                                     contribute to the presence of resulting “fungi” or microbes;

                               (2)   Number of locations insured under this endorsement; or

                               (3)   Number of claims made.

                          e. This additional coverage does not apply to “fungi” or microbes
                             which are the result of constant or repeated seepage or leakage of
                             water or steam or the presence or condensation of humidity,
                             moisture or vapor, over a period of 14 or more days.

                          f. This coverage does not increase the limit of liability applying to the
                              damaged covered property.

                     C. Paragraph Q under SECTION I – CONDITIONS has been replaced by the
                     following:

                     Q. Policy Period

                     This policy applies to loss or costs which occur during the policy period.

                     All other terms, conditions, provisions and exclusions of this policy remain
                     the same.

          79.        Plaintiff’s claims are limited by the following Endorsement:

                            COSMETIC AND AESTHETIC DAMAGE TO FLOORS LIMITATION

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                     The following is added to A. Coverage A – Dwelling under SECTION I –
                     PROPERTY COVERAGES:


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                     Special Limit Of Liability

                     Cosmetic And Aesthetic Damage To Floors

                     The total limit of liability for Coverage A – Dwelling is $10,000 per policy
                     term for cosmetic and aesthetic damages to floors:

                            1. Cosmetic or aesthetic damage includes, but is not limited to:
                                 a. chips;
                                 b. scratches;
                                 c. dents; or
                                 d. any other damage

                     to less than 5% of the total floor surface area and does not prevent typical
                     use of the floor.

                            2. this limit includes the cost of tearing out and replacing any part
                                of the building necessary to repair the damaged flooring.

                            3. This limit does not increase the Coverage A – Dwelling limit of
                               liability shown on the declarations page.

                            4. This limit does not apply to cosmetic or aesthetic damage to
                               floors caused by a Peril Insured Against as named and described
                               for Coverage C – Personal Property.

                     All other terms, conditions, provisions and exclusions of this policy remain
                     the same.

                                                  PRAYER

          WHEREFORE, Zurich prays that this Original Answer be deemed good and sufficient and

after due proceedings are had, there be judgment herein in favor of Zurich dismissing Plaintiff’s

claims against them, at Plaintiff’s cost and such other general and equitable relief as the nature of

the case may require or permit.




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                                             Respectfully submitted,


                                             /s/ Carter L. Ferguson
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                                             Federal I.D. No. 33538
                                             cferguson@belaw.com
                                             Landon D. Young
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                                             100 Main Street
                                             Fort Worth, Texas 76102-3090
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                                             (817) 870-2265 fax

                                             ATTORNEYS FOR ZURICH AMERICAN
                                             INSURANCE COMPANY




                                     CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document was
forwarded to all counsel of record in accordance with the Federal Rules of Civil Procedure.

            Chad T. Wilson                             Via E-Service
            Patrick C. McGinnis
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            CWilson@cwilsonlaw.com

            Attorney for Plaintiff


          DATED this 12th day of November 2021.

                                             /s/ Carter L. Ferguson
                                             Carter L. Ferguson


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certificate of service that complies with all applicable rules.

Kasi Copeland on behalf of Carter Ferguson
Bar No. 06909500
kcopeland@belaw.com
Envelope ID: 59126324
Status as of 11/12/2021 3:32 PM CST

Associated Case Party: Heather Gragg

Name                 BarNumber    Email                     TimestampSubmitted       Status

Patrick CMcGinnis                 pmcginnis@cwilsonlaw.com 11/12/2021 3:26:19 PM     SENT

Chad TWilson                      CWilson@cwilsonlaw.com    11/12/2021 3:26:19 PM    SENT

Chad Wilson          24079587     eservice@cwilsonlaw.com   11/12/2021 3:26:19 PM    SENT



Associated Case Party: Zurich American Insurance Company

Name                BarNumber    Email                TimestampSubmitted      Status

Landon Young                     lyoung@belaw.com     11/12/2021 3:26:19 PM   SENT

Carter LFerguson                 cferguson@belaw.com 11/12/2021 3:26:19 PM    SENT

Vickie Naylor                    vnaylor@belaw.com    11/12/2021 3:26:19 PM   SENT




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               Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 47 of 122



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 ILLINOIS DEPARTMENT OF INSURANCE




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Zurich American Insurance Co.                             HOMEOWNERS DECLARATIONS
       Processing Center                          D-BILL: SERVICEMAC LLC ISAOA ATIMA   PAGE: 1
       P.O. Box 9061, Carlsbad, CA 92018-9061     AMENDED                 END#:    6    1/04/21
 GA:          1                                         PRODUCER: 154104      (855) 721-9248
  ARROWHEAD GENERAL INSURANCE                            GEICO INSURANCE AGENCY, INC
  AGENCY, INC.                                           ONE GEICO BLVD.
  P O BOX 9061                                           FREDERICKSBURG, VA 22412
  CARLSBAD, CA 92018-9061
 NAMED INSURED AND MAILING ADDRESS                        LOCATION ADDRESS
  HEATHER LYNN GRAGG                                        3105 ROCK BROOK FALLS LN
  3105 ROCK BROOK FALLS LN                                  LEAGUE CITY, TX 77573-6138
  LEAGUE CITY, TX 77573-6138
                                                         COUNTY: GALVESTON
 POLICY NO:    ZHO0409133       Policy Period:    4/07/2020 to 4/07/2021
 HOMEOWNERS DECLARATIONS             12:01 A.M. Standard Time at the Address of the Named Insured as Stated Herein.


 COVERAGE PROVIDED WHERE PREMIUM OR LIMIT OF LIABILITY SHOWN FOR THE COVERAGE:
             | - - - - - - - - SECTION I - - - - - - - - |- - -SECTION II- - -|
 COVERAGES    A.DWELLING B.OTHER     C.PERSONAL   D.LOSS E.PERSONAL F.MEDICAL
 AND LIMITS               STRUCTURES   PROPERTY    OF USE LIABILITY    PAYMENTS
 OF LIABILITY    264,000     26,400    132,000     52,800    300,000      1,000

 FOR COVERED LOSSES, WE COVER ONLY THAT PART OF THE LOSS OVER THE DEDUCTIBLE
 STATED:   $1,000 LOSS DEDUCTIBLE. EXCEPTION:   $5,280 WIND/HAIL DED.
 SUMMARY OF PREMIUM:
        BASIC PREMIUM                $ 434                           TOTAL PREMIUM $ 2416.00
   ADDITIONAL PREMIUM                $ 1309CR                           POLICY FEE $    60.00
    WIND/HAIL PREMIUM                $ 3291             TX VOL FIRE DEPT ASST FUND $     2.48
        TOTAL PREMIUM                $ 2416                           TOTAL POLICY $ 2478.48
                                                        ***************************************
                                                            TOTAL THIS TRANSACTION $     0.00
                                                        ***************************************

 POLICY SUBJECT TO THE FOLLOWING SURCHARGES, CREDITS, ENDORSEMENTS AND FORMS:
  FORM NO   EDITION      DESCRIPTION      LIMITS CHANGE PREMIUM DUE PREMIUM
 ZAHHO-NOTX   5/20 IMPORTANT NOTICE
 UGU1248ATX   9/20 TX - FLOOD NOTICE
 ZAHHOCBRTX 11/18 CONSUMER RIGHTS
 ZAHHOCD1TX 11/18 CREDIT DISCLOSURE
 U-GU-1041A   3/11 OFAC ADVISORY
 U-GU874ACW   6/11 COMPENSATION NOTICE
 HO 00 03     5/11 SPECIAL FORM
 ZAHHO-SPTX   9/19 SPEC PROVISIONS - TX
 HO 04 20     5/11 ADD'L COV A LIM 25%          25%                       $91
 HO 23 04     5/11 REP COST-PERS PROP                                    $313
 HO-03-12     5/11 WIND/HAIL DEDUCTIBLE          2%                      $508CR
 ZAHHO-50TX 11/18 LIMITED FUNGI COVG         $5,000
 HO 04 48    10/00 OTHR STRUC-INC LIMIT      $2,000                        $5
 ZAHHO-CMTX 11/18 FLOOR DAMAGE LIMIT
 HO 06 53     2/17 HOME-SHARE ACTIVITY
 ZAHHO-19TX 11/18 AMENDATORY ENDORSMNT
 ZAHHO25PBE 11/18 ANIMAL LIAB EXCLSN

 OCC: PRIMRY PGM: HO3-18 BAND: 16                     TERR: 381       BLT: 2009 VENEER          PRT CLS: 001
 DIST TO COAST: 2 TO 5 MILES

                                                   * CONTINUED *
  Date Issued:     01/20/21


  INSURED 1 COPY                                                                               ZAHHO-TX DEC 11 18
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          Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 49 of 122

Zurich American Insurance Co.                             HOMEOWNERS DECLARATIONS
       Processing Center                          D-BILL: SERVICEMAC LLC ISAOA ATIMA   PAGE: 2
       P.O. Box 9061, Carlsbad, CA 92018-9061     ADDITIONAL INFORMATION END#:     6    1/04/21
 GA:          1                                         PRODUCER: 154104      (855) 721-9248
  ARROWHEAD GENERAL INSURANCE                            GEICO INSURANCE AGENCY, INC
  AGENCY, INC.                                           ONE GEICO BLVD.
  P O BOX 9061                                           FREDERICKSBURG, VA 22412
  CARLSBAD, CA 92018-9061
 NAMED INSURED AND MAILING ADDRESS                        LOCATION ADDRESS
  HEATHER LYNN GRAGG                                        3105 ROCK BROOK FALLS LN
  3105 ROCK BROOK FALLS LN                                  LEAGUE CITY, TX 77573-6138
  LEAGUE CITY, TX 77573-6138
                                                         COUNTY: GALVESTON
 POLICY NO:    ZHO0409133       Policy Period:    4/07/2020 to 4/07/2021
 HOMEOWNERS DECLARATIONS             12:01 A.M. Standard Time at the Address of the Named Insured as Stated Herein.


 POLICY SUBJECT TO THE FOLLOWING SURCHARGES, CREDITS, ENDORSEMENTS AND FORMS:
  FORM NO   EDITION      DESCRIPTION      LIMITS CHANGE PREMIUM DUE PREMIUM
 ZAHHODBETX 11/18 DIVING BOARD EXCLSN
                    POOL SLIDE EXCLSN
 ZAHHO-CSCE 11/18 SUBST/CANNABIS EXCL.
 ZAHHO-TETX 11/18 TRAMPOLINE EXCLUSION
 ZAHHO-CDTX 11/18 COSMETIC DMG EXCLSN
                    DEDUCTIBLE $1000                                      $39
                    HIP ROOF CREDIT                                      $427CR
                    GEICO AFFINITY CREDT                                 $172CR
                    INSURANCE BAND CR/SC                                 $294
                    AGE OF HOME ADJSTMNT                                 $944CR
 TXHO3HPDZ    9/19 PREM DISC AVAILABLE
 UGU1107DCW   1/20 PRIVACY NOTICE
 U-GU-319-F   1/09 IN WITNESS CLAUSE
 *FEE SCHEDULE:
     THIS POLICY IS SUBJECT TO THE FOLLOWING FEES WHEN APPLICABLE.
        INSTALLMENT PAYMENT FEE     $7.00 PER PAYMENT
                                          IF FULL ANNUAL PAYMENT NOT ELECTED
              REINSTATEMENT FEE    $15.00 PER REINSTATEMENT
                                          IF POLICY CANCELLED AND WE AGREE TO
                                          REINSTATE THE POLICY
        NON-SUFFICIENT FUND FEE    $25.00 CHARGED ON EACH CHECK/DEBIT CARD/
                                          CREDIT CARD PAYMENT RETURNED UNPAID

       ALL FEES APPROVED BY THE TEXAS DEPARTMENT OF INSURANCE.

       THE POLICY FEE DISCLOSED ON THE FRONT PAGE OF YOUR DECLARATIONS PAGE AND
       THE ADDITIONAL FEES DISCLOSED ABOVE ARE FULLY EARNED AND ARE NOT SUBJECT
       TO REFUND IN THE EVENT THE POLICY IS CANCELLED.

 ** THIS POLICY IS SUBJECT TO A SECTION I LIMIT OF $5000 FOR LIMITED FUNGI,
    OTHER MICROBES OR MICROBES REMEDIATION.
 1ST LOAN NO. 6014001017
 MTG SERVICEMAC LLC ISAOA ATIMA
     PO BOX 29411
     PHOENIX, AZ 85038-9411

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  Date Issued:     01/20/21


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          Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 50 of 122

Zurich American Insurance Co.                             HOMEOWNERS DECLARATIONS
       Processing Center                          D-BILL: SERVICEMAC LLC ISAOA ATIMA   PAGE: 3
       P.O. Box 9061, Carlsbad, CA 92018-9061     ADDITIONAL INFORMATION END#:     6    1/04/21
 GA:          1                                         PRODUCER: 154104      (855) 721-9248
  ARROWHEAD GENERAL INSURANCE                            GEICO INSURANCE AGENCY, INC
  AGENCY, INC.                                           ONE GEICO BLVD.
  P O BOX 9061                                           FREDERICKSBURG, VA 22412
  CARLSBAD, CA 92018-9061
 NAMED INSURED AND MAILING ADDRESS                        LOCATION ADDRESS
  HEATHER LYNN GRAGG                                        3105 ROCK BROOK FALLS LN
  3105 ROCK BROOK FALLS LN                                  LEAGUE CITY, TX 77573-6138
  LEAGUE CITY, TX 77573-6138
                                                         COUNTY: GALVESTON
 POLICY NO:    ZHO0409133       Policy Period:    4/07/2020 to 4/07/2021
 HOMEOWNERS DECLARATIONS             12:01 A.M. Standard Time at the Address of the Named Insured as Stated Herein.


 CHANGED:        MORTGAGEE ADDRESS HAS BEEN UPDATED PER THEIR REQUEST.




                                      * END OF POLICY DECLARATIONS *
  Date Issued:     01/20/21


  INSURED 1 COPY                                                                               ZAHHO-TX DEC 11 18
                                                                                                  App 0048
             Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 51 of 122

                 IMPORTANT NOTICE                                             AVISO IMPORTANTE

Where you can get information or make a complaint            Dónde puede obtener información o presentar una
                                                             queja
If you have a question or a problem with a claim or your
premium, contact your insurance company first. You           Si tiene una pregunta o un problema con una
can also get information or file a complaint with the        reclamación o con su prima de seguro, comuníquese
Texas Department of Insurance.                               primero con su compañía de seguros. Usted también
                                                             puede obtener información o presentar una queja ante el
Zurich American Insurance Company                            Departamento de Seguros de Texas (Texas Department
To get information or file a complaint with your insurance   of Insurance, por su nombre en inglés).
company
                                                             Zurich American Insurance Company
Toll Free: 1-800-905-7550                                    Para obtener información o presentar una queja ante su
Email:     propertydocs@arrowheadgrp.com                     compañía de seguros
Mail:      P. O. Box 9061
           Carlsbad, CA 92018-9061                           Teléfono gratuito: 1-800-905-7550
                                                             Correo electrónico: propertydocs@arrowheadgrp.com
The Texas Department of Insurance                            Dirección postal:   P. O. Box 9061
To get help with an insurance question, learn your rights,                       Carlsbad, CA 92018-9061
or file a complaint with the state:
                                                             El Departamento de Seguros de Texas
Call:      1-800-252-3439                                    Para obtener ayuda con una pregunta relacionada con
Online:    www.tdi.texas.gov                                 los seguros, para conocer sus derechos o para
Email:     ConsumerProtection@tdi.texas.gov                  presentar una queja ante el estado:
Mail:      MC 111-1A
           P. O. Box 149091                                  Llame:                1-800-252-3439
           Austin, TX 78714-9101                             En linea:             www.tdi.texas.gov
                                                             Correo electrónico:   ConsumerProtection@tdi.texas.gov
Premium or Claim Disputes:                                   Dirección postal:     MC 111-1A
Should you have a dispute concerning your premium or                               P. O. Box 149091
about a claim you should contact Zurich American                                   Austin, TX 78714-9101
Insurance Company first. If the dispute is not resolved,
you may contact the Texas Department of Insurance.           Disputas Sobre Primas o Reclamos:
                                                             Si tiene una disputa concerniente a su prima o a un
Attach This Notice To Your Policy:                           reclamo, debe comunicarse con Zurich American
This notice is for information only and does not become      Insurance Company primero. Si no se resuelve la
a part or condition of the attached document                 disputa, puede entonces comunicarse con el
                                                             departamento (TDI).
To Compare Policies and Prices
Visit HelpInsure.com to compare prices and coverages         Una Este Aviso A Su Poliza:
on home and auto insurance policies. The website is a        Este aviso es solo para propósito de información y no se
service of the Texas Department of Insurance and the         convierte en parte o condición del documento adjunto.
Office of Public Insurance counsel.
                                                             Para comparar pólizas y precios
                                                             Visite HelpInsure.com para comparar precios y
                                                             coberturas en pólizas de seguro para el hogar y
                                                             automóvil. El sitio web es un servicio del Departamento
                                                             de Seguros de Texas y de la Oficina del Asesor Público
                                                             de Seguros (Office of Public Insurance Counsel, por su
                                                             nombre en inglés).




ZAHHO-NO TX 05 20
                                                                                                   App 0049
     Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 52 of 122



Flood Insurance Notice – Texas                                                                             ®

                                                                                          ZURICH

Flood Insurance:
You may also need to consider the purchase of flood insurance. Your insurance policy does not include
coverage for damage resulting from a flood even if hurricane winds and rain caused the flood to occur.
Without separate flood insurance coverage, you may have uncovered losses caused by a flood. Please
discuss the need to purchase separate flood insurance coverage with your insurance agent or insurance
company, or visit www.floodsmart.gov.




                                                                                  U-GU-1248-A TX (09/20)
                                                                                             Page 1 of 1

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      #   (6,# *&0".%&$,# $!+'%&)# .,F,$(0# %# .,;"*.,/# *&0',$(*!&# .,'!.(# 9*(6*&# G@# /%)0# %1(,.# .,$,*3*&=# (6,#

          .,'!.(-## 56,# .,'!.(# +"0(# 8,# $!+'2,(,/# 8)# %# 2*$,&0,/# !.# %"(6!.*C,/# *&0',$(!.# %&/# $%&&!(# 8,#

          +!.,#(6%&#H@#/%)0#!2/-#



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     9*(6# )!".# $!+'%&)# 6%0# 8,,&# *&# ,11,$(# 1!.# H@# /%)0A# (6%(# *&0".%&$,# $!+'%&)# $%&&!(# $%&$,2# )!".#

     '!2*$)#"&2,007#



      #   )!"#/!&B(#'%)#)!".#'.,+*"+#96,&#/",:#

      #   )!"#1*2,#%#1.%"/"2,&(#$2%*+:#




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       Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 58 of 122
  ZHO0409133


       !"#$# %& '( %()$#'&# %( !"# "'*'$+ ),-#$#+ ./ !"# 0,1%)/ !"'! %& 2%!"%( /,3$ ),(!$,1 '(+ $#&31!& %(
       '( %()$#'&# %( !"# 0,1%)/ 0$#4%345 ,$
       678 +#!#$4%(#& ),(!%(3'!%,( ,9 !"# 0,1%)/ 2,31+ $#&31! %( -%,1'!%,( ,9 %(&3$'()# 1'2&:


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 -".$,&'/0$,1(234)2&50%)%$)'+#'(,"              >,3 "'-# !"# $%?"! !, )'()#1 /,3$ 0,1%)/ '! '(/ !%4# '(+
  $#)#%-# ' $#93(+ ,9 !"# $#4'%(%(? 0$#4%34:


  "'0+#5() &#) 6+2&%+,) 4%+%74")        89 /,3$ 4'$%!'1 &!'!3& )"'(?#&; /,3 "'-# !"# $%?"! !, ),(!%(3#
  /,3$ %(&3$'()# ),-#$'?#:       >,3 "'-# ' $%?"! !, ' (#2 0,1%)/ %( /,3$ ('4# !"'! "'& ),-#$'?#&
  2"%)" 4,&! (#'$1/ '00$,@%4'!# !"# ),-#$'?#& ,9 /,3$ 0$%,$ 0,1%)/; %()13+%(? !"# &'4# #@0%$'!%,(
  +'!#: 6"# %(&3$'()# ),40'(/ )'((,! +'!# !"# (#2 0,1%)/ &, !"'! ' ?'0 %( ),-#$'?# ,))3$&:


 8"74() $*) ',+&64) 0&4%$2/) %$) #$#2(#(9) $2) 1(%(26&#() 2(#(9+,) .2(6&76"                            >,3$
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       /,3 9%1# !"$## ,$ 4,$# )1'%4& %( '(/ CA/#'$ 0#$%,+5 '(+
       /,3$ %(&3$#$ (,!%9%#+ /,3 %( 2$%!%(? '9!#$ !"# &#),(+ )1'%4 !"'! 9%1%(? ' !"%$+ )1'%4 ),31+ $#&31! %(
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  )1'%4& /,3 "'-# 9%1#+ ,$ !, +#!#$4%(# /,3$ 0$#4%34 %9 /,3$ 0,1%)/ %& $#(#2#+B


       )1'%4& 9,$ +'4'?# 9$,4 ('!3$'1 )'3&#&; %()13+%(? 2#'!"#$A$#1'!#+ +'4'?#5
       '001%'()#A$#1'!#+ 2'!#$ +'4'?# )1'%4& 2"#$# !"# $#0'%$& "'-# .##( %(&0#)!#+ '(+ )#$!%9%#+5
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  43&! '1&, ),(&%+#$ ,!"#$ 3(+#$2$%!%(? 9')!,$& %(+#0#(+#(! ,9 )$#+%! %(9,$4'!%,( 2"#( +#)%+%(?
  2"#!"#$ !, $#(#2 ),-#$'?#:         JK,$ '++%!%,('1 %(9,$4'!%,( &## !"# &#)!%,( ,9 !"%& L%11 ,9 M%?"!&
  #(!%!1#+   9:;<)=>?)@:>?AB)CD>E);F>?<)GD@?H;DIJ)I>KL;DGJ@3)?@J)>M)IHJBG<)GDM>HK;<G>D:N




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  +%99#$#()# .#!2##( /,3$ )3$$#(! 0,1%)/ '(+ #')" 0,1%)/ ,99#$#+ !, /,3 2"#( !"# 0,1%)/ $#(#2&: 8(
  )#$!'%( %(&!'()#& /,3$ %(&3$'()# ),40'(/ 43&! '1&, 0$,-%+# ' ),40'$%&,( .#!2##( !"# 0,1%)/
  ,99#$#+ '(+ 0,1%)%#& '+,0!#+ ./ !"# O,44%&&%,(#$ ,9 8(&3$'()#:


 O"#$%&'() $*) #$#2(#(9+,"           89 !"# %(&3$'()# ),40'(/ +,#& (,! 4'%1 /,3 (,!%)# ,9 (,($#(#2'1
  '! 1#'&! C= +'/& .#9,$# /,3$ 0,1%)/ #@0%$#&; /,3 "'-# !"# $%?"! !, $#P3%$# !"# %(&3$'()# ),40'(/ !,
  $#(#2 /,3$ 0,1%)/:


 P"(Q.,+#+%&$#)$*)'+#'(,,+%&$#)$2)#$#2(#(9+,"                       Q0,( $#P3#&!; /,3 "'-# !"# $%?"! !, '
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       Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 59 of 122
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     !"##$%&'#(#$)$%#&)*'#&+*,,-&$./,("%&#0$&1$2"'"3%4&"%2,*1"%5&#0$&/!$2"'$&"%2"1$%#'4&2"!2*)'#(%2$'4&3!&
   !"'6&+(2#3!'&#0(#&1"'7*(,"+"$1&-3*8&&9#&)*'#&(,'3&'#(#$&#0$&'3*!2$'&3+&"%+3!)(#"3%&*'$18&

                                !"#$%&'$(!&')*$+,&-$-!.,$%&'$/0).$"$1)"02$
 !"#$%&'(&)$(*)+("&&&:3*&0(;$&#0$&!"50#&#3&<$&#!$(#$1&+("!,-&(%1&03%$'#,-& 0$%&-3*&)(6$&(&2,(")8&&
   9+& -3*& <$,"$;$& (%& "%'*!(%2$& 23)/(%-& 0('& #!$(#$1& -3*& *%+("!,-4& 2(,,& =>9& (#& ?@ABB@CDC@EFEG& & 3!&
   13 %,3(1& (& 23)/,("%#& +3!)& +!3)& #0$& =>9& $<'"#$& (#&       8#1"8#$.('853;& 8&& :3*& 2(%& 23)/,$#$& (&
   23)/,("%#&+3!)&3%@,"%$&;"(&#0$&"%#$!%$#&3!&+(.&"#&#3&=>9&(#&D?C@FGB@?BBH8&

 ,"-)((.)*)+('/##)&"&&&:3*&0(;$&#0$&!"50#&#3&!$I$2#&(%-&'$##,$)$%#&()3*%#4&"%2,*1"%5&(%-&*%+("!&
   ;(,*(#"3%4&3++$!$1&<-&#0$&"%'*!(%2$&23)/(%-8&&9+&-3*&!$I$2#&(&'$##,$)$%#&3++$!4&-3*!&3/#"3%'&"%2,*1$&
   23%#"%*"%5&#3&%$53#"(#$& "#0&#0$&"%'*!$!&3!&/*!'*"%5&,$5(,&!$)$1"$'4&'*20&('&)$1"(#"3%4&(!<"#!(#"3%4&
   3!& +","%5& (&,( '*"#8&& :3*& 0(;$& #0$& !"50#& #3& 0(;$& -3*!& 03)$& !$/("!$1&<-& #0$& !$/("!& /$!'3%& 3+& -3*!&
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01")23.$+$(%/+'/#'4.$%*'5)+%$."&&&:3*!&"%'*!(%2$&23)/(%-&)*'#&#$,,&-3*&"%& !"#"%5& 0-&-3*!&
   2,(")&3!&/(!#&3+&-3*!&2,(")& ('&1$%"$18&

06"(%*)#&$*)-'#/&'4.$%*'3&/4)--%+7'$+5'3$8*)+("&&J0$%&-3*&+",$&(&2,(")&3%&-3*!&3 %&
   /3,"2-4& -3*& 0(;$& #0$& !"50#& #3& 0(;$& -3*!& 2,(")& /!32$''$1& (%1& /("1& /!3)/#,-8&& 9+& #0$& "%'*!(%2$&
   23)/(%-&+(",'&#3&)$$#&!$7*"!$1&2,(")'&/!32$''"%5&(%1&/(-)$%#&1$(1,"%$'4&-3*&0(;$&#0$&!"50#&#3&
   23,,$2#&?A&/$!2$%#&(%%*(,&"%#$!$'#&(%1&(##3!%$-K'&+$$'&"%&(11"#"3%&#3&-3*!&2,(")&()3*%#8&

   L$%$!(,,-4& "#0"%&     34$1").,*"5$*"%(
                                        4&-3*!&"%'*!(%2$&23)/(%-& )*'#&(26%3 ,$15$&!$2$"/#&3+&-3*!&
   2,(")& (%1& !$7*$'#& (%-& (11"#"3%(,& "%+3!)(#"3%& !$('3%(<,-& !$,(#$1& #3& -3*!& 2,(")8&& J"#0"%&            34$
   6'(0,.(($*"%(    &MEB&1(-'&"+&#0$&23)/(%-&!$('3%(<,-&'*'/$2#'&(!'3%N&(+#$!&!$2$"/#&3+&(,,&!$7*$'#$1&
   "%+3!)(#"3%4& #0$& 23)/(%-& )*'#& (//!3;$& 3!& 1$%-& -3*!& 2,(")& "%& !"#"%58&& =0$& ,( & (,,3 '& #0$&
   "%'*!(%2$&23)/(%-&#3&$.#$%1&#0"'&1$(1,"%$&*/&#3&FD&1(-'&"+&"#&%3#"+"$'&-3*&#0(#&)3!$&#")$&"'&%$$1$1&
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   /07.$6'(0,.(($*"%(    8&

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EC8&).)$-)'/#'4.$%*'#9+5-"&&P+#$%&(%&"%'*!(%2$&23)/(%-& ",,&)(6$&(&2,(")&20$26&/(-(<,$&#3&
   -3*&(%1&-3*!&)3!#5(5$&23)/(%-&3!&3#0$!&,$%1$!&(%1& ",,&'$%1&"#&#3&#0$&,$%1$!8&&9%&#0(#&2('$4&#0$&
   ,$%1$!&)*'#&%3#"+-&-3*& "#0"%&?B&1(-'&3+&!$2$"/#&3+&#0$&20$26&(%1&#$,,&-3*& 0(#&-3*&)*'#&13&#3&5$#&
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   9+& #0$& ,$%1$!& 13$'& %3#& /!3;"1$& #0$& %3#"2$'& )$%#"3%$1& (<3;$& 3!& /(-& #0$& )3%$-& #3& -3*& (+#$!& (,,&
   !$7*"!$)$%#'& 0(;$& <$$%& )$#4& #0$& ,$%1$!& )*'#& /(-& -3*& "%#$!$'#& 3%& #0$& )3%$-& (#& ?B/$!2$%#& /$!&
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!""#$%&'()*(++(+,(                                                                                       -./0(1(23(+4(
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       Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 60 of 122
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  !"#$%&'( #)( *%+,%*%$-( &*+%.( /'$$*'.'"$!             !"#$ %&'#$(&)* )"+,(&- +#'. &".%/- -"# %/ %.
   %&.*&0' ." ,(- ( 1%(2%1%.- )1(%+ (3(%&'. -"#$ ,"1%)-4 56* )"+,(&- +#'. &".%/- -"# %& 7$%.%&3 "/ (&
   %&%.%(1 "//*$ ." )"+,$"+%'* "$ '*..1* ( )1(%+ (3(%&'. -"# &" 1(.*$ .6(& .6* 89.6 0(- (/.*$ .6* 0(.*
   .6* "//*$ %' +(0*4 56* )"+,(&- +#'. &".%/- -"# %& 7$%.%&3 "/ (&- '*..1*+*&. "/ ( )1(%+ (3(%&'. -"#
   &" 1(.*$ .6(& .6* :9.6 0(- (/.*$ .6* 0(.* "/ .6* '*..1*+*&.4

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   ,$";%0* -"#$ %&'#$(&)* )"+,(&- 7%.6 %&/"$+(.%"& .6(. 0"*' &". $*1(.* ." -"#$ )1(%+4 <& (00%.%"&=
   -"# +(- $*/#'* ." ,$";%0* -"#$ /*0*$(1 %&)"+* .(> $*)"$0' #&1*'' -"#$ %&'#$*$ 3*.' ( )"#$. "$0*$
   "$ -"#$ )1(%+ %&;"1;*' 1"'. %&)"+* "$ ( /%$* 1"''4

                          !"#$%&'$(!&')*$+,&-$".&'#$/0&!1.1#2*$*1(30141,"#1&,$
 7!51#$'&$'4(&*+//'/! ?& %&'#$(&)* )"+,(&- )(&&". 0%')$%+%&(.* (3(%&'. -"# 2- $*/#'%&3 ."
%&'#$* -"#@ 1%+%.%&3 .6* (+"#&.= *>.*&. "$ A%&0 "/ )";*$(3* (;(%1(21* ." -"#@ )6($3%&3 -"# ( 0%//*$*&.
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       2*)(#'* "/ $()*= )"1"$= $*1%3%"&= 3*&0*$= +($%.(1 '.(.#'= 0%'(2%1%.- "$ ,($.%(1 0%'(2%1%.-= "$ &(.%"&(1
       "$%3%&@ "$
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         8!+6'(#)(9#3/'!( ?& %&'#$(&)* )"+,(&- )(&&". $*/#'* ." %&'#$* -"#$ ,$",*$.- 2('*0 "&
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       )";*$(3* 2('*0 "& .6* )"&0%.%"& "/ -"#$ ,$",*$.-= %&)1#0%&3 .6* )"&0%.%"& "/ -"#$ ,1#+2%&3=
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   +#'. 2* 2('*0 "& '"#&0 ().#($%(1 ,$%&)%,1*'4

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   &". .$*(. -"# 0%//*$*&.1- /$"+ ".6*$ %&0%;%0#(1' "/ .6* '(+* )1('' (&0 *''*&.%(11- .6* '(+* 6(G($04
   </ -"# '#'.(%& *)"&"+%) 0(+(3*' (' ( $*'#1. "/ '#)6 #&/(%$ 0%')$%+%&(.%"&= -"# 6(;* .6* $%36. ."
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   !"# +#'. 2$%&3 .6* '#%. "& "$ 2*/"$* .6* '*)"&0 (&&%;*$'($- "/ .6* 0(.* -"# 7*$* 0*&%*0
   %&'#$(&)* "$ .6* #&/(%$ (). "))#$$*0 "$ .6* 0(.* -"# $*('"&(21- '6"#10 6(;* 0%')";*$*0 .6*
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       Case 3:21-cv-00321 Document 1-1 Filed on 11/12/21 in TXSD Page 61 of 122
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                           !"#$%&'$(!&')*$+,&-$".&'#$/,('0",12$1&34",/2(5$
                                      '(2$&6$102*/#$/,6&03"#/&,
!"#$%&'#$() ('*+,-*&#$")            !"   #$   %$&'(#$)*    )+,-#$.    '&*&   )(*/%0   %$"+(,#0%+$   0+   ,#1*
  '$/*(2(%0%$3 +( (#0%$3 /*)%&%+$&4 05* )+,-#$. ,'&0 -(+6%/* .+' # /%&)7+&'(* &0#0*,*$0 2%05%$ 89
  /#.& #"0*( (*)*%6%$3 .+'( )+,-7*0*/ #--7%)#0%+$ "+( %$&'(#$)*:


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       )(*/%0 %$"+(,#0%+$ %" )*(0#%$ 7%"* *6*$0&4 &')5 #& /%6+()*4 /*#05 +" # )7+&* "#,%7. ,*,<*(4 +(
       %/*$0%0. 05*"04 5'(0 .+'( )(*/%0>
       05* $+0%)*A #$ %$&'(*( ,'&0 &*$/ .+' 25*$ ,#1%$3 # )(*/%0B<#&*/ /*)%&%+$ 05#0 5#(,& .+'(
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Advisory notice to policyholders regarding the
U.S. Treasury Department's Office of Foreign Assets Control
("OFAC") regulations


No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

           Foreign agents;
           Front organizations;
           Terrorists;
           Terrorist organizations; and
           Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site – http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.


In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
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Disclosure Statement                                                                     ZURICH

              NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


            If you want to learn more about the compensation Zurich pays agents and brokers visit:

                               http://www.zurichnaproducercompensation.com

                            or call the following toll-free number: (866) 903-1192.



                  This Notice is provided on behalf of Zurich American Insurance Company

                                      and its underwriting subsidiaries.




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                                                                                                      HOMEOWNERS
                                                                                                       HO 00 03 05 11

                       HOMEOWNERS 3 – SPECIAL FORM
AGREEMENT                                                        2. "Bodily injury" means bodily harm, sickness or
We will provide the insurance described in this policy              disease, including required care, loss of
in return for the premium and compliance with all                   services and death that results.
applicable provisions of this policy.                            3. "Business" means:
DEFINITIONS                                                          a. A trade, profession or occupation engaged
A. In this policy, "you" and "your" refer to the "named                 in on a full-time, part-time or occasional
   insured" shown in the Declarations and the                           basis; or
   spouse if a resident of the same household. "We",                 b. Any other activity engaged in for money or
   "us" and "our" refer to the Company providing this                   other compensation, except the following:
   insurance.                                                          (1) One or more activities, not described in
B. In addition, certain words and phrases are defined                      (2) through (4) below, for which no
   as follows:                                                             "insured" receives more than $2,000 in
   1. "Aircraft Liability", "Hovercraft Liability", "Motor                 total compensation for the 12 months
      Vehicle Liability" and "Watercraft Liability",                       before the beginning of the policy
      subject to the provisions in b. below, mean the                      period;
      following:                                                       (2) Volunteer activities for which no money
       a. Liability for "bodily injury" or "property                       is received other than payment for
          damage" arising out of the:                                      expenses incurred to perform the
                                                                           activity;
         (1) Ownership of such vehicle or craft by an
             "insured";                                                (3) Providing home day care services for
                                                                           which no compensation is received,
         (2) Maintenance, occupancy, operation,                            other than the mutual exchange of such
             use, loading or unloading of such                             services; or
             vehicle or craft by any person;
                                                                       (4) The rendering of home day care
         (3) Entrustment of such vehicle or craft by                       services to a relative of an "insured".
             an "insured" to any person;
                                                                 4. "Employee" means an employee of an
         (4) Failure to supervise or negligent                      "insured", or an employee leased to an
             supervision of any person involving                    "insured" by a labor leasing firm under an
             such vehicle or craft by an "insured"; or              agreement between an "insured" and the labor
         (5) Vicarious liability, whether or not                    leasing firm, whose duties are other than those
             imposed by law, for the actions of a                   performed by a "residence employee".
             child or minor involving such vehicle or            5. "Insured" means:
             craft.
                                                                     a. You and residents of your household who
      b. For the purpose of this definition:                            are:
         (1) Aircraft means any contrivance used or                    (1) Your relatives; or
             designed for flight except model or
             hobby aircraft not used or designed to                    (2) Other persons under the age of 21 and
             carry people or cargo;                                        in your care or the care of a resident of
                                                                           your household who is your relative;
         (2) Hovercraft means a self-propelled
             motorized ground effect vehicle and                     b. A student enrolled in school full-time, as
             includes, but is not limited to, flarecraft                defined by the school, who was a resident
             and air cushion vehicles;                                  of your household before moving out to
                                                                        attend school, provided the student is
         (3) Watercraft means a craft principally                       under the age of:
             designed to be propelled on or in water
             by wind, engine power or electric motor;                  (1) 24 and your relative; or
             and
         (4) Motor vehicle means a "motor vehicle"
             as defined in 7. below.




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        (2) 21 and in your care or the care of a                      g. Individual or family cemetery plots or burial
            resident of your household who is your                       vaults of an "insured"; or
            relative; or                                              h. Any part of a premises occasionally rented
      c. Under Section II:                                               to an "insured" for other than "business"
        (1) With respect to animals or watercraft to                     use.
            which this policy applies, any person or              7. "Motor vehicle" means:
            organization legally responsible for                      a. A self-propelled land or amphibious vehicle;
            these animals or watercraft which are                        or
            owned by you or any person described
            in 5.a. or b. "Insured" does not mean a                   b. Any trailer or semitrailer which is being
            person or organization using or having                       carried on, towed by or hitched for towing
            custody of these animals or watercraft                       by a vehicle described in a. above.
            in the course of any "business" or                    8. "Occurrence" means an accident, including
            without consent of the owner; or                         continuous    or  repeated     exposure   to
        (2) With respect to a "motor vehicle" to                     substantially the same general harmful
            which this policy applies:                               conditions, which results, during the policy
                                                                     period, in:
            (a) Persons while engaged in your
                employ or that of any person                          a. "Bodily injury"; or
                described in 5.a. or b.; or                           b. "Property damage".
           (b) Other persons using the vehicle on                 9. "Property damage" means physical injury to,
               an "insured location" with your                       destruction of, or loss of use of tangible
               consent.                                              property.
      Under both Sections I and II, when the word an             10. "Residence employee" means:
      immediately precedes the word "insured", the
                                                                      a. An employee of an "insured", or an
      words an "insured" together mean one or more                       employee leased to an "insured" by a labor
      "insureds".                                                        leasing firm, under an agreement between
   6. "Insured location" means:                                          an "insured" and the labor leasing firm,
      a. The "residence premises";                                       whose duties are related to the
                                                                         maintenance or use of the "residence
      b. The part of other premises, other structures                    premises", including household or domestic
         and grounds used by you as a residence;                         services; or
         and
                                                                      b. One who performs similar duties elsewhere
        (1) Which is shown in the Declarations; or                       not related to the "business" of an
        (2) Which is acquired by you during the                          "insured".
            policy period for your use as a                           A "residence employee" does not include a
            residence;                                                temporary employee who is furnished to an
      c. Any premises used by you in connection                       "insured" to substitute for a permanent
         with a premises described in a. and b.                       "residence employee" on leave or to meet
         above;                                                       seasonal or short-term workload conditions.
      d. Any part of a premises:                                 11. "Residence premises" means:
        (1) Not owned by an "insured"; and                            a. The one-family dwelling where you reside;
        (2) Where an         "insured"    is   temporarily            b. The two-, three- or four-family dwelling
            residing;                                                    where you reside in at least one of the
      e. Vacant land, other than farm land, owned                        family units; or
         by or rented to an "insured";                                c. That part of any other building where you
      f. Land owned by or rented to an "insured" on                      reside;
         which a one-, two-, three- or four-family                    and which is shown as the "residence
         dwelling is being built as a residence for an                premises" in the Declarations.
         "insured";                                                   "Residence premises" also includes other
                                                                      structures and grounds at that location.




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                                                              C. Coverage C – Personal Property
SECTION I – PROPERTY COVERAGES                                   1. Covered Property
A. Coverage A – Dwelling                                             We cover personal property owned or used by
   1. We cover:                                                      an "insured" while it is anywhere in the world.
                                                                     After a loss and at your request, we will cover
      a. The dwelling on the "residence premises"                    personal property owned by:
         shown in the Declarations, including
         structures attached to the dwelling; and                    a. Others while the property is on the part of
                                                                        the "residence premises" occupied by an
      b. Materials and supplies located on or next to                   "insured"; or
         the "residence premises" used to construct,
         alter or repair the dwelling or other                       b. A guest or a "residence employee", while
         structures on the "residence premises".                        the property is in any residence occupied
                                                                        by an "insured".
   2. We do not cover land, including land on which
      the dwelling is located.                                   2. Limit For Property At Other Locations
B. Coverage B – Other Structures                                     a. Other Residences
   1. We cover other structures on the "residence                       Our limit of liability for personal property
      premises" set apart from the dwelling by clear                    usually located at an "insured's" residence,
      space. This includes structures connected to                      other than the "residence premises", is
      the dwelling by only a fence, utility line, or                    10% of the limit of liability for Coverage C,
      similar connection.                                               or $1,000, whichever is greater. However,
                                                                        this limitation does not apply to personal
   2. We do not cover:                                                  property:
      a. Land, including land on which the other                       (1) Moved from the "residence premises"
         structures are located;                                           because it is:
      b. Other structures rented or held for rental to                     (a) Being repaired, renovated or rebuilt;
         any person not a tenant of the dwelling,                              and
         unless used solely as a private garage;
                                                                           (b) Not fit to live in or store property in;
      c. Other structures from which any "business"                            or
         is conducted; or
                                                                       (2) In a newly acquired principal residence
      d. Other structures used to store "business"                         for 30 days from the time you begin to
         property. However, we do cover a structure                        move the property there.
         that contains "business" property solely
         owned by an "insured" or a tenant of the                    b. Self-storage Facilities
         dwelling, provided that "business" property                    Our limit of liability for personal property
         does not include gaseous or liquid fuel,                       owned or used by an "insured" and located
         other than fuel in a permanently installed                     in a self-storage facility is 10% of the limit
         fuel tank of a vehicle or craft parked or                      of liability for Coverage C, or $1,000,
         stored in the structure.                                       whichever is greater. However, this
   3. The limit of liability for this coverage will not be              limitation does not apply to personal
      more than 10% of the limit of liability that                      property:
      applies to Coverage A. Use of this coverage                      (1) Moved from the "residence premises"
      does not reduce the Coverage A limit of                              because it is:
      liability.                                                           (a) Being repaired, renovated or rebuilt;
                                                                               and
                                                                           (b) Not fit to live in or store property in;
                                                                               or
                                                                       (2) Usually located in an "insured's"
                                                                           residence, other than the "residence
                                                                           premises".




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   3. Special Limits Of Liability                                    (2) Is designed to be operated by more
      The special limit for each category shown                          than one power source, one of which is
      below is the total limit for each loss for all                     a "motor vehicle's" electrical system;
      property in that category. These special limits                    and
      do not increase the Coverage C limit of liability.             (3) Is in or upon a "motor vehicle".
      a. $200 on money, bank notes, bullion, gold                  k. $250 for antennas, tapes, wires, records,
         other than goldware, silver other than                       disks or other media that are:
         silverware,    platinum      other    than                  (1) Used with electronic equipment that
         platinumware, coins, medals, scrip, stored                      reproduces, receives or transmits audio,
         value cards and smart cards.                                    visual or data signals; and
      b. $1,500 on securities, accounts, deeds,                      (2) In or upon a "motor vehicle".
         evidences of debt, letters of credit, notes
         other than bank notes, manuscripts,                   4. Property Not Covered
         personal records, passports, tickets and                  We do not cover:
         stamps. This dollar limit applies to these
                                                                   a. Articles     separately    described    and
         categories regardless of the medium (such                    specifically insured, regardless of the limit
         as paper or computer software) on which                      for which they are insured, in this or other
         the material exists.                                         insurance;
         This limit includes the cost to research,                 b. Animals, birds or fish;
         replace or restore the information from the
         lost or damaged material.                                 c. "Motor vehicles".
      c. $1,500 on watercraft of all types, including                 This includes a "motor vehicle's" equipment
         their trailers, furnishings, equipment and                   and parts. However, this Paragraph 4.c.
         outboard engines or motors.                                  does not apply to:
      d. $1,500 on trailers or semitrailers not used                 (1) Portable electronic equipment that:
         with watercraft of all types.                                   (a) Reproduces, receives or transmits
      e. $1,500 for loss by theft of jewelry, watches,                       audio, visual or data signals; and
         furs, precious and semiprecious stones.                         (b) Is designed so that it may be
      f. $2,500 for loss by theft of firearms and                            operated from a power source other
         related equipment.                                                  than a "motor vehicle's" electrical
                                                                             system.
      g. $2,500 for loss by theft of silverware, silver-
         plated ware, goldware, gold-plated ware,                    (2) "Motor vehicles" not required to be
         platinumware, platinum-plated ware and                          registered for use on public roads or
         pewterware.     This     includes    flatware,                  property which are:
         hollowware, tea sets, trays and trophies                        (a) Used solely to service a residence;
         made of or including silver, gold or pewter.                        or
      h. $2,500 on property, on the "residence                           (b) Designed to assist the handicapped;
         premises", used primarily for "business"
                                                                   d. Aircraft, meaning any contrivance used or
         purposes.
                                                                      designed for flight, including any parts
      i. $1,500 on property, away from the                            whether or not attached to the aircraft.
         "residence premises", used primarily for
                                                                      We do cover model or hobby aircraft not
         "business" purposes. However, this limit
                                                                      used or designed to carry people or cargo;
         does not apply to antennas, tapes, wires,
         records, disks or other media that are:                   e. Hovercraft and parts. Hovercraft means a
                                                                      self-propelled motorized ground effect
        (1) Used with electronic equipment that
                                                                      vehicle and includes, but is not limited to,
            reproduces, receives or transmits audio,
                                                                      flarecraft and air cushion vehicles;
            visual or data signals; and
                                                                   f. Property of roomers, boarders and other
        (2) In or upon a "motor vehicle".
                                                                      tenants, except property of roomers and
      j. $1,500 on portable electronic equipment                      boarders related to an "insured";
         that:
        (1) Reproduces, receives or           transmits
            audio, visual or data signals;




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      g. Property in an apartment regularly rented               3. Civil Authority Prohibits Use
         or held for rental to others by an "insured",               If a civil authority prohibits you from use of the
         except as provided in E.10. Landlord's                      "residence premises" as a result of direct
         Furnishings under Section I – Property                      damage to neighboring premises by a Peril
         Coverages;                                                  Insured Against, we cover the loss as provided
      h. Property rented or held for rental to others                in 1. Additional Living Expense and 2. Fair
         off the "residence premises";                               Rental Value above for no more than two
       i. "Business" data, including such data stored                weeks.
          in:                                                    4. Loss Or Expense Not Covered
         (1) Books of account, drawings or other                     We do not cover loss or expense due to
             paper records; or                                       cancellation of a lease or agreement.
         (2) Computers and related equipment.                    The periods of time under 1. Additional Living
          We do cover the cost of blank recording or             Expense, 2. Fair Rental Value and 3. Civil
          storage media and of prerecorded                       Authority Prohibits Use above are not limited by
          computer programs available on the retail              expiration of this policy.
          market;                                             E. Additional Coverages
       j. Credit cards, electronic fund transfer cards           1. Debris Removal
          or access devices used solely for deposit,                 a. We will pay your reasonable expense for
          withdrawal or transfer of funds except as                     the removal of:
          provided in E.6. Credit Card, Electronic
          Fund Transfer Card Or Access Device,                         (1) Debris of covered property if a Peril
          Forgery And Counterfeit Money under                              Insured Against that applies to the
          Section I – Property Coverages; or                               damaged property causes the loss; or
      k. Water or steam.                                               (2) Ash, dust or particles from a volcanic
                                                                           eruption that has caused direct loss to a
D. Coverage D – Loss Of Use                                                building or property contained in a
   The limit of liability for Coverage D is the total limit                building.
   for the coverages in 1. Additional Living Expense,                   This expense is included in the limit of
   2. Fair Rental Value and 3. Civil Authority                          liability that applies to the damaged
   Prohibits Use below.                                                 property. If the amount to be paid for the
   1. Additional Living Expense                                         actual damage to the property plus the
      If a loss covered under Section I makes that                      debris removal expense is more than the
      part of the "residence premises" where you                        limit of liability for the damaged property,
      reside not fit to live in, we cover any necessary                 an additional 5% of that limit is available for
      increase in living expenses incurred by you so                    such expense.
      that your household can maintain its normal                    b. We will also pay your reasonable expense,
      standard of living.                                               up to $1,000, for the removal from the
      Payment will be for the shortest time required                    "residence premises" of:
      to repair or replace the damage or, if you                       (1) Your trees felled by the peril of
      permanently relocate, the shortest time                              Windstorm or Hail or Weight of Ice,
      required for your household to settle                                Snow or Sleet; or
      elsewhere.                                                       (2) A neighbor's trees felled by a Peril
   2. Fair Rental Value                                                    Insured Against under Coverage C;
      If a loss covered under Section I makes that                      provided the trees:
      part of the "residence premises" rented to                       (3) Damage a covered structure; or
      others or held for rental by you not fit to live in,
      we cover the fair rental value of such premises                  (4) Do not damage a covered structure,
      less any expenses that do not continue while it                      but:
      is not fit to live in.                                               (a) Block a driveway on the "residence
      Payment will be for the shortest time required                           premises" which prevents a "motor
      to repair or replace such premises.                                      vehicle", that is registered for use on
                                                                               public roads or property, from
                                                                               entering or leaving the "residence
                                                                               premises"; or




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            (b) Block a ramp or other fixture                   4. Fire Department Service Charge
                designed to assist a handicapped                    We will pay up to $500 for your liability
                person to enter or leave the dwelling               assumed by contract or agreement for fire
                building.                                           department charges incurred when the fire
         The $1,000 limit is the most we will pay in                department is called to save or protect covered
         any one loss, regardless of the number of                  property from a Peril Insured Against. We do
         fallen trees. No more than $500 of this limit              not cover fire department service charges if the
         will be paid for the removal of any one tree.              property is located within the limits of the city,
         This coverage is additional insurance.                     municipality or protection district furnishing the
                                                                    fire department response.
   2. Reasonable Repairs
                                                                    This coverage is additional insurance. No
      a. We will pay the reasonable cost incurred by                deductible applies to this coverage.
         you for the necessary measures taken
         solely to protect covered property that is             5. Property Removed
         damaged by a Peril Insured Against from                    We insure covered property against direct loss
         further damage.                                            from any cause while being removed from a
      b. If the measures taken involve repair to                    premises endangered by a Peril Insured
         other damaged property, we will only pay if                Against and for no more than 30 days while
         that property is covered under this policy                 removed.
         and the damage is caused by a Peril                        This coverage does not change the limit of
         Insured Against. This coverage does not:                   liability that applies to the property being
        (1) Increase the limit of liability that applies            removed.
            to the covered property; or                         6. Credit Card, Electronic Fund Transfer Card
        (2) Relieve you of your duties, in case of a               Or Access Device, Forgery And Counterfeit
            loss to covered property, described in                 Money
            C.4. under Section I – Conditions.                      a. We will pay up to $500 for:
   3. Trees, Shrubs And Other Plants                                  (1) The legal obligation of an "insured" to
      We cover trees, shrubs, plants or lawns, on the                     pay because of the theft or
      "residence premises", for loss caused by the                        unauthorized use of credit cards issued
      following Perils Insured Against:                                   to or registered in an "insured's" name;
      a. Fire or Lightning;                                           (2) Loss     resulting    from    theft    or
                                                                          unauthorized use of an electronic fund
      b. Explosion;                                                       transfer card or access device used for
      c. Riot or Civil Commotion;                                         deposit, withdrawal or transfer of funds,
                                                                          issued to or registered in an "insured's"
      d. Aircraft;
                                                                          name;
      e. Vehicles not owned or operated by a
                                                                      (3) Loss to an "insured" caused by forgery
         resident of the "residence premises";
                                                                          or alteration of any check or negotiable
      f. Vandalism or Malicious Mischief; or                              instrument; and
      g. Theft.                                                       (4) Loss    to   an   "insured"   through
      We will pay up to 5% of the limit of liability that                 acceptance in good faith of counterfeit
      applies to the dwelling for all trees, shrubs,                      United States or Canadian paper
      plants or lawns. No more than $500 of this limit                    currency.
      will be paid for any one tree, shrub or plant.                   All loss resulting from a series of acts
      We do not cover property grown for "business"                    committed by any one person or in which
      purposes.                                                        any one person is concerned or implicated
      This coverage is additional insurance.                           is considered to be one loss.




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         This coverage is additional insurance. No               b. We do not cover assessments charged
         deductible applies to this coverage.                       against you or a corporation or association
      b. We do not cover:                                           of property owners by any governmental
                                                                    body.
        (1) Use of a credit card, electronic fund
            transfer card or access device:                      c. Paragraph Q. Policy Period under Section I
                                                                    – Conditions does not apply to this
           (a) By a resident of your household;                     coverage.
           (b) By a person who has been entrusted                This coverage is additional insurance.
               with either type of card or access
               device; or                                    8. Collapse
           (c) If an "insured" has not complied with             a. The coverage provided under this
               all terms and conditions under which                 Additional Coverage – Collapse applies
               the cards are issued or the devices                  only to an abrupt collapse.
               accessed; or                                      b. For the purpose of this Additional Coverage
        (2) Loss arising out of "business" use or                   – Collapse, abrupt collapse means an
            dishonesty of an "insured".                             abrupt falling down or caving in of a
                                                                    building or any part of a building with the
      c. If the coverage in a. above applies, the                   result that the building or part of the
         following defense provisions also apply:                   building cannot be occupied for its intended
        (1) We may investigate and settle any claim                 purpose.
            or suit that we decide is appropriate.               c. This Additional Coverage – Collapse does
            Our duty to defend a claim or suit ends                 not apply to:
            when the amount we pay for the loss
            equals our limit of liability.                         (1) A building or any part of a building that
                                                                       is in danger of falling down or caving in;
        (2) If a suit is brought against an "insured"
            for liability under a.(1) or (2) above, we             (2) A part of a building that is standing,
            will provide a defense at our expense by                   even if it has separated from another
            counsel of our choice.                                     part of the building; or
        (3) We have the option to defend at our                    (3) A building or any part of a building that
            expense an "insured" or an "insured's"                     is standing, even if it shows evidence of
            bank against any suit for the                              cracking, bulging, sagging, bending,
            enforcement of payment under a.(3)                         leaning,     settling,    shrinkage    or
            above.                                                     expansion.
   7. Loss Assessment                                            d. We insure for direct physical loss to
                                                                    covered property involving abrupt collapse
      a. We will pay up to $1,000 for your share of                 of a building or any part of a building if such
         loss assessment charged during the policy                  collapse was caused by one or more of the
         period against you, as owner or tenant of                  following:
         the "residence premises", by a corporation
         or association of property owners. The                    (1) The Perils Insured Against named
         assessment must be made as a result of                        under Coverage C;
         direct loss to property, owned by all                     (2) Decay, of a building or any part of a
         members collectively, of the type that would                  building, that is hidden from view,
         be covered by this policy if owned by you,                    unless the presence of such decay is
         caused by a Peril Insured Against under                       known to an "insured" prior to collapse;
         Coverage A, other than:                                   (3) Insect or vermin damage, to a building
        (1) Earthquake; or                                             or any part of a building, that is hidden
        (2) Land shock waves or tremors before,                        from view, unless the presence of such
            during or after a volcanic eruption.                       damage is known to an "insured" prior
                                                                       to collapse;
         The limit of $1,000 is the most we will pay
         with respect to any one loss, regardless of               (4) Weight of contents, equipment, animals
         the number of assessments. We will only                       or people;
         apply one deductible, per unit, to the total              (5) Weight of rain which collects on a roof;
         amount of any one loss to the property                        or
         described above, regardless of the number
         of assessments.




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        (6) Use of defective material or methods in               This limit is the most we will pay in any one
            construction, remodeling or renovation if             loss regardless of the number of appliances,
            the collapse occurs during the course of              carpeting or other household furnishings
            the    construction,   remodeling     or              involved in the loss.
            renovation.                                           This coverage does not increase the limit of
      e. Loss to an awning, fence, patio, deck,                   liability applying to the damaged property.
         pavement, swimming pool, underground                11. Ordinance Or Law
         pipe, flue, drain, cesspool, septic tank,
         foundation, retaining wall, bulkhead, pier,              a. You may use up to 10% of the limit of
         wharf or dock is not included under d.(2)                   liability that applies to Coverage A for the
         through (6) above, unless the loss is a                     increased costs you incur due to the
         direct result of the collapse of a building or              enforcement of any ordinance or law which
         any part of a building.                                     requires or regulates:
      f. This coverage does not increase the limit of               (1) The       construction,     demolition,
         liability that applies to the damaged                          remodeling, renovation or repair of that
         covered property.                                              part of a covered building or other
                                                                        structure damaged by a Peril Insured
   9. Glass Or Safety Glazing Material                                  Against;
      a. We cover:                                                  (2) The demolition and reconstruction of the
        (1) The breakage of glass or safety glazing                     undamaged part of a covered building
            material which is part of a covered                         or other structure, when that building or
            building, storm door or storm window;                       other structure must be totally
        (2) The breakage of glass or safety glazing                     demolished because of damage by a
            material which is part of a covered                         Peril Insured Against to another part of
            building, storm door or storm window                        that covered building or other structure;
            when caused directly by earth                               or
            movement; and                                           (3) The       remodeling,     removal    or
        (3) The direct physical loss to covered                         replacement of the portion of the
            property caused solely by the pieces,                       undamaged part of a covered building
            fragments or splinters of broken glass or                   or other structure necessary to
            safety glazing material which is part of a                  complete the remodeling, repair or
            building, storm door or storm window.                       replacement of that part of the covered
                                                                        building or other structure damaged by
      b. This coverage does not include loss:                           a Peril Insured Against.
        (1) To covered property which results                     b. You may use all or part of this ordinance or
            because the glass or safety glazing                      law coverage to pay for the increased costs
            material has been broken, except as                      you incur to remove debris resulting from
            provided in a.(3) above; or                              the construction, demolition, remodeling,
        (2) On the "residence premises" if the                       renovation, repair or replacement of
            dwelling has been vacant for more than                   property as stated in a. above.
            60 consecutive days immediately before                c. We do not cover:
            the loss, except when the breakage
            results directly from earth movement as                 (1) The loss in value to any covered
            provided in a.(2) above. A dwelling                         building or other structure due to the
            being constructed is not considered                         requirements of any ordinance or law;
            vacant.                                                     or
      c. This coverage does not increase the limit of               (2) The costs to comply with any ordinance
         liability that applies to the damaged                          or law which requires any "insured" or
         property.                                                      others to test for, monitor, clean up,
                                                                        remove, contain, treat, detoxify or
  10. Landlord's Furnishings                                            neutralize, or in any way respond to, or
      We will pay up to $2,500 for your appliances,                     assess the effects of, pollutants in or on
      carpeting and other household furnishings, in                     any covered building or other structure.
      each apartment on the "residence premises"
      regularly rented or held for rental to others by
      an "insured", for loss caused by a Peril Insured
      Against in Coverage C, other than Theft.




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            Pollutants means any solid, liquid,                         However, if the building is protected by
            gaseous     or   thermal    irritant  or                    an automatic fire protective sprinkler
            contaminant, including smoke, vapor,                        system, you must use reasonable care
            soot, fumes, acids, alkalis, chemicals                      to continue the water supply and
            and waste. Waste includes materials to                      maintain heat in the building for
            be recycled, reconditioned or reclaimed.                    coverage to apply.
      This coverage is additional insurance.                            For purposes of this provision, a
  12. Grave Markers                                                     plumbing      system    or   household
                                                                        appliance does not include a sump,
      We will pay up to $5,000 for grave markers,                       sump pump or related equipment or a
      including mausoleums, on or away from the                         roof drain, gutter, downspout or similar
      "residence premises" for loss caused by a Peril                   fixtures or equipment;
      Insured Against under Coverage C.
                                                                    (2) Freezing, thawing, pressure or weight of
      This coverage does not increase the limits of                     water or ice, whether driven by wind or
      liability that apply to the damaged covered                       not, to a:
      property.
                                                                        (a) Fence, pavement, patio or swimming
SECTION I – PERILS INSURED AGAINST                                          pool;
A. Coverage A – Dwelling And Coverage B –                               (b) Footing, foundation, bulkhead, wall,
   Other Structures                                                         or any other structure or device that
   1. We insure against direct physical loss to                             supports all or part of a building, or
      property described in Coverages A and B.                              other structure;
   2. We do not insure, however, for loss:                              (c) Retaining wall or bulkhead that does
                                                                            not support all or part of a building or
      a. Excluded under Section I – Exclusions;
                                                                            other structure; or
      b. Involving collapse, including any of the
                                                                        (d) Pier, wharf or dock;
         following conditions of property or any part
         of the property:                                           (3) Theft in or to a dwelling under
                                                                        construction, or of materials and
        (1) An abrupt falling down or caving in;
                                                                        supplies for use in the construction until
        (2) Loss of structural integrity, including                     the dwelling is finished and occupied;
            separation of parts of the property or
                                                                    (4) Vandalism and malicious mischief, and
            property in danger of falling down or
                                                                        any ensuing loss caused by any
            caving in; or
                                                                        intentional and wrongful act committed
        (3) Any      cracking, bulging,      sagging,                   in the course of the vandalism or
            bending, leaning, settling, shrinkage or                    malicious mischief, if the dwelling has
            expansion as such condition relates to                      been vacant for more than 60
            (1) or (2) above;                                           consecutive days immediately before
         except as provided in E.8. Collapse under                      the loss. A dwelling being constructed is
         Section I – Property Coverages; or                             not considered vacant;
      c. Caused by:                                                 (5) Mold, fungus or wet rot. However, we
                                                                        do insure for loss caused by mold,
        (1) Freezing of a plumbing, heating, air                        fungus or wet rot that is hidden within
            conditioning or automatic fire protective                   the walls or ceilings or beneath the
            sprinkler system or of a household                          floors or above the ceilings of a
            appliance, or by discharge, leakage or                      structure if such loss results from the
            overflow from within the system or                          accidental discharge or overflow of
            appliance caused by freezing. This                          water or steam from within:
            provision does not apply if you have
            used reasonable care to:                                    (a) A plumbing, heating, air conditioning
                                                                            or automatic fire protective sprinkler
            (a) Maintain heat in the building; or                           system, or a household appliance,
            (b) Shut off the water supply and drain                         on the "residence premises"; or
                all systems and appliances of water.
                                                                        (b) A storm drain, or water, steam or
                                                                            sewer pipes, off the "residence
                                                                            premises".




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            For purposes of this provision, a                              (ii) Plumbing,        heating,       air
            plumbing      system     or  household                              conditioning or automatic fire
            appliance does not include a sump,                                  protective sprinkler system or
            sump pump or related equipment or a                                 household appliance on the
            roof drain, gutter, downspout or similar                            "residence     premises".      This
            fixtures or equipment; or                                           includes the cost to tear out and
        (6) Any of the following:                                               replace any part of a building, or
                                                                                other structure, on the "residence
           (a) Wear       and       tear,    marring,                           premises",     but    only    when
               deterioration;                                                   necessary to repair the system or
           (b) Mechanical      breakdown,      latent                           appliance. However, such tear
               defect, inherent vice or any quality in                          out and replacement coverage
               property that causes it to damage or                             only applies to other structures if
               destroy itself;                                                  the water or steam causes actual
                                                                                damage to a building on the
           (c) Smog, rust or other corrosion, or dry
                                                                                "residence premises".
               rot;
                                                                     We do not cover loss to the system or
           (d) Smoke from agricultural smudging or
                                                                     appliance from which this water or steam
               industrial operations;
                                                                     escaped.
           (e) Discharge,     dispersal,    seepage,
                                                                     For purposes of this provision, a plumbing
               migration, release or escape of
                                                                     system or household appliance does not
               pollutants unless the discharge,
                                                                     include a sump, sump pump or related
               dispersal,    seepage,      migration,
                                                                     equipment or a roof drain, gutter,
               release or escape is itself caused by
                                                                     downspout or similar fixtures or equipment.
               a Peril Insured Against named under
               Coverage C.                                        Section I – Exclusion A.3. Water, Paragraphs
                                                                  a. and c. that apply to surface water and water
                Pollutants means any solid, liquid,
                                                                  below the surface of the ground do not apply to
                gaseous or thermal irritant or
                                                                  loss by water covered under c.(5) and (6)
                contaminant,     including  smoke,
                                                                  above.
                vapor, soot, fumes, acids, alkalis,
                chemicals    and     waste.  Waste                Under 2.b. and c. above, any ensuing loss to
                includes materials to be recycled,                property described in Coverages A and B not
                reconditioned or reclaimed;                       precluded by any other provision in this policy
                                                                  is covered.
            (f) Settling, shrinking, bulging or
                expansion,       including  resultant      B. Coverage C – Personal Property
                cracking, of bulkheads, pavements,            We insure for direct physical loss to the property
                patios, footings, foundations, walls,         described in Coverage C caused by any of the
                floors, roofs or ceilings;                    following perils unless the loss is excluded in
           (g) Birds, rodents or insects;                     Section I – Exclusions.
           (h) Nesting or infestation, or discharge           1. Fire Or Lightning
               or release of waste products or                2. Windstorm Or Hail
               secretions, by any animals; or
                                                                  This peril includes loss to watercraft of all
            (i) Animals owned or kept by an                       types and their trailers, furnishings, equipment,
                "insured".                                        and outboard engines or motors, only while
         Exception To c.(6)                                       inside a fully enclosed building.
         Unless the loss is otherwise excluded, we                This peril does not include loss to the property
         cover loss to property covered under                     contained in a building caused by rain, snow,
         Coverage A or B resulting from an                        sleet, sand or dust unless the direct force of
         accidental discharge or overflow of water or             wind or hail damages the building causing an
         steam from within a:                                     opening in a roof or wall and the rain, snow,
                                                                  sleet, sand or dust enters through this opening.
                (i) Storm drain, or water, steam or
                    sewer pipe, off the "residence
                    premises"; or




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   3. Explosion                                                10. Falling Objects
   4. Riot Or Civil Commotion                                       This peril does not include loss to property
   5. Aircraft                                                      contained in a building unless the roof or an
                                                                    outside wall of the building is first damaged by
      This peril includes self-propelled missiles and               a falling object. Damage to the falling object
      spacecraft.                                                   itself is not included.
   6. Vehicles                                                 11. Weight Of Ice, Snow Or Sleet
   7. Smoke                                                         This peril means weight of ice, snow or sleet
      This peril means sudden and accidental                        which causes damage to property contained in
      damage from smoke, including the emission or                  a building.
      puffback of smoke, soot, fumes or vapors from            12. Accidental Discharge Or Overflow Of Water
      a boiler, furnace or related equipment.                      Or Steam
      This peril does not include loss caused by                    a. This peril means accidental discharge or
      smoke from agricultural smudging or industrial                   overflow of water or steam from within a
      operations.                                                      plumbing, heating, air conditioning or
   8. Vandalism Or Malicious Mischief                                  automatic fire protective sprinkler system or
                                                                       from within a household appliance.
   9. Theft
                                                                    b. This peril does not include loss:
      a. This peril includes attempted theft and loss
         of property from a known place when it is                    (1) To the system or appliance from which
         likely that the property has been stolen.                        the water or steam escaped;
      b. This peril does not include loss caused by                   (2) Caused by or resulting from freezing
         theft:                                                           except as provided in Peril Insured
                                                                          Against 14. Freezing;
        (1) Committed by an "insured";
                                                                      (3) On the "residence premises" caused by
        (2) In or to a dwelling under construction, or
                                                                          accidental discharge or overflow which
            of materials and supplies for use in the
                                                                          occurs off the "residence premises"; or
            construction until the dwelling is finished
            and occupied;                                             (4) Caused by mold, fungus or wet rot
                                                                          unless hidden within the walls or
        (3) From that part of a "residence
                                                                          ceilings or beneath the floors or above
            premises" rented by an "insured" to
                                                                          the ceilings of a structure.
            someone other than another "insured";
            or                                                      c. In this peril, a plumbing system or
                                                                       household appliance does not include a
        (4) That occurs         off   the    "residence
                                                                       sump, sump pump or related equipment or
            premises" of:
                                                                       a roof drain, gutter, downspout or similar
              (a) Trailers, semitrailers and campers;                  fixtures or equipment.
              (b) Watercraft of all types, and their                d. Section I – Exclusion A.3. Water,
                  furnishings, equipment and outboard                  Paragraphs a. and c. that apply to surface
                  engines or motors; or                                water and water below the surface of the
              (c) Property while at any other                          ground do not apply to loss by water
                  residence owned by, rented to, or                    covered under this peril.
                  occupied by an "insured", except             13. Sudden And Accidental Tearing Apart,
                  while an "insured" is temporarily                Cracking, Burning Or Bulging
                  living there. Property of an "insured"
                                                                    This peril means sudden and accidental
                  who is a student is covered while at
                                                                    tearing apart, cracking, burning or bulging of a
                  the residence the student occupies
                                                                    steam or hot water heating system, an air
                  to attend school as long as the
                                                                    conditioning or automatic fire protective
                  student has been there at any time
                                                                    sprinkler system, or an appliance for heating
                  during the 90 days immediately
                                                                    water.
                  before the loss.
                                                                    We do not cover loss caused by or resulting
                                                                    from freezing under this peril.




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  14. Freezing                                                    c. Requiring any "insured" or others to test
      a. This peril means freezing of a plumbing,                    for, monitor, clean up, remove, contain,
         heating, air conditioning or automatic fire                 treat, detoxify or neutralize, or in any way
         protective sprinkler system or of a                         respond to, or assess the effects of,
         household appliance, but only if you have                   pollutants.
         used reasonable care to:                                    Pollutants means any solid, liquid, gaseous
        (1) Maintain heat in the building; or                        or thermal irritant or contaminant, including
                                                                     smoke, vapor, soot, fumes, acids, alkalis,
        (2) Shut off the water supply and drain all                  chemicals and waste. Waste includes
            systems and appliances of water.                         materials to be recycled, reconditioned or
         However, if the building is protected by an                 reclaimed.
         automatic fire protective sprinkler system,              This Exclusion A.1. applies whether or not the
         you must use reasonable care to continue                 property has been physically damaged.
         the water supply and maintain heat in the
         building for coverage to apply.                      2. Earth Movement
      b. In this peril, a plumbing system or                      Earth Movement means:
         household appliance does not include a                   a. Earthquake, including land shock waves or
         sump, sump pump or related equipment or                     tremors before, during or after a volcanic
         a roof drain, gutter, downspout or similar                  eruption;
         fixtures or equipment.                                   b. Landslide, mudslide or mudflow;
  15. Sudden And Accidental Damage From                           c. Subsidence or sinkhole; or
      Artificially Generated Electrical Current
                                                                  d. Any other earth movement including earth
      This peril does not include loss to tubes,                     sinking, rising or shifting.
      transistors, electronic components or circuitry
      that is a part of appliances, fixtures,                     This Exclusion A.2. applies regardless of
      computers, home entertainment units or other                whether any of the above, in A.2.a. through
      types of electronic apparatus.                              A.2.d., is caused by an act of nature or is
                                                                  otherwise caused.
  16. Volcanic Eruption
                                                                  However, direct loss by fire, explosion or theft
      This peril does not include loss caused by                  resulting from any of the above, in A.2.a.
      earthquake, land shock waves or tremors.                    through A.2.d., is covered.
SECTION I – EXCLUSIONS                                        3. Water
A. We do not insure for loss caused directly or                   This means:
   indirectly by any of the following. Such loss is
   excluded regardless of any other cause or event                a. Flood, surface water, waves, including tidal
   contributing concurrently or in any sequence to                   wave and tsunami, tides, tidal water,
   the loss. These exclusions apply whether or not                   overflow of any body of water, or spray
   the loss event results in widespread damage or                    from any of these, all whether or not driven
   affects a substantial area.                                       by wind, including storm surge;
   1. Ordinance Or Law                                            b. Water which:
      Ordinance Or Law means any ordinance or                       (1) Backs up through sewers or drains; or
      law:                                                          (2) Overflows or is otherwise discharged
      a. Requiring or regulating the construction,                      from a sump, sump pump or related
         demolition, remodeling, renovation or repair                   equipment;
         of property, including removal of any                    c. Water below the surface of the ground,
         resulting debris. This Exclusion A.1.a. does                including water which exerts pressure on,
         not apply to the amount of coverage that                    or seeps, leaks or flows through a building,
         may be provided for in E.11. Ordinance Or                   sidewalk, driveway, patio, foundation,
         Law under Section I – Property Coverages;                   swimming pool or other structure; or
      b. The requirements of which result in a loss               d. Waterborne material carried or otherwise
         in value to property; or                                    moved by any of the water referred to in
                                                                     A.3.a. through A.3.c. of this exclusion.




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   This Exclusion A.3. applies regardless of whether                This exclusion does not apply to such acts
   any of the above, in A.3.a. through A.3.d., is                   ordered by any governmental or public
   caused by an act of nature or is otherwise caused.               authority that are taken at the time of a fire to
  This Exclusion A.3. applies to, but is not limited to,            prevent its spread, if the loss caused by fire
  escape, overflow or discharge, for any reason, of                 would be covered under this policy.
  water or waterborne material from a dam, levee,            B. We do not insure for loss to property described in
  seawall or any other boundary or containment                  Coverages A and B caused by any of the
  system.                                                       following. However, any ensuing loss to property
  However, direct loss by fire, explosion or theft              described in Coverages A and B not precluded by
  resulting from any of the above, in A.3.a. through            any other provision in this policy is covered.
  A.3.d., is covered.                                           1. Weather conditions. However, this exclusion
   4. Power Failure                                                only applies if weather conditions contribute in
                                                                   any way with a cause or event excluded in A.
      Power Failure means the failure of power or                  above to produce the loss.
      other utility service if the failure takes place off
      the "residence premises". But if the failure              2. Acts or decisions, including the failure to act or
      results in a loss, from a Peril Insured Against              decide, of any person, group, organization or
      on the "residence premises", we will pay for                 governmental body.
      the loss caused by that peril.                            3. Faulty, inadequate or defective:
   5. Neglect                                                       a. Planning, zoning, development, surveying,
      Neglect means neglect of an "insured" to use                     siting;
      all reasonable means to save and preserve                     b. Design,    specifications,  workmanship,
      property at and after the time of a loss.                        repair,      construction,     renovation,
   6. War                                                              remodeling, grading, compaction;
      War includes the following and                 any            c. Materials used in repair, construction,
      consequence of any of the following:                             renovation or remodeling; or
      a. Undeclared war, civil war, insurrection,                   d. Maintenance;
         rebellion or revolution;                                   of part or all of any property whether on or off
      b. Warlike act by a military force or military                the "residence premises".
         personnel; or                                       SECTION I – CONDITIONS
      c. Destruction, seizure or use for a military          A. Insurable Interest And Limit Of Liability
         purpose.                                               Even if more than one person has an insurable
      Discharge of a nuclear weapon will be deemed              interest in the property covered, we will not be
      a warlike act even if accidental.                         liable in any one loss:
   7. Nuclear Hazard                                            1. To an "insured" for more than the amount of
      This Exclusion A.7. pertains to Nuclear Hazard               such "insured's" interest at the time of loss; or
      to the extent set forth in N. Nuclear Hazard              2. For more than the applicable limit of liability.
      Clause under Section I – Conditions.                   B. Deductible
   8. Intentional Loss                                          Unless otherwise noted in this policy, the following
      Intentional Loss means any loss arising out of            deductible provision applies:
      any act an "insured" commits or conspires to              With respect to any one loss:
      commit with the intent to cause a loss.
                                                                1. Subject to the applicable limit of liability, we will
      In the event of such loss, no "insured" is                   pay only that part of the total of all loss payable
      entitled to coverage, even "insureds" who did                that exceeds the deductible amount shown in
      not commit or conspire to commit the act                     the Declarations.
      causing the loss.
                                                                2. If two or more deductibles under this policy
   9. Governmental Action                                          apply to the loss, only the highest deductible
      Governmental Action means the destruction,                   amount will apply.
      confiscation or seizure of property described in
      Coverage A, B or C by order of any
      governmental or public authority.




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C. Duties After Loss                                                g. Receipts for additional living expenses
   In case of a loss to covered property, we have no                   incurred and records that support the fair
   duty to provide coverage under this policy if the                   rental value loss; and
   failure to comply with the following duties is                   h. Evidence or affidavit that supports a claim
   prejudicial to us. These duties must be performed                   under E.6. Credit Card, Electronic Fund
   either by you, an "insured" seeking coverage, or a                  Transfer Card Or Access Device, Forgery
   representative of either:                                           And Counterfeit Money under Section I –
   1. Give prompt notice to us or our agent;                           Property Coverages, stating the amount
                                                                       and cause of loss.
   2. Notify the police in case of loss by theft;
                                                             D. Loss Settlement
   3. Notify the credit card or electronic fund transfer
      card or access device company in case of loss             In this Condition D., the terms "cost to repair or
      as provided for in E.6. Credit Card, Electronic           replace" and "replacement cost" do not include
      Fund Transfer Card Or Access Device,                      the increased costs incurred to comply with the
      Forgery And Counterfeit Money under Section               enforcement of any ordinance or law, except to
      I – Property Coverages;                                   the extent that coverage for these increased costs
                                                                is provided in E.11. Ordinance Or Law under
   4. Protect the property from further damage. If              Section I – Property Coverages. Covered property
      repairs to the property are required, you must:           losses are settled as follows:
      a. Make reasonable and necessary repairs to               1. Property of the following types:
         protect the property; and
                                                                    a. Personal property;
      b. Keep an        accurate    record   of     repair
         expenses;                                                  b. Awnings, carpeting, household appliances,
                                                                       outdoor antennas and outdoor equipment,
   5. Cooperate with us in the investigation of a                      whether or not attached to buildings;
      claim;
                                                                    c. Structures that are not buildings; and
   6. Prepare an inventory of damaged personal
      property showing the quantity, description,                   d. Grave markers, including mausoleums;
      actual cash value and amount of loss. Attach                  at actual cash value at the time of loss but not
      all bills, receipts and related documents that                more than the amount required to repair or
      justify the figures in the inventory;                         replace.
   7. As often as we reasonably require:                        2. Buildings covered under Coverage A or B at
      a. Show the damaged property;                                replacement cost without deduction for
                                                                   depreciation, subject to the following:
      b. Provide us with records and documents we
         request and permit us to make copies; and                  a. If, at the time of loss, the amount of
                                                                       insurance in this policy on the damaged
      c. Submit to examination under oath, while                       building is 80% or more of the full
         not in the presence of another "insured",                     replacement      cost    of   the    building
         and sign the same;                                            immediately before the loss, we will pay the
   8. Send to us, within 60 days after our request,                    cost to repair or replace, without deduction
      your signed, sworn proof of loss which sets                      for depreciation, but not more than the least
      forth, to the best of your knowledge and belief:                 of the following amounts:
      a. The time and cause of loss;                                  (1) The limit of liability under this policy that
                                                                          applies to the building;
      b. The interests of all "insureds" and all others
         in the property involved and all liens on the                (2) The replacement cost of that part of the
         property;                                                        building damaged with material of like
                                                                          kind and quality and for like use; or
      c. Other insurance which may cover the loss;
                                                                      (3) The necessary amount actually spent to
      d. Changes in title or occupancy of the
                                                                          repair or replace the damaged building.
         property during the term of the policy;
                                                                       If the building is rebuilt at a new premises,
      e. Specifications of damaged buildings and
                                                                       the cost described in (2) above is limited to
         detailed repair estimates;
                                                                       the cost which would have been incurred if
       f. The inventory of damaged             personal                the building had been built at the original
          property described in 6. above;                              premises.




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      b. If, at the time of loss, the amount of                   e. You may disregard the replacement cost
         insurance in this policy on the damaged                     loss settlement provisions and make claim
         building is less than 80% of the full                       under this policy for loss to buildings on an
         replacement      cost     of    the  building               actual cash value basis. You may then
         immediately before the loss, we will pay the                make claim for any additional liability
         greater of the following amounts, but not                   according to the provisions of this Condition
         more than the limit of liability under this                 D. Loss Settlement, provided you notify us,
         policy that applies to the building:                        within 180 days after the date of loss, of
        (1) The actual cash value of that part of the                your intent to repair or replace the
            building damaged; or                                     damaged building.
        (2) That proportion of the cost to repair or       E. Loss To A Pair Or Set
            replace,    without      deduction   for          In case of loss to a pair or set we may elect to:
            depreciation, that part of the building           1. Repair or replace any part to restore the pair or
            damaged, which the total amount of                   set to its value before the loss; or
            insurance in this policy on the damaged
            building bears to 80% of the                      2. Pay the difference between actual cash value
            replacement cost of the building.                    of the property before and after the loss.
      c. To determine the amount of insurance              F. Appraisal
         required to equal 80% of the full                    If you and we fail to agree on the amount of loss,
         replacement    cost    of    the   building          either may demand an appraisal of the loss. In
         immediately before the loss, do not include          this event, each party will choose a competent
         the value of:                                        and impartial appraiser within 20 days after
        (1) Excavations, footings, foundations,               receiving a written request from the other. The two
            piers, or any other structures or devices         appraisers will choose an umpire. If they cannot
            that support all or part of the building,         agree upon an umpire within 15 days, you or we
            which are below the undersurface of the           may request that the choice be made by a judge
            lowest basement floor;                            of a court of record in the state where the
                                                              "residence premises" is located. The appraisers
        (2) Those supports described in (1) above             will separately set the amount of loss. If the
            which are below the surface of the                appraisers submit a written report of an
            ground inside the foundation walls, if            agreement to us, the amount agreed upon will be
            there is no basement; and                         the amount of loss. If they fail to agree, they will
        (3) Underground flues, pipes, wiring and              submit their differences to the umpire. A decision
            drains.                                           agreed to by any two will set the amount of loss.
      d. We will pay no more than the actual cash             Each party will:
         value of the damage until actual repair or           1. Pay its own appraiser; and
         replacement is complete. Once actual
         repair or replacement is complete, we will           2. Bear the other expenses of the appraisal and
         settle the loss as noted in 2.a. and b.                 umpire equally.
         above.                                            G. Other Insurance And Service Agreement
         However, if the cost to repair or replace the        If a loss covered by this policy is also covered by:
         damage is both:
                                                              1. Other insurance, we will pay only the
        (1) Less than 5% of the amount of                        proportion of the loss that the limit of liability
            insurance in this policy on the building;            that applies under this policy bears to the total
            and                                                  amount of insurance covering the loss; or
        (2) Less than $2,500;                                 2. A service agreement, this insurance is excess
         we will settle the loss as noted in 2.a. and            over any amounts payable under any such
         b. above whether or not actual repair or                agreement. Service agreement means a
         replacement is complete.                                service plan, property restoration plan, home
                                                                 warranty or other similar service warranty
                                                                 agreement, even if it is characterized as
                                                                 insurance.




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H. Suit Against Us                                             4. If we pay the mortgagee for any loss and deny
   No action can be brought against us unless there               payment to you:
   has been full compliance with all of the terms                  a. We are subrogated to all the rights of the
   under Section I of this policy and the action is                   mortgagee granted under the mortgage on
   started within two years after the date of loss.                   the property; or
I. Our Option                                                      b. At our option, we may pay to the
   If we give you written notice within 30 days after                 mortgagee the whole principal on the
   we receive your signed, sworn proof of loss, we                    mortgage plus any accrued interest. In this
   may repair or replace any part of the damaged                      event, we will receive a full assignment and
   property with material or property of like kind and                transfer of the mortgage and all securities
   quality.                                                           held as collateral to the mortgage debt.
J. Loss Payment                                                5. Subrogation will not impair the right of the
                                                                  mortgagee to recover the full amount of the
   We will adjust all losses with you. We will pay you            mortgagee's claim.
   unless some other person is named in the policy
   or is legally entitled to receive payment. Loss will     M. No Benefit To Bailee
   be payable 60 days after we receive your proof of           We will not recognize any assignment or grant
   loss and:                                                   any coverage that benefits a person or
   1. Reach an agreement with you;                             organization holding, storing or moving property
                                                               for a fee regardless of any other provision of this
   2. There is an entry of a final judgment; or                policy.
   3. There is a filing of an appraisal award with us.      N. Nuclear Hazard Clause
K. Abandonment Of Property                                     1. "Nuclear Hazard" means any nuclear reaction,
   We need not accept any property abandoned by                   radiation, or radioactive contamination, all
   an "insured".                                                  whether controlled or uncontrolled or however
                                                                  caused, or any consequence of any of these.
L. Mortgage Clause
                                                               2. Loss caused by the nuclear hazard will not be
   1. If a mortgagee is named in this policy, any loss
                                                                  considered loss caused by fire, explosion, or
      payable under Coverage A or B will be paid to
                                                                  smoke, whether these perils are specifically
      the mortgagee and you, as interests appear. If
                                                                  named in or otherwise included within the
      more than one mortgagee is named, the order
                                                                  Perils Insured Against.
      of payment will be the same as the order of
      precedence of the mortgages.                             3. This policy does not apply under Section I to
                                                                  loss caused directly or indirectly by nuclear
   2. If we deny your claim, that denial will not apply
                                                                  hazard, except that direct loss by fire resulting
      to a valid claim of the mortgagee, if the
                                                                  from the nuclear hazard is covered.
      mortgagee:
                                                            O. Recovered Property
      a. Notifies us of any change in ownership,
         occupancy or substantial change in risk of            If you or we recover any property for which we
         which the mortgagee is aware;                         have made payment under this policy, you or we
                                                               will notify the other of the recovery. At your option,
      b. Pays any premium due under this policy on
                                                               the property will be returned to or retained by you
         demand if you have neglected to pay the
                                                               or it will become our property. If the recovered
         premium; and
                                                               property is returned to or retained by you, the loss
      c. Submits a signed, sworn statement of loss             payment will be adjusted based on the amount
         within 60 days after receiving notice from            you received for the recovered property.
         us of your failure to do so. Paragraphs F.
                                                            P. Volcanic Eruption Period
         Appraisal, H. Suit Against Us and J. Loss
         Payment under Section I – Conditions also             One or more volcanic eruptions that occur within a
         apply to the mortgagee.                               72-hour period will be considered as one volcanic
                                                               eruption.
   3. If we decide to cancel or not to renew this
      policy, the mortgagee will be notified at least       Q. Policy Period
      10 days before the date cancellation or                  This policy applies only to loss which occurs
      nonrenewal takes effect.                                 during the policy period.




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R. Concealment Or Fraud                                        2. To a person off the "insured location", if the
   We provide coverage to no "insureds" under this                "bodily injury":
   policy if, whether before or after a loss, an                   a. Arises out of a condition on the "insured
   "insured" has:                                                     location" or the ways immediately
   1. Intentionally concealed or misrepresented any                   adjoining;
      material fact or circumstance;                               b. Is caused by the activities of an "insured";
   2. Engaged in fraudulent conduct; or                            c. Is caused by a "residence employee" in the
   3. Made false statements;                                          course of the "residence employee's"
                                                                      employment by an "insured"; or
   relating to this insurance.
                                                                   d. Is caused by an animal owned by or in the
S. Loss Payable Clause                                                care of an "insured".
   If the Declarations shows a loss payee for certain       SECTION II – EXCLUSIONS
   listed insured personal property, the definition of
   "insured" is changed to include that loss payee          A. "Motor Vehicle Liability"
   with respect to that property.                              1. Coverages E and F do not apply to any "motor
   If we decide to cancel or not renew this policy,               vehicle liability" if, at the time and place of an
   that loss payee will be notified in writing.                   "occurrence", the involved "motor vehicle":
SECTION II – LIABILITY COVERAGES                                   a. Is registered for use on public roads or
                                                                      property;
A. Coverage E – Personal Liability
                                                                   b. Is not registered for use on public roads or
   If a claim is made or a suit is brought against an                 property, but such registration is required
   "insured" for damages because of "bodily injury"                   by a law, or regulation issued by a
   or "property damage" caused by an "occurrence"                     government agency, for it to be used at the
   to which this coverage applies, we will:                           place of the "occurrence"; or
   1. Pay up to our limit of liability for the damages             c. Is being:
      for which an "insured" is legally liable.
      Damages     include      prejudgment      interest             (1) Operated in, or practicing for, any
      awarded against an "insured"; and                                  prearranged or organized race, speed
                                                                         contest or other competition;
   2. Provide a defense at our expense by counsel
      of our choice, even if the suit is groundless,                 (2) Rented to others;
      false or fraudulent. We may investigate and                    (3) Used to carry persons or cargo for a
      settle any claim or suit that we decide is                         charge; or
      appropriate. Our duty to settle or defend ends                 (4) Used for any "business" purpose except
      when our limit of liability for the "occurrence"                   for a motorized golf cart while on a
      has been exhausted by payment of a judgment                        golfing facility.
      or settlement.
                                                               2. If Exclusion A.1. does not apply, there is still
B. Coverage F – Medical Payments To Others                        no coverage for "motor vehicle liability", unless
   We will pay the necessary medical expenses that                the "motor vehicle" is:
   are incurred or medically ascertained within three              a. In dead storage on an "insured location";
   years from the date of an accident causing "bodily
   injury". Medical expenses means reasonable                      b. Used solely to service a residence;
   charges for medical, surgical, x-ray, dental,                   c. Designed to assist the handicapped and, at
   ambulance,     hospital,   professional   nursing,                 the time of an "occurrence", it is:
   prosthetic devices and funeral services. This
                                                                     (1) Being used to assist a handicapped
   coverage does not apply to you or regular                             person; or
   residents of your household except "residence
   employees". As to others, this coverage applies                   (2) Parked on an "insured location";
   only:                                                           d. Designed for recreational use off public
   1. To a person on the "insured location" with the                  roads and:
      permission of an "insured"; or                                 (1) Not owned by an "insured"; or




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         (2) Owned by an "insured" provided the                     d. Used for any "business" purpose.
             "occurrence" takes place:                          2. If Exclusion B.1. does not apply, there is still
            (a) On an "insured location" as defined                no coverage for "watercraft liability" unless, at
                in Definition B.6.a., b., d., e. or h.; or         the time of the "occurrence", the watercraft:
            (b) Off an "insured location" and the                   a. Is stored;
                "motor vehicle" is:                                 b. Is a sailing vessel, with or without auxiliary
                 (i) Designed as a toy vehicle for use                 power, that is:
                     by children under seven years of                 (1) Less than 26 feet in overall length; or
                     age;
                                                                      (2) 26 feet or more in overall length and not
                (ii) Powered by        one    or    more                  owned by or rented to an "insured"; or
                     batteries; and
                                                                    c. Is not a sailing vessel and is powered by:
                (iii) Not built or modified after
                      manufacture to exceed a speed                   (1) An inboard or inboard-outdrive engine
                      of five miles per hour on level                     or motor, including those that power a
                      ground;                                             water jet pump, of:
      e. A motorized golf cart that is owned by an                        (a) 50 horsepower or less and not
         "insured", designed to carry up to four                              owned by an "insured"; or
         persons, not built or modified after                             (b) More than 50 horsepower and not
         manufacture to exceed a speed of 25 miles                            owned by or rented to an "insured";
         per hour on level ground and, at the time of                         or
         an "occurrence", is within the legal
                                                                      (2) One or more outboard engines or
         boundaries of:                                                   motors with:
         (1) A golfing facility and is parked or stored                   (a) 25 total horsepower or less;
             there, or being used by an "insured" to:
                                                                          (b) More than 25 horsepower if the
            (a) Play the game of golf or for other                            outboard engine or motor is not
                recreational or leisure activity                              owned by an "insured";
                allowed by the facility;
                                                                          (c) More than 25 horsepower if the
            (b) Travel to or from an area where                               outboard engine or motor is owned
                "motor vehicles" or golf carts are                            by an "insured" who acquired it
                parked or stored; or                                          during the policy period; or
            (c) Cross public roads at designated                          (d) More than 25 horsepower if the
                points to access other parts of the                           outboard engine or motor is owned
                golfing facility; or                                          by an "insured" who acquired it
         (2) A    private    residential  community,                          before the policy period, but only if:
             including its public roads upon which a
                                                                                 (i) You declare     them   at     policy
             motorized golf cart can legally travel,                                 inception; or
             which is subject to the authority of a
             property owners association and                                  (ii) Your intent to insure them is
             contains an "insured's" residence.                                    reported to us in writing within 45
                                                                                   days after you acquire them.
B. "Watercraft Liability"
                                                                           The coverages in (c) and (d) above
   1. Coverages E and F do not apply to any                                apply for the policy period.
      "watercraft liability" if, at the time of an
      "occurrence", the involved watercraft is being:                  Horsepower means the maximum power
                                                                       rating assigned to the engine or motor by
      a. Operated in, or practicing for, any                           the manufacturer.
         prearranged or organized race, speed
         contest or other competition. This exclusion        C. "Aircraft Liability"
         does not apply to a sailing vessel or a                This policy does not cover "aircraft liability".
         predicted log cruise;
                                                             D. "Hovercraft Liability"
      b. Rented to others;
                                                                This policy does not cover "hovercraft liability".
      c. Used to carry persons or cargo for a
         charge; or




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E. Coverage E – Personal Liability And Coverage                4. "Insured's" Premises Not An "Insured
   F – Medical Payments To Others                                 Location"
   Coverages E and F do not apply to the following:                "Bodily injury" or "property damage" arising out
   1. Expected Or Intended Injury                                  of a premises:
      "Bodily injury" or "property damage" which is                a. Owned by an "insured";
      expected or intended by an "insured", even if                b. Rented to an "insured"; or
      the resulting "bodily injury" or "property                   c. Rented to others by an "insured";
      damage":
                                                                   that is not an "insured location";
      a. Is of a different kind, quality or degree than
         initially expected or intended; or                    5. War
      b. Is sustained by a different person, entity or             "Bodily injury" or "property damage" caused
         property than initially expected or intended.             directly or indirectly by war, including the
                                                                   following and any consequence of any of the
      However, this Exclusion E.1. does not apply to               following:
      "bodily injury" or "property damage" resulting
      from the use of reasonable force by an                       a. Undeclared war, civil war, insurrection,
      "insured" to protect persons or property;                       rebellion or revolution;
   2. "Business"                                                   b. Warlike act by a military force or military
                                                                      personnel; or
      a. "Bodily injury" or "property damage" arising
         out of or in connection with a "business"                 c. Destruction, seizure or use for a military
         conducted from an "insured location" or                      purpose.
         engaged in by an "insured", whether or not                Discharge of a nuclear weapon will be deemed
         the "business" is owned or operated by an                 a warlike act even if accidental;
         "insured" or employs an "insured".
                                                               6. Communicable Disease
         This Exclusion E.2. applies but is not                    "Bodily injury" or "property damage" which
         limited to an act or omission, regardless of              arises out of the transmission of a
         its nature or circumstance, involving a                   communicable disease by an "insured";
         service or duty rendered, promised, owed,
         or implied to be provided because of the              7. Sexual Molestation, Corporal Punishment
         nature of the "business".                                Or Physical Or Mental Abuse
      b. This Exclusion E.2. does not apply to:                    "Bodily injury" or "property damage" arising out
                                                                   of sexual molestation, corporal punishment or
        (1) The rental or holding for rental of an                 physical or mental abuse; or
            "insured location";
                                                               8. Controlled Substance
            (a) On an occasional basis if used only
                as a residence;                                    "Bodily injury" or "property damage" arising out
                                                                   of the use, sale, manufacture, delivery, transfer
            (b) In part for use only as a residence,               or possession by any person of a Controlled
                unless a single-family unit is                     Substance as defined by the Federal Food and
                intended for use by the occupying                  Drug Law at 21 U.S.C.A. Sections 811 and
                family to lodge more than two                      812. Controlled Substances include but are not
                roomers or boarders; or                            limited to cocaine, LSD, marijuana and all
            (c) In part, as an office, school, studio or           narcotic drugs. However, this exclusion does
                private garage; and                                not apply to the legitimate use of prescription
        (2) An "insured" under the age of 21 years                 drugs by a person following the lawful orders
            involved in a part-time or occasional,                 of a licensed health care professional.
            self-employed "business" with no                   Exclusions A. "Motor Vehicle Liability", B.
            employees;                                         "Watercraft Liability", C. "Aircraft Liability", D.
   3. Professional Services                                    "Hovercraft Liability" and E.4. "Insured's"
                                                               Premises Not An "Insured Location" do not apply
      "Bodily injury" or "property damage" arising out         to "bodily injury" to a "residence employee" arising
      of the rendering of or failure to render                 out of and in the course of the "residence
      professional services;                                   employee's" employment by an "insured".




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F. Coverage E – Personal Liability                                 b. Would be an insured under such a policy
   Coverage E does not apply to:                                      but for the exhaustion of its limit of liability;
                                                                      or
   1. Liability:
                                                               6. "Bodily injury" to you or an "insured" as defined
      a. For any loss assessment charged against                  under Definition 5.a. or b.
         you as a member of an association,
         corporation or community of property                      This exclusion also applies to any claim made
         owners, except as provided in D. Loss                     or suit brought against you or an "insured" to:
         Assessment under Section II – Additional                  a. Repay; or
         Coverages;                                                b. Share damages with;
      b. Under any contract or agreement entered                   another person who may be obligated to pay
         into by an "insured". However, this                       damages because of "bodily injury" to an
         exclusion does not apply to written                       "insured".
         contracts:
                                                            G. Coverage F – Medical Payments To Others
         (1) That directly relate to the ownership,
             maintenance or use of an "insured                 Coverage F does not apply to "bodily injury":
             location"; or                                     1. To a "residence employee" if the "bodily
         (2) Where the liability of others is assumed             injury":
             by you prior to an "occurrence";                      a. Occurs off the "insured location"; and
          unless excluded in a. above or elsewhere                 b. Does not arise out of or in the course of the
          in this policy;                                             "residence employee's" employment by an
   2. "Property damage" to property owned by an                       "insured";
      "insured". This includes costs or expenses               2. To any person eligible to receive benefits
      incurred by an "insured" or others to repair,               voluntarily provided or required to be provided
      replace, enhance, restore or maintain such                  under any:
      property to prevent injury to a person or                    a. Workers' compensation law;
      damage to property of others, whether on or
      away from an "insured location";                             b. Non-occupational disability law; or
   3. "Property damage" to property rented to,                     c. Occupational disease law;
      occupied or used by or in the care of an                 3. From any:
      "insured". This exclusion does not apply to
                                                                   a. Nuclear reaction;
      "property damage" caused by fire, smoke or
      explosion;                                                   b. Nuclear radiation; or
   4. "Bodily injury" to any person eligible to receive            c. Radioactive contamination;
      any benefits voluntarily provided or required to             all whether controlled or uncontrolled or
      be provided by an "insured" under any:                       however caused; or
      a. Workers' compensation law;                                d. Any consequence of any of these; or
      b. Non-occupational disability law; or                   4. To any person, other than a "residence
      c. Occupational disease law;                                employee" of an "insured", regularly residing
                                                                  on any part of the "insured location".
   5. "Bodily injury" or "property damage" for which
      an "insured" under this policy:                       SECTION II – ADDITIONAL COVERAGES
      a. Is also an insured under a nuclear energy          We cover the following in addition to the limits of
         liability policy issued by the:                    liability:
         (1) Nuclear Energy       Liability   Insurance     A. Claim Expenses
             Association;                                      We pay:
         (2) Mutual    Atomic       Energy      Liability      1. Expenses we incur and costs taxed against an
             Underwriters;                                        "insured" in any suit we defend;
         (3) Nuclear    Insurance     Association     of       2. Premiums on bonds required in a suit we
             Canada;                                              defend, but not for bond amounts more than
          or any of their successors; or                          the Coverage E limit of liability. We need not
                                                                  apply for or furnish any bond;




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   3. Reasonable expenses incurred by an "insured"           D. Loss Assessment
      at our request, including actual loss of                  1. We will pay up to $1,000 for your share of loss
      earnings (but not loss of other income) up to                assessment charged against you, as owner or
      $250 per day, for assisting us in the                        tenant of the "residence premises", during the
      investigation or defense of a claim or suit; and             policy period by a corporation or association of
   4. Interest on the entire judgment which accrues                property owners, when the assessment is
      after entry of the judgment and before we pay                made as a result of:
      or tender, or deposit in court that part of the               a. "Bodily injury" or "property damage" not
      judgment which does not exceed the limit of                      excluded from coverage under Section II –
      liability that applies.                                          Exclusions; or
B. First Aid Expenses                                               b. Liability for an act of a director, officer or
   We will pay expenses for first aid to others                        trustee in the capacity as a director, officer
   incurred by an "insured" for "bodily injury" covered                or trustee, provided such person:
   under this policy. We will not pay for first aid to an             (1) Is elected by the members of a
   "insured".                                                             corporation or association of property
C. Damage To Property Of Others                                           owners; and
   1. We will pay, at replacement cost, up to $1,000                  (2) Serves without deriving any income
      per "occurrence" for "property damage" to                           from the exercise of duties which are
      property of others caused by an "insured".                          solely on behalf of a corporation or
   2. We will not pay for "property damage":                              association of property owners.
      a. To the extent of any amount recoverable                2. Paragraph I. Policy Period under Section II –
         under Section I;                                          Conditions does not apply to this Loss
                                                                   Assessment Coverage.
      b. Caused intentionally by an "insured" who is
         13 years of age or older;                              3. Regardless of the number of assessments, the
                                                                   limit of $1,000 is the most we will pay for loss
      c. To property owned by an "insured";                        arising out of:
      d. To property owned by or rented to a tenant                 a. One accident, including continuous or
         of an "insured" or a resident in your                         repeated exposure to substantially the
         household; or                                                 same general harmful condition; or
      e. Arising out of:                                            b. A covered act of a director, officer or
         (1) A "business"       engaged     in   by   an               trustee. An act involving more than one
             "insured";                                                director, officer or trustee is considered to
                                                                       be a single act.
         (2) Any act or omission in connection with a
             premises owned, rented or controlled by            4. We do not cover assessments charged against
             an "insured", other than the "insured                 you or a corporation or association of property
             location"; or                                         owners by any governmental body.
         (3) The       ownership,         maintenance,       SECTION II – CONDITIONS
             occupancy, operation, use, loading or           A. Limit Of Liability
             unloading     of   aircraft,   hovercraft,
             watercraft or "motor vehicles".                    Our total liability under Coverage E for all
                                                                damages resulting from any one "occurrence" will
             This Exclusion e.(3) does not apply to a           not be more than the Coverage E Limit Of Liability
             "motor vehicle" that:                              shown in the Declarations. This limit is the same
             (a) Is designed for recreational use off           regardless of the number of "insureds", claims
                 public roads;                                  made or persons injured. All "bodily injury" and
                                                                "property damage" resulting from any one
            (b) Is not owned by an "insured"; and
                                                                accident or from continuous or repeated exposure
             (c) At the time of the "occurrence", is            to substantially the same general harmful
                 not required by law, or regulation             conditions shall be considered to be the result of
                 issued by a government agency, to              one "occurrence".
                 have been registered for it to be
                 used on public roads or property.




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   Our total liability under Coverage F for all medical     D. Duties Of An Injured Person – Coverage F –
   expense payable for "bodily injury" to one person           Medical Payments To Others
   as the result of one accident will not be more than         1. The injured person or someone acting for the
   the Coverage F Limit Of Liability shown in the                 injured person will:
   Declarations.
                                                                   a. Give us written proof of claim, under oath if
B. Severability Of Insurance                                          required, as soon as is practical; and
   This insurance applies separately to each                       b. Authorize us to obtain copies of medical
   "insured". This condition will not increase our limit              reports and records.
   of liability for any one "occurrence".
                                                               2. The injured person will submit to a physical
C. Duties After "Occurrence"                                      exam by a doctor of our choice when and as
   In case of an "occurrence", you or another                     often as we reasonably require.
   "insured" will perform the following duties that         E. Payment Of Claim – Coverage F – Medical
   apply. We have no duty to provide coverage                  Payments To Others
   under this policy if your failure to comply with the
   following duties is prejudicial to us. You will help        Payment under this coverage is not an admission
   us by seeing that these duties are performed:               of liability by an "insured" or us.
   1. Give written notice to us or our agent as soon        F. Suit Against Us
      as is practical, which sets forth:                       1. No action can be brought against us unless
      a. The identity of the policy and the "named                there has been full compliance with all of the
         insured" shown in the Declarations;                      terms under this Section II.
      b. Reasonably available information on the               2. No one will have the right to join us as a party
         time, place and circumstances of the                     to any action against an "insured".
         "occurrence"; and                                     3. Also, no action with respect to Coverage E can
      c. Names and addresses of any claimants                     be brought against us until the obligation of
         and witnesses;                                           such "insured" has been determined by final
                                                                  judgment or agreement signed by us.
   2. Cooperate with us in the investigation,
      settlement or defense of any claim or suit;           G. Bankruptcy Of An "Insured"
   3. Promptly forward to us every notice, demand,             Bankruptcy or insolvency of an "insured" will not
      summons or other process relating to the                 relieve us of our obligations under this policy.
      "occurrence";                                         H. Other Insurance
   4. At our request, help us:                                 This insurance is excess over other valid and
      a. To make settlement;                                   collectible insurance except insurance written
                                                               specifically to cover as excess over the limits of
      b. To enforce any right of contribution or               liability that apply in this policy.
         indemnity   against  any  person     or
         organization who may be liable to an                I. Policy Period
         "insured";                                            This policy applies only to "bodily injury" or
      c. With the conduct of suits and attend                  "property damage" which occurs during the policy
         hearings and trials; and                              period.
      d. To secure and give evidence and obtain             J. Concealment Or Fraud
         the attendance of witnesses;                          We do not provide coverage to an "insured" who,
   5. With respect to C. Damage To Property Of                 whether before or after a loss, has:
      Others under Section II – Additional                     1. Intentionally concealed or misrepresented any
      Coverages, submit to us within 60 days after                material fact or circumstance;
      the loss a sworn statement of loss and show              2. Engaged in fraudulent conduct; or
      the damaged property, if in an "insured's"
      control;                                                 3. Made false statements;
   6. No "insured" shall, except at such "insured's"           relating to this insurance.
      own cost, voluntarily make payment, assume
      obligation or incur expense other than for first
      aid to others at the time of the "bodily injury".




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SECTIONS I AND II – CONDITIONS                                        (2) If the risk has changed substantially
A. Liberalization Clause                                                  since the policy was issued.
   If we make a change which broadens coverage                          This can be done by letting you know at
   under this edition of our policy without additional                  least 30 days before the date cancellation
   premium charge, that change will automatically                       takes effect.
   apply to your insurance as of the date we                        d. When this policy is written for a period of
   implement the change in your state, provided that                   more than one year, we may cancel for any
   this implementation date falls within 60 days prior                 reason at anniversary by letting you know
   to or during the policy period stated in the                        at least 30 days before the date
   Declarations.                                                       cancellation takes effect.
   This Liberalization Clause does not apply to                 3. When this policy is canceled, the premium for
   changes implemented with a general program                      the period from the date of cancellation to the
   revision that includes both broadenings and                     expiration date will be refunded pro rata.
   restrictions in coverage, whether that general               4. If the return premium is not refunded with the
   program revision is implemented through                         notice of cancellation or when this policy is
   introduction of:                                                returned to us, we will refund it within a
   1. A subsequent edition of this policy; or                      reasonable time after the date cancellation
   2. An amendatory endorsement.                                   takes effect.
B. Waiver Or Change Of Policy Provisions                     D. Nonrenewal
   A waiver or change of a provision of this policy             We may elect not to renew this policy. We may do
   must be in writing by us to be valid. Our request            so by delivering to you, or mailing to you at your
   for an appraisal or examination will not waive any           mailing address shown in the Declarations, written
   of our rights.                                               notice at least 30 days before the expiration date
                                                                of this policy. Proof of mailing will be sufficient
C. Cancellation                                                 proof of notice.
   1. You may cancel this policy at any time by              E. Assignment
      returning it to us or by letting us know in writing
      of the date cancellation is to take effect.               Assignment of this policy will not be valid unless
                                                                we give our written consent.
   2. We may cancel this policy only for the reasons
      stated below by letting you know in writing of         F. Subrogation
      the date cancellation takes effect. This                  An "insured" may waive in writing before a loss all
      cancellation notice may be delivered to you, or           rights of recovery against any person. If not
      mailed to you at your mailing address shown in            waived, we may require an assignment of rights of
      the Declarations. Proof of mailing will be                recovery for a loss to the extent that payment is
      sufficient proof of notice.                               made by us.
      a. When you have not paid the premium, we                 If an assignment is sought, an "insured" must sign
         may cancel at any time by letting you know             and deliver all related papers and cooperate with
         at least 10 days before the date                       us.
         cancellation takes effect.                             Subrogation does not apply to Coverage F or
      b. When this policy has been in effect for less           Paragraph C. Damage To Property Of Others
         than 60 days and is not a renewal with us,             under Section II – Additional Coverages.
         we may cancel for any reason by letting             G. Death
         you know at least 10 days before the date
         cancellation takes effect.                             If any person named in the Declarations or the
                                                                spouse, if a resident of the same household, dies,
      c. When this policy has been in effect for 60             the following apply:
         days or more, or at any time if it is a
         renewal with us, we may cancel:                        1. We insure the legal representative of the
                                                                   deceased but only with respect to the premises
         (1) If there has been a material                          and property of the deceased covered under
             misrepresentation of fact which if known              the policy at the time of death; and
             to us would have caused us not to issue
             the policy; or




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   2. "Insured" includes:                                     b. With respect to your property, the person
      a. An "insured" who is a member of your                    having proper temporary custody of the
         household at the time of your death, but                property until appointment and qualification
         only while a resident of the "residence                 of a legal representative.
         premises"; and




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              !"# !;$ -"/1 1" 1#$81= -"*18,*= #$%"&$ "# 3,/0"/$ "( 1;$ '()*+,' "# %,-#".$/ .$2"*3 1;81 @;,-; ,/ #$G),#$3 1"
                  #$08,# "# #$0:8-$ 1;$ -"&$#$3 0#"0$#12 0;2/,-8::2 38%8+$3 .2 @81$#9
              %"# !;$ -"/1 "( 8*2 1$/1,*+ "( 8,# "# 0#"0$#12 1" -"*(,#% 1;$ 8./$*-$= 0#$/$*-$ "# :$&$: "( '()*+,' "# %,-#".$/
                  @;$1;$# 0$#("#%$3 0#,"# 1"= 3)#,*+ "# 8(1$# #$%"&8:= #$08,#= #$/1"#81,"* "# #$0:8-$%$*19
              &"# !;$ -"/1 "( 8*2 3$-"*18%,*81,"* "( 1;$ '#$/,3$*-$ 0#$%,/$/'9 8*3
              *"# B*2 ,*-#$8/$ ,* :"// )*3$# 7"&$#8+$ + 5 H"// <( I/$ 8*3 B33,1,"*8: 7"&$#8+$ !( J$.#,/ K$%"&8:
                  #$/):1,*+ (#"% )( !",# %" "# &">#
         J,#$-1 :"// .2 (,#$= /%"L$ "# $?0:"/,"* #$/):1,*+ (#"% '()*+,' "# %,-#".$/ ,/ -"&$#$3>
-(# !;$ ("::"@,*+ ,/ 833$3 1"#68#8+#80;#.(#$/0123'45#$/652506#./7#89:96#;<#893'9496=#)*3$##>?@A$BC#$#D#@BC+A$BC>E#
    F;49)=#.#89G1973657#+5:3/7#
    B (,#$ ,*/)#8*-$ 0":,-2= ,* -8/$ "( 8 1"18: :"// .2 (,#$ "( 0#"0$#12 ,*/)#$3= /;8:: .$ ;$:3 8*3 -"*/,3$#$3 1" .$ 8
    :,G),381$3 3$%8*3 8+8,*/1 1;$ -"%08*2 ("# 1;$ ():: 8%")*1 "( /)-; 0":,-2> !;,/ 0#"&,/,"* /;8:: *"1 800:2 1" 0$#/"*8:
    0#"0$#12>
H( 68#8+#80; @(#)*3$##>?@A$BC#$#D#@BC+$A$BC>#,/ #$0:8-$3 .2 1;$ ("::"@,*+F
    @(## +16950#.<652#8;00#
         !(# I;12#+16950#.<652#8;00
             M* -8/$ "( 8 :"// 1" -"&$#$3 0#"0$#12= @$ ;8&$ *" 3)12 1" 0#"&,3$ -"&$#8+$ )*3$# 1;,/ 6":,-2 ,( 1;$ (8,:)#$ 1"
             -"%0:2 @,1; 1;$ ("::"@,*+ 3)1,$/ ,/ 0#$N)3,-,8: 1" )/> !;$/$ 3)1,$/ %)/1 .$ 0$#("#%$3 $,1;$# .2 2")= 8*
             ',*/)#$3' /$$L,*+ -"&$#8+$ "# 8 #$0#$/$*181,&$ "( $,1;$#F
             3(# O,&$ 0#"%01 *"1,-$ 1" )/ "# ")# 8+$*1> B*2 -:8,% %)/1 .$ (,:$3 @,1; )/ *"1 :81$# 1;8* "*$ 2$8# 8(1$# 1;$
                  381$ "( 1;$ :"// 1;81 ,/ 1;$ /).N$-1 "( 1;$ -:8,%> E"@$&$#= 8*2 /)-; -:8,% %82 .$ (,:$3 8(1$# 1;$ (,#/1
                  8**,&$#/8#2 "( 1;$ 381$ "( 1;$ :"// ("# +""3 -8)/$ /;"@* .2 1;$ 0$#/"* (,:,*+ 1;$ -:8,%9
             '(# P"1,(2 1;$ 0":,-$ ,* -8/$ "( 8 :"// .2 1;$(19
             )(# P"1,(2 1;$ -#$3,1 -8#3 "# $:$-1#"*,- ()*3 1#8*/($# -8#3 "# 8--$// 3$&,-$ -"%08*2 ,* -8/$ "( :"// 8/
                  0#"&,3$3 ("# ,* ?(J( 7#$3,1 78#3= Q:$-1#"*,- A)*3 !#8*/($# 78#3 <# B--$// J$&,-$= A"#+$#2 B*3
                  7")*1$#($,1 R"*$2 7"&$#8+$ )*3$# 4$-1,"* $ 5 6#"0$#12 7"&$#8+$/9
             7(# 6#"1$-1 1;$ 0#"0$#12 (#"% ()#1;$# 38%8+$> M( #$08,#/ 1" 1;$ 0#"0$#12 8#$ #$G),#$3= 2") %)/1F
                   !"# R8L$ #$8/"*8.:$ 8*3 *$-$//8#2 #$08,#/ 1" 0#"1$-1 1;$ 0#"0$#129 8*3
                   %"# S$$0 8* 8--)#81$ #$-"#3 "( #$08,# $?0$*/$/9
             5(# 7""0$#81$ @,1; )/ ,* 1;$ ,*&$/1,+81,"* "( 8 -:8,%9
             <(# 6#$08#$ 8* ,*&$*1"#2 "( 38%8+$3 0$#/"*8: 0#"0$#12 /;"@,*+ 1;$ G)8*1,12= 3$/-#,01,"*= 8-1)8: -8/; &8:)$
                  8*3 8%")*1 "( :"//> B118-; 8:: .,::/= #$-$,01/ 8*3 #$:81$3 3"-)%$*1/ 1;81 N)/1,(2 1;$ (,+)#$/ ,* 1;$ ,*&$*1"#29
             K(# B/ "(1$* 8/ @$ #$8/"*8.:2 #$G),#$F



 !""#$%&'()'*+',+'            -./01234'/567 89:;<3 2'=> <389>0'5 ?'-.418> ./3'%38@ 9/34'#??9/3A'-./BA'C 9<;'9<4'638=94495 .B'       &>:3'D'5 ?'E'


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                                                                                                                                App 0089
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                   !"#   !"#$ %"& '()(*&' +,#+&,%-.
                   $"#   /,#01'& 23 $1%" ,&4#,'3 (5' '#42)&5%3 $& ,&62&3% (5' +&,)1% 23 %# )(7& 4#+1&3. (5'
                   %"#   !28)1% %# &9()15(%1#5 25'&, #(%": $"1;& 5#% 15 %"& +,&3&54& #< (5#%"&, =1532,&'=: (5' 31*5 %"& 3()&>
                         ? )15#, )(- "(0& ( +(,&5% #, *2(,'1(5 +,&3&5% '2,15* (5 &9()15(%1#5 25'&, #(%".
             &'#   !&5' %# 23: $1%"15 @A '(-3 (<%&, #2, ,&62&3%: -#2, 31*5&': 3$#,5 +,##< #< ;#33 #5 ( 3%(5'(,' <#,) 32++;1&'
                   8- 23> B& )23% ,&62&3% ( 31*5&': 3$#,5 +,##< #< ;#33 $1%"15 AC '(-3 (<%&, $& ,&4&10& -#2, $,1%%&5 5#%14&:
                   #, $& $(10& #2, ,1*"% %# ,&621,& ( +,##< #< ;#33> !24" $(10&, $1;; 5#% $(10& #2, #%"&, ,1*"%3 25'&, %"13
                   /#;14->
                   !"#   D"13 +,##< #< ;#33 3"(;; 3&% <#,%": %# %"& 8&3% #< -#2, 75#$;&'*& (5' 8&;1&<E#
                         ("#   D"& %1)& (5' 4(23& #< ;#33.
                         )"#   D"& 15%&,&3%3 #< (;; =1532,&'3= (5' (;; #%"&,3 15 %"& +,#+&,%- 150#;0&' (5' (;; ;1&53 #5 %"& +,#+&,%-.
                         *"#   F%"&, 1532,(54& $"14" )(- 4#0&, %"& ;#33.
                         +"#   G"(5*&3 15 %"& %1%;& #, #442+(54- #< %"& +,#+&,%- '2,15* %"& %&,) #< %"& /#;14-.
                         ,"#   !+&41<14(%1#53 #< %"& '()(*&' 821;'15*3 (5' '&%(1;&' ,&+(1, &3%1)(%&3.
                         -"#   D"& 150&5%#,- #< '()(*&' +&,3#5(; +,#+&,%- '&34,18&' 15 .'!'-' (8#0&.
                         /"#   H&4&1+%3 <#, (''1%1#5(; ;1015* &9+&53&3 1542,,&' (5' ,&4#,'3 %"(% 32++#,% %"& <(1, ,&5%(; 0(;2& ;#33.
                               (5'
                         &"#   I01'&54& #, (<<1'(01% %"(% 32++#,%3 ( 4;(1) 25'&, 0'1' G,&'1% G(,': I;&4%,#514 J25' D,(53<&, G(,'
                               F, ?44&33 K&014&: J#,*&,- ?5' G#25%&,<&1% L#5&- G#0&,(*& 25'&, !&4%1#5 2 M /,#+&,%-
                               G#0&,(*&3: 3%(%15* %"& ()#25% (5' 4(23& #< ;#33>
                   $"#   N< -#2 &;&4% %# )(7& 4;(1) 25'&, %"& H&+;(4&)&5% G#3% G#0&,(*& #< %"13 /#;14-: %"13 +,##< #< ;#33 3"(;;
                         (;3# 3%(%&: %# %"& 8&3% #< -#2, 75#$;&'*& (5' 8&;1&<E
                         ("#   D"& ,&+;(4&)&5% 4#3% #< %"& '&34,18&' '$&;;15*.
                         )"#   D"& ,&+;(4&)&5% 4#3% #< (5- #%"&, 821;'15* #5 $"14" ;#33 13 4;(1)&'. #,
                         *"#   D"& <2;; 4#3% #< ,&+(1, #, ,&+;(4&)&5% #< ;#33 $1%"#2% '&'24%1#5 <#, '&+,&41(%1#5>
       $'#   345#6478,9#:-7,5#;<99#

             ('#   O# ;(%&, %"(5 AC '(-3 (<%&, $& ,&4&10& -#2, $,1%%&5 5#%14& #< 4;(1): $& )23%E
                   !"#   ?475#$;&'*& ,&4&1+% #< %"& 4;(1)>
                         N< #2, (475#$;&'*)&5% #< %"& 4;(1) 13 5#% 15 $,1%15*: $& $1;; 7&&+ ( ,&4#,' #< %"& '(%&: )&(53 (5'
                         4#5%&5% #< #2, (475#$;&'*)&5%.
                   $"#   P&*15 (5 150&3%1*(%1#5 #< %"& 4;(1). (5'
                   %"#   !+&41<- %"& 15<#,)(%1#5 -#2 )23% +,#01'& 15 (44#,'(54& $1%" /(,(*,(+"                                 .'!'   Q#2, K2%1&3 ?<%&, R#33
                         (8#0&>
                         B& )(- ,&62&3% )#,& 15<#,)(%1#5 1< '2,15* %"& 150&3%1*(%1#5 #< %"& 4;(1) 324" (''1%1#5(; 15<#,)(%1#5 13
                         5&4&33(,-.
             )'#   ?<%&, $& ,&4&10& %"& 15<#,)(%1#5 $& ,&62&3%: $& )23% 5#%1<- -#2 15 $,1%15* $"&%"&, %"& 4;(1) $1;; 8& +(1' #,
                   "(3 8&&5 '&51&' #, $"&%"&, )#,& 15<#,)(%1#5 13 5&&'&'E
                   !"#   B1%"15 AC =82315&33 '(-3=. #,
                   $"#   B1%"15 ST '(-3 1< $& "(0& ,&(3#5 %# 8&;1&0& %"& ;#33 ,&32;%&' <,#) (,3#5.
             *'#   N< $& '# 5#% (++,#0& +(-)&5% #< -#2, 4;(1) #, ,&621,& )#,& %1)& <#, +,#4&3315* -#2, 4;(1): $& )23%E#
                   !"#   U10& %"& ,&(3#5 <#, '&5-15* -#2, 4;(1). #,




!""#$%&'()'*+',+'                  -./01234'/567 89:;<3 2'=> <389>0'5 ?'-.418> ./3'%38@ 9/34'#??9/3A'-./BA'C 9<;'9<4'638=94495 .B'                 &>:3'D'5 ?'E'


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                                                                                                                                            App 0090
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                     !"#   !"#$ %&$ '$()*+) ,$ '$-."'$ /*'$ %"/$ %* 0'*1$)) 2*.' 13("/4 5.% ,$ /.)% $"%&$' (00'*#$ *' 6$+2

                           2*.' 13("/ ,"%&"+ 78 6(2) (9%$' '$-.$)%"+: /*'$ %"/$4


$%   ;('(:'(0&      &%'% ()**#+,--.,/,0-#
                           "+                      .+6$'    +123$45#$#6#245&$3$45+                  ") '$03(1$6 <2 %&$ 9*33*,"+:=


        '%#   ;'*0$'%2 *9 %&$ 9*33*,"+: %20$)=         #
              7%#   ;$')*+(3 0'*0$'%2 *%&$' %&(+ >$,$3'2?            #
              8%#   @,+"+:)A 1('0$%"+:A &*.)$&*36 (003"(+1$)A *.%6**' (+%$++() (+6 *.%6**' $-."0/$+%A ,&$%&$' *' +*%

                    (%%(1&$6 %* <."36"+:)?     #
              9%#   B%'.1%.'$) %&(% ('$ +*% <."36"+:)? (+6           #
              :%#   !'(#$ /('C$')A "+13.6"+: /(.)*3$./)?                 #
              (% (1%.(3 1()& #(3.$ (% %&$ %"/$ *9 3*)) <.% +*% /*'$ %&(+ %&$ (/*.+% '$-."'$6 %* '$0("' *' '$03(1$4


;%   ;('(:'(0&   1%#()**#3)#<#=7>?#4?#+,-#           .+6$'    +123$45#$#6#245&$3$45+                  ") '$03(1$6 <2 %&$ 9*33*,"+:=


     1%## ()**#3)#<#=7>?#4?#+,-#
          '%  D+ 1()$ *9 3*)) %* ( 0("' *' )$% *%&$' %&(+ >$,$3'2A ,$ /(2 $3$1% %*=


             7%#    E$0("' *' '$03(1$ (+2 0('% %* '$)%*'$ %&$ 0("' *' )$% %* "%) #(3.$ <$9*'$ %&$ 3*))? *'                           #
             8%#    ;(2 %&$ 6"99$'$+1$ <$%,$$+ (1%.(3 1()& #(3.$ *9 %&$ 0'*0$'%2 <$9*'$ (+6 (9%$' %&$ 3*))4


          !%  F*)) %* ( >$,$3'2 0("' *' )$% ,"33 <$ )$%%3$6 (% '$03(1$/$+% 1*)% (% %&$ %"/$ *9 3*)) ,"%&*.% 6$6.1%"*+ 9*'

              6$0'$1"(%"*+4


@%   ;('(:'(0&  A%#+B>-#<C7>0*-#D*#         .+6$'    +123$45#$#6#245&$3$45+#                 ") '$03(1$6 <2 %&$ 9*33*,"+:=


     A%## +B>-#<C7>0*-#D*#
          '%  GH1$0% () 0'*#"6$6 "+ ;('(:'(0&               !%E   +* )."% *' (1%"*+ 1(+ <$ <'*.:&% (:("+)% .) .+3$)) %&$'$ &() <$$+ 9.33

              1*/03"(+1$ ,"%& (33 *9 %&$ %$'/) .+6$' B$1%"*+                   $   *9 %&") ;*3"124 @1%"*+ /.)% <$ <'*.:&% (:("+)% .) ,"%&"+ %,*

              2$(') (+6 *+$ 6(2 9'*/ %&$ 6(%$ %&$ 1(.)$ *9 (1%"*+ 9"')% (11'.$)4 @ 1(.)$ *9 (1%"*+ (11'.$) *+ %&$ 6(%$ *9

              %&$ "+"%"(3 <'$(1& *9 *.' 1*+%'(1%.(3 6.%"$) () (33$:$6 "+ %&$ (1%"*+4


        !%#   I"%& '$)0$1% %* )."%) <'*.:&% "+ 1*++$1%"*+ ,"%& 13("/) 9*' 3*)) 1(.)$6 <2 ,"+6)%*'/ *' &("3 "+ %&$ 1(%()%'*0&$

              ('$(A () 6$9"+$6 <2 %&$ J$H() D+).'(+1$ K*6$=


              L* (1%"*+ 1(+ <$ <'*.:&% (:("+)% .) .+3$)) %&$'$ &() <$$+ 1*/03"(+1$ ,"%& (33 *9 %&$ %$'/) *9 %&") ;*3"124 J&$

              (1%"*+ /.)% <$ <'*.:&% <$9*'$ %&$ $('3"$' *9 %&$ 9*33*,"+:=


              7%    J,* 2$(') (+6 *+$ 6(2 9'*/ %&$ 6(%$ ,$ (11$0% *' '$>$1% %&$ 13("/? *'


              8%    J&'$$ 2$(') (+6 *+$ 6(2 9'*/ %&$ 6(%$ *9 %&$ 3*)) %&(% ") %&$ ).<>$1% *9 %&$ 13("/4


(%   ;('(:'(0& ;%#()**#=7F/,0-#           .+6$'    +123$45#$#6#245&$3$45+                  ") '$03(1$6 <2 %&$ 9*33*,"+:=


     ;%# ()**#=7F/,0-#
        I$ ,"33 (6>.)% (33 3*))$) ,"%& 2*.4 I$ ,"33 0(2 2*. .+3$)) )*/$ *%&$' 0$')*+ ") +(/$6 "+ %&$ ;*3"12 *' ") 3$:(332

        $+%"%3$6 %* 0(2/$+%4


        D9 ,$ +*%"92 2*. %&(% ,$ ,"33 0(2 2*.' 13("/A *' 0('% *9 2*.' 13("/A ,$ /.)% 0(2 ,"%&"+ 9"#$ M<.)"+$)) 6(2)M (9%$' ,$

        +*%"92 2*.4 D9 0(2/$+% *9 2*.' 13("/ *' 0('% *9 2*.' 13("/ '$-."'$) %&$ 0$'9*'/(+1$ *9 (+ (1% <2 2*.A ,$ /.)% 0(2

        ,"%&"+ 9"#$ M<.)"+$)) 6(2)M (9%$' %&$ 6(%$ 2*. 0$'9*'/ %&$ (1%4


G%   ;('(:'(0&  (%#G)?-C7C,#2.7B*,#     #+123$45#$#6#245&$3$45+
                                              .+6$'                                            ") '$03(1$6 <2 %&$ 9*33*,"+:=


     (%## G)?-C7C,#2.7B*,# H>-I)B-#2)0-?>8B->)0"#
          '%# I$ ,"33 0(2 9*' (+2 1*#$'$6 3*)) *9 *' 6(/(:$ %* <."36"+:) *' )%'.1%.'$) %* %&$ /*'%:(:$$ )&*,+ "+ %&$

              N$13('(%"*+) () "+%$'$)%) (00$('4


        !%#   J&$ /*'%:(:$$ &() %&$ '":&% %* '$1$"#$ 3*)) 0(2/$+% $#$+ "9 %&$ /*'%:(:$$ &() )%('%$6 9*'$13*).'$ *' )"/"3('

              (1%"*+ *+ %&$ <."36"+: )%'.1%.'$4




 !""#$%&'()'*+',+'                 -./01234'/567 89:;<3 2'=> <389>0'5 ?'-.418> ./3'%38@ 9/34'#??9/3A'-./BA'C 9<;'9<4'638=94495 .B'           &>:3'D'5 ?'E'


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        ! !" #$ %$&' '()* +,-./ 0$+-)1$ (" '()* -+21 (* 0$+-)1$ '() 3-4$ "-.,$% 2( +(/5,' #.23 23$ 2$*/1 (" 23.1 6(,.+'7
           23$ /(*28-8$$ 3-1 23$ *.832 2( *$+$.4$ ,(11 5-'/$&2 ." 23$ /(*28-8$$9
           "!# :2 ()* *$;)$127 5-'1 -&' 5*$/.)/ %)$ )&%$* 23.1 6(,.+'7 ." '() 3-4$ "-.,$% 2( %( 1(<
           $!# =)0/.21 - 1.8&$%7 1#(*& 12-2$/$&2 (" ,(11 #.23.& >? %-'1 -"2$* *$+$.4.&8 &(2.+$ "*(/ )1 (" '()* "-.,)*$ 2(
               %( 1(< -&%
           %! @-1 &(2.".$% )1 (" -&' +3-&8$1 .& (#&$*13.57 (++)5-&+' (* 1)012-&2.-, +3-&8$1 .& *.1A A&(#& 2( 23$
              /(*28-8$$B#
           :,, (" 23$ 2$*/1 (" 23.1 6(,.+' #.,, 23$& -55,' %.*$+2,' 2( 23$ /(*28-8$$B
           C-.,)*$ (" 23$ /(*28-8$$ 2( +(/5,' #.23 !"!&# !$!# (* !%!# -0(4$ 13-,, 4(.% 23.1 6(,.+' -1 2( 23$ .&2$*$12 (" 23$
           /(*28-8$$B
       '! !" #$ 5-' 23$ /(*28-8$$ "(* -&' ,(11 (* %-/-8$ -&% %$&' 5-'/$&2 2( '() 0$+-)1$ (" '()* -+21 (* 0$+-)1$
          '() 3-4$ "-.,$% 2( +(/5,' #.23 23$ 2$*/1 (" 23.1 6(,.+'9#
           "! D3$ /(*28-8$$E1 *.8321 )&%$* 23$ /(*28-8$ #.,, 0$ 2*-&1"$**$% 2( )1 2( 23$ $F2$&2 (" 23$ -/()&2 #$ 5-'B
           $!# D3$ /(*28-8$$E1 *.832 2( *$+(4$* 23$ "),, -/()&2 (" 23$ /(*28-8$$E1 +,-./ #.,, &(2 0$ ./5-.*$%B
           :2 ()* (52.(&7 #$ /-' 5-' 23$ /(*28-8$$ 23$ #3(,$ 5*.&+.5-, (& 23$ /(*28-8$ 5,)1 -&' -++*)$% .&2$*$12B !&
           23.1 $4$&27 '()* /(*28-8$ -&% &(2$ #.,, 0$ 2*-&1"$**$% 2( )1 -&% '() #.,, 5-' '()* *$/-.&.&8 /(*28-8$ %$02 2(
           )1B
       (!# !" 23.1 6(,.+' .1 +-&+$,,$%7 #$ #.,, 8.4$ 23$ /(*28-8$$ 15$+.".+-,,' &-/$% .& 23$ G$+,-*-2.(&1 #*.22$& &(2.+$ ("
           +-&+$,,-2.(&B
           !" #$ +-&+$, 23$ 6(,.+'7 #$ #.,, 8.4$ 23$ /(*28-8$$ 23$ 1-/$ &)/0$* (" %-'1E &(2.+$ (" +-&+$,,-2.(& #$ 8.4$ 2(
           '()B
           !" '() +-&+$, 23$ 6(,.+'7 #$ #.,, 8.4$ 23$ /(*28-8$$ &(2.+$ (" +-&+$,,-2.(& 2( 0$ $""$+2.4$ (& 23$ %-2$ 12-2$% .&
           23$ &(2.+$B D3$ %-2$ (" +-&+$,,-2.(& +-&&(2 0$ 0$"(*$ 23$ ?H23 %-' -"2$* 23$ %-2$ #$ /-., 23$ &(2.+$B
           I$ #.,, &(2 8.4$ &(2.+$ (" +-&+$,,-2.(& 2( -&' 1)++$11(* (* -11.8&$$ (" 23$ /(*28-8$$ &-/$% .& 23$ 6(,.+'B
       )!# !" 23$ 5*(5$*2' %$1+*.0$% )&%$* J(4$*-8$ * K G#$,,.&8 (* J(4$*-8$ + K L23$* =2*)+2)*$1 .1 "(*$+,(1$% )5(&
           )&%$* 23$ %$$% (" 2*)127 23$ /(*28-8$$ /-' +-&+$, 23.1 6(,.+' (" .&1)*-&+$ -&% #.,, 0$ $&2.2,$% 2( -&'
           )&$-*&$% 5*$/.)/ "*(/ 23.1 6(,.+'B#
           D3$ /(*28-8$$ /)12 +*$%.2 -&' )&$-*&$% 5*$/.)/ -8-.&12 -&' %$".+.$&+' (#$% 0' 23$ 0(**(#$* -&% *$2)*&
           -&' )&$-*&$% 5*$/.)/ &(2 1( +*$%.2$% 2( 23$ 0(**(#$*B D3$ )&$-*&$% 5*$/.)/ #.,, 0$ ".8)*$% )1.&8 23$
           +)12(/-*' 5*( *-2- 5*(+$%)*$1B
       ,!# !" #$ $,$+2 &(2 2( *$&$# 23.1 6(,.+'7 23$ /(*28-8$$ 15$+.".+-,,' &-/$% .& 23$ G$+,-*-2.(&1 #.,, 0$ 8.4$& MH
           %-'1E #*.22$& &(2.+$ (" 23$ &(&*$&$#-,B
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       I$ #.,, &(2 5*(4.%$ +(4$*-8$ "(* 23$ N.&1)*$%N #3(7 #3$23$* 0$"(*$ (* -"2$* - ,(117 3-19
       A! !&2$&2.(&-,,' +(&+$-,$% (* /.1*$5*$1$&2$% -&' /-2$*.-, "-+2 (* +.*+)/12-&+$<
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6! D3$ "(,,(#.&8 +(&%.2.(&#)&%$*#;</=>6-#>#?#/6-@>=>6-; .1 -%%$%9
   .2CD:215D"3#/04491D5E#F70G275E#/3"9C2#
   D3.1 6(,.+'7 1)0Q$+2 2( -,, (23$* 2$*/1 -&% +(&%.2.(&17 #3$& +(4$*.&8 *$1.%$&2.-, +(//)&.2' 5*(5$*2'7 -1 %$".&$% 0'
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     %,-,.-/0123"%4,56."
     ;( # !1#,5 *&+01/+ (*'5 # )&#/"&*<*&1#/&3 !#/#+/*'-"& '* # 5#='* $#/0*#1 3,+#+/&*7 &#!" !1#,5<"#$31,$% 3&#31,$& +"')$
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          ?! ;+ 3&/&*5,$&3 /' .& # !#/#+/*'-"& .4 /"& 9&2#+ C&-#*/5&$/ '( ;$+0*#$!&8
@!   6#*#%*#-" $!>! $A13B-3C"(/"'=-3=C3C"'=D7/<"0$3&* #$%&'()"''"*"$E%:F#'()# ,+ *&-1#!&3 .4 /"& ('11'),$%:
     >!"" $A13B-3C"(/"'=-3=C3C"'=D7/<"
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        K')&D&*7 /",+ L2!10+,'$ $!>! 3'&+ $'/ #--14 /' I.'3,14 ,$=0*4I '* I-*'-&*/4 3#5#%&I *&+01/,$% (*'5 /"& 0+& '(
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G!   6#*#%*#-" $!H! %0667=5B,I43"+5.3,.3"0$3&* #$%&'()"''"*"$E%:F#'()# ,+ *&-1#!&3 .4 /"& ('11'),$%:
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        IJ'3,14 ,$=0*4I '* I-*'-&*/4 3#5#%&I )",!" #*,+&+ '0/ '( /"& /*#$+5,++,'$ '( +,!M$&++ '* 3,+&#+& .4 #$ I,$+0*&3I
        /"*'0%" +&20#1 !'$/#!/H
#!   6#*#%*#-" $!J! #3A7,4" K043.-,-50=L" %0/10/,4" 7=5.263=-" (/" 2<.5B,4" (/" K3=-,4" 8I7.3 0$3&* #$%&'()" ''" *"
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        ?!" O& ),11 $'/,(4 4'0 ,$ )*,/,$% '( #$4 +&//1&5&$/ '( # !1#,5 #%#,$+/ 4'0 0$3&* /",+ P&!/,'$ ''! O& ),11 %,D& 4'0
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               ,!" ;( /",+ 6'1,!4 "#+ .&&$ ,$ &((&!/ ('* 1&++ /"#$ TQ 3#4+ #$3 ,+ $'/ # *&$&)#1 -'1,!47 )& 5#4 $'/ !#$!&1 /",+
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        L54E323C8D/0&GH&C@5&I5245/C3J5&3FD1/C&0@DK/&3GD75;&
        #/9D2F3C8D/&25M1825B&CD&4DFIE5C5&C@80&64@5B1E5:&89&/DC&0@DK/&3GD75:&K8EE&G5&0@DK/&8/&C@5&L54E323C8D/0;(
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I2D78B5& 3/& 3BB8C8D/3E& 3FD1/C& D9& 8/0123/45& 8/&                             25I382&D2&25IE345&C@5&B3F3J5B&G18EB8/JQ&
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         E83G8E8CH&3/B&C@5&I25F81F&8/&344D2B3/45&K8C@-&&                        3BB8C8D/3E& 3FD1/C& I2D78B5B& GH& C@80&
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    C@5&I2D7808D/0&D9&C@80&5/BD205F5/C&K8EE&3IIEH&39C52&3&                  25IE345F5/C&80&4DFIE5C5;&&
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                 ZURICH AMERICAN INSURANCE COMPANY

        LIMITED FUNGI OR MICROBES COVERAGE - TEXAS

                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                            Schedule*

This limit of liability applies to the total of all loss or costs payable under this endorsement in any one policy period,
regardless of the number of occurrences, the number of claims made, or the number of locations insured under this
endorsement and listed in this Schedule.
    Section I – PROPERTY COVERAGES Limit of Liability for the Additional Coverage                               $5,000
    Limited "Fungi" Or Microbes Coverage
*Entries may be left blank if shown elsewhere in this policy for this coverage.


The "Fungi" Or Microbes Exclusion in the Special Provisions – Texas endorsement does not apply to the extent cover-
age is provided by this endorsement.
A. The following DEFINITION is added:
   "Fungi" means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, scents or by-
   products produced or released by fungi.
B. The following is added to E. Additional Coverages under SECTION I – PROPERTY COVERAGES:
       Limited "Fungi" Or Microbes Coverage
       a. We will pay for the:
            (1) Cost to remove "fungi" or microbes from property covered under Section I – Property Coverages;
            (2) Cost to tear out and replace any part of the building or other covered property as needed to gain access
                to the "fungi" or microbes
            (3) Cost of testing of air or property to confirm the absence, presence or level of "fungi" or microbes whether
                performed prior to, during or after removal, repair, restoration or replacement. The cost of such testing will
                be provided only to the extent that there is a reason to believe that there is the presence of "fungi" or
                microbes; and
            (4) Total of all loss payable under Coverage D – Loss Of Use, if the "fungi" or microbes make the "residence
                premises" not fit to live in.
       b. The coverage described in a. above only applies when such loss or costs are a result of a Peril Insured
          Against that occurs during the policy period and only if all reasonable means were used to save and preserve
          the property from further damage at and after the time the Peril Insured Against occurred.
       c. The limit of liability for this coverage is shown in the Schedule above.
       d. This limit is the most we will pay for the total of all loss or costs payable under this Additional Coverage re-
          gardless of the:
            (1) Number of Perils Insured Against that combine or contribute to the presence of resulting "fungi" or mi-
                crobes;
            (2) Number of locations insured under this endorsement; or
            (3) Number of claims made.




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        e. This additional coverage does not apply to "fungi" or microbes which are the result of constant or repeated
           seepage or leakage of water or steam or the presence or condensation of humidity, moisture or vapor, over a
           period of 14 or more days.
        f.    This coverage does not increase the limit of liability applying to the damaged covered property.
C. Paragraph Q under SECTION I – CONDITIONS has been replaced by the following:
    Q. Policy Period
        This policy applies to loss or costs which occur during the policy period.
D. The following Exclusion is added to Paragraph E. Coverage E – Personal Liability And Coverage F – Medical
   Payments To Others under SECTION II – EXCLUSIONS:
    Coverages E and F do not apply to the following:
        "Fungi" Or Microbes
        a. Arising out of, in whole or in part, or aggravated by, or results from the presence, growth, proliferation, spread
           or any activity of "fungi" or microbes.
        b. Any liability imposed upon any insured person, by any governmental authority for "bodily injury" or "property
           damage" which, in whole, or in part, is aggravated by or results from the presence, growth, proliferation,
           spread or any activity of "fungi" or microbes.
        c. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing,
           treating, detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or assessing the
           effects of, "fungi" or microbes, by any "insured" or by any other person or entity.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                                 HOMEOWNERS
                                                                                                  HO 06 53 02 17

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       HOME-SHARING HOST ACTIVITIES
                        AMENDATORY ENDORSEMENT
DEFINITIONS                                                 B. Definition B.3. "Business" is replaced by the
A. The following definitions are added:                        following:
   1. "Home-sharing host activities" means:                    3. "Business" means:
      a. The:                                                       a. A trade, profession or occupation engaged
                                                                       in on a full-time, part-time or occasional
         (1) Rental or holding for rental; or                          basis;
         (2) Mutual exchange of services;                          b. "Home-sharing host activities"; or
          of the "residence premises", in whole or in              c. Any other activity engaged in for money or
          part, by an "insured" to a "home-sharing                     other compensation, except the following:
          occupant" through the use of a "home-
          sharing network platform"; and                              (1) One or more activities, not described in
                                                                          (2) through (4) below, for which no
      b. Any other related property or services made                      "insured" receives more than $2,000 in
          available by an "insured" for use during                        total compensation for the 12 months
          such:                                                           before the beginning of the policy
         (1) Rental; or                                                   period;
         (2) Mutual exchange of services;                             (2) Volunteer activities for which no money
          except those property or services provided                      is received other than payment for
          by another party.                                               expenses incurred to perform the
                                                                          activity;
   2. "Home-sharing network platform" means an
      online-enabled application, web site or digital                 (3) Providing home day care services for
      network that:                                                       which no compensation is received,
                                                                          other than the mutual exchange of such
      a. Is used for the purpose of facilitating, for                     services; or
          money, mutual exchange of services or
          other compensation, the rental of a dwelling                (4) The rendering of home day care
          or other structure, in whole or in part; and                    services to a relative of an "insured".
      b. Allows        for   the     agreement       and    C. In this Policy, the terms:
          compensation with respect to such rental to          1. Roomer;
          be transacted through such online-enabled            2. Boarder;
          application, web site or digital network.
                                                              3. Tenant; or
   3. "Home-sharing occupant" means a person,
      other than an "insured", who:                           4. Guest;
      a. Has entered into an agreement or arranged            do not include a "home-sharing occupant".
          compensation with an "insured" through the        SECTION I – PROPERTY COVERAGES
          use of a "home-sharing network platform"          C. Coverage C – Personal Property
          for "home-sharing host activities"; or
                                                               Paragraphs f. and g. of 4. Property Not Covered
      b. Is accompanying or staying with a person              are replaced by the following:
          described in Paragraph 3.a. of this
          provision under such "home-sharing host                 We do not cover:
          activities".                                             f. Property of:
                                                                     (1) A "home-sharing occupant";




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          (2) Any other person occupying the                     Paragraph A.2.c.(4) is replaced by the following:
               "residence premises" as a result of any                 (4) Vandalism and malicious mischief, and
               "home-sharing host activities"; and                          any ensuing loss caused by any
          (3) Roomers, boarders and other tenants,                          intentional and wrongful act committed
               except property of roomers and                               in the course of the vandalism or
               boarders related to an "insured";                            malicious mischief, if:
      g. Property in:                                                      (a) The loss arises out of or results from
          (1) A space while rented or primarily held                            "home-sharing host activities"; or
               for rental to a "home-sharing occupant";                   (b) The dwelling has been vacant for
               or                                                               more than 60 consecutive days
          (2) Subject to Paragraph C.4.g.(1), property                          immediately before the loss. A
               in an apartment regularly rented or held                         dwelling being constructed is not
               for rental to others by an "insured"                             considered vacant;
               except as provided in E.10. Landlord's         B. Coverage C – Personal Property
               Furnishings under Section I – Property            Paragraph B.8. is replaced by the following:
               Coverages;
                                                                 8. Vandalism Or Malicious Mischief
   The following provision is added to 4. Property
   Not Covered:                                                     This peril does not include loss caused by
                                                                    vandalism or malicious mischief to property
       We do not cover property used primarily for                  arising out of or resulting from "home-sharing
       "home-sharing host activities".                              host activities".
D. Coverage D – Loss Of Use                                      Paragraph B.9. is replaced by the following:
   Paragraph D.2. Fair Rental Value is replaced by               9. Theft
   the following:
                                                                    a. This peril includes attempted theft and loss
   2. Fair Rental Value                                                 of property from a known place when it is
       If a loss covered under Section I makes that                     likely that the property has been stolen.
       part of the "residence premises" rented to                   b. This peril does not include loss caused by
       others or held for rental by you not fit to live in,             theft:
       we cover the fair rental value of such premises
       less any expenses that do not continue while it                 (1) Committed by an "insured";
       is not fit to live in.                                          (2) In or to a dwelling under construction, or
       However, we do not cover any fair rental value                        of materials and supplies for use in the
       arising out of or in connection with "home-                           construction until the dwelling is finished
       sharing host activities".                                             and occupied;
       Payment will be for the shortest time required                  (3) From that part of a "residence premises"
       to repair or replace such premises.                                   rented by an "insured" to someone other
                                                                             than another "insured";
SECTION I – PERILS INSURED AGAINST
                                                                       (4) That occurs off the "residence premises"
A. Coverage A – Dwelling And Coverage B –                                    of:
   Other Structures
                                                                            (a) Trailers, semitrailers and campers;
   Paragraph A.2.c.(3) is replaced by the following:
                                                                           (b) Watercraft of all types, and their
          (3) Theft:                                                             furnishings, equipment and outboard
             (a) If such loss arises out of or results                           engines or motors; or
                 from "home-sharing host activities";                       (c) Property while at any other
                 or                                                              residence owned by, rented to, or
             (b) In or to a dwelling under                                       occupied by an "insured", except
                 construction, or of materials and                               while an "insured" is temporarily
                 supplies for use in the construction                            living there. Property of an "insured"
                 until the dwelling is finished and                              who is a student is covered while at
                 occupied;                                                       the residence the student occupies
                                                                                 to attend school as long as the
                                                                                 student has been there at any time
                                                                                 during the 90 days immediately
                                                                                 before the loss; or




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                                                                                                        App 0104
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         (5) If such loss arises out of or results from      The following provision is added:
             "home-sharing host activities".                 Personal Injury Coverage
SECTION II – EXCLUSIONS                                      If the Personal Injury Coverage endorsement is made
Exclusion E.2. is replaced by the following:                 a part of this Policy, Exclusion 1.g. is replaced by the
   Coverages E and F do not apply to the following:          following:
   2. "Business"                                             This insurance does not apply to:
       a. "Bodily injury" or "property damage" arising            1. "Personal injury":
           out of or in connection with a "business"                g. Arising out of or in connection with a
           conducted from an "insured location" or                       "business" conducted from an "insured
           engaged in by an "insured", whether or not                    location" or engaged in by an "insured",
           the "business" is owned or operated by an                     whether or not the "business" is owned or
           "insured" or employs an "insured".                            operated by an "insured" or employs an
           This Exclusion E.2. applies but is not limited                "insured". This exclusion applies but is not
           to an act or omission, regardless of its                      limited to an act or omission, regardless of
           nature or circumstance, involving a service                   its nature or circumstance, involving a
           or duty rendered, promised, owed, or                          service or duty rendered, promised, owed,
           implied to be provided because of the                         or implied to be provided because of the
           nature of the "business".                                     nature of the "business".
      b. With respect to other than "home-sharing                        With respect to other than "home-sharing
           host activities", this Exclusion E.2. does not                host activities", this exclusion does not
           apply to:                                                     apply to:
          (1) The rental or holding for rental of an                    (1) The rental or holding for rental of an
               "insured location":                                           "insured location":
              (a) On an occasional basis if used only                       (a) On an occasional basis if used only
                   as a residence;                                               as a residence;
              (b) In part for use only as a residence,                      (b) In part for use only as a residence,
                   unless a single-family unit is                                unless a single-family unit is
                   intended for use by the occupying                             intended for use by the occupying
                   family to lodge more than two                                 family to lodge more than two
                   roomers or boarders; or                                       roomers or boarders; or
              (c) In part, as an office, school, studio or                  (c) In part, as an office, school, studio or
                   private garage; and                                           private garage; and
          (2) An "insured" under the age of 21 years                    (2) An "insured" under the age of 21 years
               involved in a part-time or occasional,                        involved in a part-time or occasional,
               self-employed "business" with no                              self-employed "business" with no
               employees;                                                    employees;
Exclusion G.4. is replaced by the following:                 All other provisions of this Policy apply.
   Coverage F does not apply to "bodily injury":
   4. To:
       a. A "home-sharing occupant"; or
       b. Any person, other than a "residence
          employee" of an "insured", regularly
          residing on any part of the "insured
          location".




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                    ZURICH AMERICAN INSURANCE COMPANY

                      AMENDATORY ENDORSEMENT- TEXAS

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


The following exclusion is added to Paragraph 1. Liability: F. Coverage E                   – Personal Liability under SECTION II --
EXCLUSIONS:
    Arising out of claims, costs or awards whatsoever for punitive or exemplary damages.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                                                    App 0106
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                  ZURICH AMERICAN INSURANCE COMPANY

                             ANIMAL LIABILITY EXCLUSION
                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


The following Exclusion is added to Paragraph E. Coverage E – Personal Liability And Coverage F – Medical Payments
To Others under SECTION II – EXCLUSIONS:
Coverages E and F do not apply to the following:
    Animals
    "Bodily injury" or "property damage" arising out of the:
    a. Ownership of; or
    b. Care of, including the temporary supervision of,
    any animal.
    This exclusion does not apply to seeing guide dogs, hearing dogs, or dogs trained to assist the physically challenged.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                                                    App 0107
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                 ZURICH AMERICAN INSURANCE COMPANY

         SWIMMING POOL DIVING BOARDS AND SWIMMING
                   POOL SLIDES EXCLUSION
                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


The following Exclusion is added to Paragraph E. Coverage E – Personal Liability And Coverage F – Medical Payments
To Others under SECTION II – EXCLUSIONS:
Coverages E and F do not apply to the following:
    Swimming Pool Diving Boards and Swimming Pool Slides
    "Bodily injury" or "property damage" arising out of the:
    a. Ownership of;
    b. Care of; or
    c. Use of,
    any swimming pool diving board or any swimming pool slide, whether on the "residence premises" or elsewhere.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                                                      App 0108
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                ZURICH AMERICAN INSURANCE COMPANY

   CONTROLLED SUBSTANCES AND CANNABIS EXCLUSION
                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


A. The following definition is added to DEFINITIONS:
       "Cannabis":
       a. Means:
           Any good or product that consists of or contains any amount of Tetrahydrocannabinol (THC) or any other
           cannabinoid, regardless of whether any such THC or cannabinoid is natural or synthetic.
       b. Paragraph a. above includes, but is not limited to, any of the following containing such THC or cannabinoid:
           (1) Any plant of the genus Cannabis L., or any part thereof, such as seeds, stems, flowers, stalks and roots; or
           (2) Any compound, byproduct, extract, derivative, mixture or combination, such as, but not limited to:
               (a) Resin, oil or wax;
               (b) Hash or hemp; or
               (c) Infused liquid or edible cannabis;
               whether derived from any plant or part of any plant set forth in Paragraph b.(1) above or not.
B. The following are added to C. Coverage C. – Personal Property, 4. Property Not Covered of SECTION I –
   PROPERTY COVERAGES:
   We do not cover:
       Controlled Substances as defined by the Federal Food and Drug Law at 21 U.S.C.A. Sections 811 and 812.
       Controlled Substances include but are not limited to cocaine, LSD, and all narcotic drugs. However, we do cover
       controlled substances if prescribed by a lawful order of a licensed health care professional for the legitimate use by
       an "insured".
       "Cannabis", (whether or not a controlled substance as defined by the Federal Food and Drug Law at 21 U.S.C.A.
       Sections 811 and 812), and any equipment used to grow or process it for any purpose, even if:
           (1) Legal under state law; or
           (2) Prescribed by a lawful order of a licensed health care professional.
C. The following are added to Paragraph A., SECTION I – EXCLUSIONS:
       Controlled Substances
       The use, sale, manufacture, delivery, transfer or possession by any person of a Controlled Substance as defined
       by the Federal Food and Drug Law at 21 U.S.C.A. Sections 811 and 812 whether or not within the knowledge or
       control of an "insured". Controlled Substances include but are not limited to cocaine, LSD, and all narcotic drugs.
       However, this exclusion does not apply to controlled substances if prescribed by a lawful order of a licensed health
       care professional for the legitimate use by an "insured".
       Cannabis
       The use, sale, growth, harvest, manufacture, delivery, transfer or possession by any person of "cannabis" (whether
       or not a controlled substance as defined by the Federal Food and Drug Law at 21 U.S.C.A. Sections 811 and 812),
       whether or not within the knowledge or control of an "insured".




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                                                                                                                       App 0109
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D. Paragraph 8. Controlled Substance in E. Coverage E – Personal Liability And Coverage F – Medical Payments
   To Others under SECTION II – EXCLUSIONS is replaced by the following:
    8. Controlled Substance
        "Bodily injury" or "property damage" arising out of the use, sale, manufacture, delivery, transfer or possession by
        any person of a Controlled Substance as defined by the Federal Food and Drug Law at 21 U.S.C.A. Sections 811
        and 812. Controlled Substances include but are not limited to cocaine, LSD, and all narcotic drugs. However, this
        exclusion does not apply to the legitimate use of prescription drugs by a person following the lawful orders of a
        licensed health care professional.
        Such loss is excluded whether by vandalism or any other cause and whether or not within the knowledge or control
        of an "insured".
E. The following Exclusion is added to Paragraph E. Coverage E – Personal Liability And Coverage F – Medical
   Payments To Others under SECTION II – EXCLUSIONS:
    Coverages E and F do not apply to the following:
        Cannabis (whether or not a controlled substance as defined by the Federal Food and Drug Law at 21 U.S.C.A.
        Sections 811 and 812)
        a. "Bodily injury" or "property damage" arising out of, caused by, or attributable to, whether in whole or in part, the
           following:
            (1) The design, cultivation, manufacture, storage, distribution, sale, serving, furnishing, use, possession or
                disposal of "cannabis";
            (2) The actual, alleged, threatened or suspected inhalation, ingestion, absorption or consumption of, contact
                with, exposure to, existence of, or presence of "cannabis"; or
        b. "Property damage" to "cannabis".
        This exclusion applies even if the claims against any "insured" allege negligence or other wrongdoing in the
        supervision, hiring, employment, training or monitoring of others by that "insured", if the "occurrence" which caused
        the "bodily injury" or "property damage", involved that which is described in Paragraph a. or b. above.
        However, this exclusion does not apply to any "cannabis" that is not designed, manufactured, distributed, sold,
        served or furnished for bodily:
                (a) Ingestion;
                (b) Inhalation;
                (c) Absorption; or
                (d) Consumption.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                    ZURICH AMERICAN INSURANCE COMPANY

                                    TRAMPOLINE EXCLUSION
                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


The following Exclusion is added to Paragraph E. Coverage E – Personal Liability And Coverage F – Medical Payments
To Others under SECTION II – EXCLUSIONS:
Coverages E and F do not apply to the following:
    Trampolines
    "Bodily injury” or “property damage" arising out of the:
    a. Ownership of;
    b. Care of; or
    c. Use of,
    a trampoline, whether on the "residence premises" or elsewhere.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                 ZURICH AMERICAN INSURANCE COMPANY

 EXCLUSION OF COSMETIC DAMAGE TO ROOF COVERINGS
                 CAUSED BY HAIL
                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


A. The following definitions are added to DEFINITIONS:
        "Cosmetic loss or damage" means only that damage that alters the physical appearance of the "roof covering" but
        does not result in damage that allows the penetration of water through the "roof covering" or does not result in the
        failure of the "roof covering" to perform its intended function, to keep out elements over an extended period of
        time.
        "Roof covering" means the roofing material exposed to the weather, the underlayments applied for moisture
        protection, and all flashings required in the replacement of a roof covering.
B. The following is added to 2. c. under A. Coverage A – Dwelling And Coverage B – Other Structures in SECTION I
   – PERILS INSURED AGAINST:
    Caused by:
        Hail that results in "cosmetic loss or damage" to "roof covering" .


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                                                      App 0112
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                                                                                                           ZURICH

Privacy Notice
We Take Important Steps to Protect the Nonpublic Personal Information We Collect About You

Dear Customer:                                                                                       rev. January 2020


We care about your privacy. That is why we believe in your right to know what nonpublic personal information (“NPI”) we




 _..___
collect about you and what we do with that information. This Privacy Notice describes the NPI we collect about you and
how we share and protect that information.


  Overview
                            ______________
                       UNDERSTANDING HOW WE USE YOUR PERSONAL INFORMATION
                                                                                                                         _____,


  Why are you          Financial institutions, which include the Company, choose how they share your NPI. Federal and
  receiving this       state law gives consumers the right to limit some but not all sharing of that information. Federal law
  Notice?              also requires us to tell you how we collect, share and safeguard your NPI. You are receiving this
                       Privacy Notice because our records show either that you are a customer who is obtaining or has
                       obtained insurance coverage or non-insurance products or services.


  What types of        The types of NPI we collect depend on the product or service you have with us. This information
  Information do       can include:
  we collect?
                           •    Information about you we receive on applications or other forms, such as your name,
                                address, telephone number, date of birth, your social security number, driver’s license
                                number, employment information, information about your income, assets and net worth,
                                and medical information;
                           •    Information about your transactions with the Company and its affiliates;
                           •    Information about your insurance coverage, premiums, claims history, and payment history;
                           •    Data from insurance support organizations, government agencies, insurance information
                                sharing bureaus;
                           •    Property information and similar data about you or your property, such as property
                                appraisal reports; and
                           •    Information we receive from a consumer reporting agency or insurance information sharing
                                bureau, such as a credit or fraud report.

                       When your relationship with us ends, we may continue to share information about you as described
                       in this Privacy Notice.

  What do we          We share your NPI in the course of supporting your insurance coverage or non-insurance products
  do with the         or services, as authorized by law, or with your consent. This includes sharing, as permitted by law,
  NPI we              your NPI with affiliated parties and nonaffiliated third parties, as applicable, in the course of
  collect?            supporting your insurance coverage or non-insurance products.

                      These affiliates and nonaffiliated third parties include:
                         • Financial service providers, such as banks and other insurance companies;
                         • Non-financial companies, such as medical providers and nonaffiliated service providers that
                             perform marketing services on our behalf; and
                         • Others, such as consumer reporting agencies and insurance information sharing bureaus.

                      In the section below, we list the reasons we can share your NPI, whether we actually share your
                      NPI, and whether you can opt out of this sharing (or if you are a resident of Vermont, whether you
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                                                                                                                                   1
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                      have the right to opt in to allowing this sharing).




  Reasons we can share your personal information                            Does Company     Can you opt out of this
                                                                               Share?      sharing or limit this sharing
                                                                                             or is your authorization
                                                                                            required for this sharing?

                                                                                           [For residents of Vermont:
                                                                                           Do you have the right to opt
                                                                                           in to allow this sharing?]
  For our everyday business purposes – such as to process                       Yes                       No
  your transactions, administer insurance coverage, products or
  services, maintain your account, prevent fraud and report to
  credit bureaus

  For our marketing purposes - to offer our products and                        Yes                     No
  services to you

  For joint marketing with other financial companies                            No                 Not Applicable
  For our affiliates’ everyday business purposes –
  transaction and experience information                                        Yes                     No

  For our affiliates’ everyday business purposes –                              No                 Not Applicable
  information about your creditworthiness

  For our affiliates to market to you                                           Yes                     No

  For non-affiliates to market their products to you                            No                 Not Applicable


  Collecting and safeguarding information
  How often do you notify     We must notify you about our sharing practices when you receive your policy, open an
  me about your privacy       account or purchase a service, and each year while you are a customer, or when
  practices?                  significant or legal changes require a revision. Please review the privacy policy posted
                              on our website, ZurichNA.com. It contains additional information about our practices.
  Why do you collect my       We collect NPI when you apply for insurance or file an insurance claim to help us
  NPI?                        provide you with our insurance products and services, and determine your insurability
                              or other eligibility. We may also ask you and others for information to help us verify
                              your identity in order to prevent money laundering and terrorism. Information in a
                              report prepared by an insurance support organization may be retained by that
                              organization and provided to others.
  What NPI do we share?       We may provide to affiliates and/or nonaffiliated third parties the same NPI listed
                              above in the section entitled, "What types of information do we collect?"
  How do you safeguard my Employees who have access to your NPI are required to maintain and protect the
  NPI?                        confidentiality of that information. Access to your personal information may be needed
                              to conduct business on your behalf or to service your insurance coverage. In addition,
                              we maintain physical, electronic and procedural measures to protect your personal
                              information in compliance with applicable laws and regulatory standards.




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FOR RESIDENTS OF ARIZONA, CALIFORNIA, CONNECTICUT, GEORGIA, ILLINOIS, MAINE, MASSACHUSETTS,
MINNESOTA, MONTANA, NEW JERSEY, NEVADA, NORTH CAROLINA, OHIO, OREGON, OR VIRGINIA:

You have the following individual rights under state law:

Except for certain documents related to claims and lawsuits, you have the right to access the recorded personal
information that we have collected about you which we reasonably can locate and retrieve. To access your recorded
personal information, you must submit a request using our online form on our website, ZurichNA.com, or calling our toll-
free number at 1-800-382-2150. You may also reasonably describe the information you seek in writing and send your
written request to the Privacy Office via mail (Zurich – Privacy Office, 1299 Zurich Way, Schaumburg, IL 60196) or via
email at privacy.office@zurichna.com. If you would like a copy of your recorded personal information that we reasonably
can locate and retrieve, we may charge you a reasonable fee to cover the costs incurred in providing you a copy of the
recorded information if it is permitted by law. If you request medical records, we may elect to supply that information to
you through your designated medical professional for security purposes. We may also direct you to a consumer reporting
agency to obtain certain consumer report information.

Generally, most of the recorded nonpublic personal information we collect about you and have in our possession is from
policy applications or enrollment forms you submit to obtain our products and services, and is reflected in your statements
and other documentation you receive from us. If you believe that the personal information we have about you in our
records is incomplete or inaccurate, please let us know at once through any of the above methods, and we will investigate
and correct any errors we find.

You also have the right to request the correction, amendment, or deletion of recorded personal information about you that
we have in our possession. You may make your request using any of the above methods.

Residents of California and Nevada have additional rights over their non-public personal information if it is not governed
by the Gramm-Leach-Bliley Act. For more information about these rights, please consult our online privacy policy posted
on our website, ZurichNA.com.

FOR RESIDENTS OF MASSACHUSETTS ONLY WHO ARE ZNA P&C CUSTOMERS: You may ask in writing for the
specific reasons for an adverse underwriting decision. An adverse underwriting decision is where we decline your




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application for insurance, offer to insure you at a higher than standard rate or terminate your coverage.

  Key words and phrases           TERMS YOU SHOULD KNOW

  Definitions
  Everyday business               The actions necessary for financial companies like the Company to conduct business
  purposes                        and manage customer accounts, such as:
                                  • Processing transactions, mailing and auditing services;
                                  • Administering insurance coverage, product, services or claims;
                                  • Providing information to credit bureaus;
                                  • Protecting against fraud;
                                  • Responding to court/governmental orders or subpoenas and legal investigations;
                                     and
                                  • Responding to insurance regulatory authorities.
  Affiliates                      Financial or nonfinancial companies related by common ownership or control.
                                  • Company affiliates include insurance and non-insurance companies under common
                                      ownership with the Company and that provide insurance and non-insurance products
                                      or services.
  Nonaffiliated Third             Financial or nonfinancial companies not related by common ownership or control. We
  Parties                         may share your information with companies that we hire to perform marketing and
                                  business services for us, such as data processing, computer software maintenance and
                                  development, and transaction processing. When we share information with others to
                                  perform these services, they are required to take appropriate steps to protect this
                                  information and use it only for purposes of performing the services.
                                  • The Company does not share information with nonaffiliates to market their products
                                       to you.

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  Joint marketing                 A formal agreement between nonaffiliated financial companies that together market
                                  financial products or services to you.
                                  • The Company does not jointly market.



  Changes to this Privacy         We may change the policies, standards and procedures described in this Notice at any
  Notice; contact us              time to comply with applicable laws and/or to conform to our current business practices.
                                  We will notify you of material changes.

                                  If you have any questions about your contract with us, you should contact your agent.

                                  If you have questions specific to our Privacy Notice, contact our Privacy Office via mail
                                  (Zurich – Privacy Office, 1299 Zurich Way, Schaumburg, IL 60196) or via email at
                                  privacy.office@zurichna.com.

This Privacy Notice is sent on behalf of the following affiliated companies, which are referred to in this Privacy Notice, in
the aggregate, as the “Company:”

American Guarantee and Liability Insurance Company, American Zurich Insurance Company, Colonial American Casualty
and Surety Company, Empire Fire & Marine Insurance Company, Empire Indemnity Insurance Company, The Fidelity and
Deposit Company of Maryland, Steadfast Insurance Company, Universal Underwriters Insurance Company, Universal
Underwriters of Texas Insurance Company, Zurich American Insurance Company, Zurich American Insurance Company
of Illinois, The Zurich Services Corporation (together, “the ZNA P&C Companies”), Zurich American Life Insurance
Company, and Zurich American Life Insurance Company of New York.




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 Important Notice – In Witness Clause                                                                   ZURICH

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                            Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                   1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                           Email: info.source@zurichna.com




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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION
 HEATHER GRAGG,                  §
      PLAINTIFF                  §
                                 §
 VS.                             §
                                 §                     3:21-cv-321
                                      CIVIL ACTION NO: ____________
 ZURICH AMERICAN INSURANCE       §
 COMPANY,                        §
      DEFENDANT                  §

                                INDEX OF MATTERS BEING FILED

                             DESCRIPTION                          APP

      Civil Cover Sheet                                    0001-0002

      State Court Docket Sheet                             0003-0005

      Index of Documents Filed in State Court              0006

         Plaintiff’s Original Petition                     0007-0020

         Request for Citation                              0021

         Status Conference Setting                         0022-0023

         Citation Issuance                                 0024-0026

         Return of Service – Zurich American Ins. Co.      0027-0029

         Defendant’s Original Answer                       0030-0044

      Illinois Department of Insurance printout.           0045

      Policy No. ZHO0409133                                0046-0118

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      List of Counsel of Record                            0120


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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                       GALVESTON DIVISION
HEATHER GRAGG,                  §
     PLAINTIFF                  §
                                §
VS.                             §
                                §                     3:21-cv-321
                                     CIVIL ACTION NO: ____________
ZURICH AMERICAN INSURANCE       §
COMPANY,                        §
     DEFENDANT                  §

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